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  7

  8
                             UNITED STATES DISTRICT COURT
  9
                          SOUTHERN DISTRICT OF CALIFORNIA
 10

 11   MATTHEW JONES; THOMAS FURRH;                        Case No.: 19-cv-01226-L-AHG
      KYLE YAMAMOTO; PWGG, L.P.
 12                                                       Hon. Judge M. James Lorenz and
      (d.b.a. POWAY WEAPONS AND GEAR
                                                          Magistrate Judge Allison H. Goddard
 13   and PWG RANGE); NORTH COUNTY
      SHOOTING CENTER, INC.; BEEBE
 14
      FAMILY ARMS AND MUNITIONS                           DECLARATION OF DAVID T.
      LLC (d.b.a. BFAM and BEEBE FAMILY                   HARDY IN SUPPORT OF
 15
      ARMS AND MUNITIONS); FIREARMS                       PLAINTIFFS’ MOTION FOR
 16
      POLICY COALITION, INC.;                             PRELIMINARY INJUNCTION
      FIREARMS POLICY FOUNDATION;                         (Part 1 of 4)
 17
      THE CAL GUN RIGHTS FOUNDATION
 18
      (formerly, THE CALGUNS                              Complaint Filed: July 1, 2019
 19   FOUNDATION); and SECOND                             Amended Complaint Filed: July 30, 2019
      AMENDMENT FOUNDATION
 20
                                 Plaintiffs,
                                                          Date: November 18, 2019
 21   v.
                                                          Time: 9:00 a.m.
 22   XAVIER BECERRA, in his official                     Courtroom: Dept. 5B
      capacity as Attorney General of the
 23
      State of California, et al.,
 24                                  Defendants
 25

 26

 27

 28
                     DECLARATION OF DAVID T. HARDY IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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  1
                           DECLARATION OF DAVID T. HARDY

  2   I, David T. Hardy, declare as follows:
  3
            1.    I am not a party to the captioned action, am over the age of 18, have
  4

  5   personal knowledge of the facts stated herein, and am competent to testify as to the

  6   matters stated and the opinions rendered below.
  7
            2.    I graduated from the University of Arizona with a bachelor’s degree (with
  8

  9   honors) in 1972. I received my Juris Doctorate degree with honors at the same

 10   institution in 1975. In law school, I served as Associate Editor of the Arizona Law
 11
      Review.
 12

 13         3.    I began my law practice in Tucson, Arizona in 1975. In 1982, I began

 14   work as a career attorney with the U.S. Department of Interior in Washington, D.C.,
 15
      ending as a GS-14. In 1992 returned to Tucson and have since practiced law as a sole
 16

 17   practitioner. My work has heavily focused on the Second and Fourteenth Amendments.

 18         4.    To date, I have published seven books, including the Origins and
 19
      Development of the Second Amendment and Dred Scott: The Inside Story. I have
 20

 21   published 27 law review articles, most of which concern the Second or Fourteenth
 22   Amendments, or arms laws. Two have been cited by the U.S. Supreme Court. See
 23
      McDonald v. City of Chicago, 561 U.S. 742, 763, n. 10 (2010) (plurality), 561 U.S. at
 24

 25   841 (Thomas, J., concurring). One article has been cited by eleven U.S. Circuit Courts
 26   of Appeals. I also submitted amicus briefs in District of Columbia v. Heller, McDonald
 27
      v. City of Chicago, and New York State Rifle and Pistol Ass’n v. New York.
 28
                                                      1
                    DECLARATION OF DAVID T. HARDY IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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  1
            5.        I published my first law review article on the Second Amendment in 1974.

  2   In the 45 years since, I have researched arms-related topics in the Library of Congress,
  3
      the National Archives, and university libraries at William and Mary and the University
  4

  5   of Virginia. My photocopy collection on this topic exceeds nine shelf-feet.

  6         6.        Attached hereto as Exhibit 1 is a true and correct copy of my Curriculum
  7
      Vitae. It describes my education, employment background, career experience, and
  8

  9   publications.

 10         7.        Based on my education, work experience, research background,
 11
      publications, and review of the research of others, in my opinion, 18-to-20-year-old
 12

 13   adults (which I will hereafter refer to as “Young Adults”) possess the same protection

 14   under the Second Amendment as adults 21 and over. Further, in my opinion, any
 15
      firearm ban on Young Adults, based solely on age, significantly infringes on the core
 16

 17   Second Amendment rights of Young Adults.

 18         8.        Mirroring the historical inquiry used by the Supreme Court in Heller, I
 19
      conducted a detailed textual and historical review of firearms regulations on Young
 20

 21   Adults. As identified in Heller, the text, structure, and contemporary drafting
 22   documents are the primary historical sources for the Supreme Court’s originalist
 23
      inquiry. I also reviewed pre-Civil War case law and commentators, whose “intellectual
 24

 25   foundations were close to those of the founding generation.” I also reviewed Post-Civil
 26   War sources, although bearing in mind that, as the Court taught in Heller, that these
 27
      “do not provide as much insight into [the Second Amendment’s] original meaning as
 28
                                                          2
                        DECLARATION OF DAVID T. HARDY IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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  1
      earlier sources.” Heller, 554 U.S. at 614.

  2                              Colonial and Founding Era Laws
  3
            9.     Based on my review of Colonial and Founding Era firearms regulations,
  4

  5   in my opinion, there were no age-based restrictions on the acquisition, purchase, or

  6   possession of firearms. Although this period did have what is most accurately described
  7
      as various firearm safety and storage regulations, none of these regulations were in the
  8

  9   same category or equivalent to any age-based firearm restriction. My opinion is

 10   supported by other historical analyses cited below.
 11
            10.    The historical examples of various Founding Era firearms regulations
 12

 13   consist mainly of laws that prevented discharging guns at certain times, or using

 14   firearms in an especially dangerous manner such as firing guns in public places or in
 15
      celebration (which also risked causing a false alarm relating to Indian raids), “fire
 16

 17   hunting” (i.e., where participants were likely to hurt themselves needlessly). Attached

 18   hereto as Exhibit 2 is a true and correct copy of Clayton E. Cramer, Colonial Firearm
 19
      Regulation, 16 J. of Firearms & Pub. Pol'y 1, 30-34 (2004). Other regulations consisted
 20

 21   of gunpowder storage laws that only applied when that volatile explosive exceeded a
 22   safe amount. (Urban fires were common in the days of candles and fireplaces, and black
 23
      powder could be ignited by any drifting spark. It thus made sense to store large
 24

 25   quantities in public magazines, designed for protection against fire and sparks. These
 26   were brick, had wooden floors secured without nails lest a boot nail strike a spark, and
 27
      had ventilation screened and baffled to keep out drifting embers from building fires).
 28
                                                       3
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  1
      In my opinion, these firearms safety regulations are nothing like broad prohibitions

  2   against the purchase, acquisition, and possession of any firearm for an entire class of
  3
      ordinary law-abiding people based solely on age. Heller specifically rejected such
  4

  5   examples because any such restrictions were not germane to an outright ban on keeping

  6   firearms for self-defense. In other words, these safety regulations did not interfere with
  7
      the self-defense “core” right of the Second Amendment. Heller, 554 U.S. at 634.
  8

  9         11.    Additionally, I reviewed the various firearms regulations that targeted

 10   particular groups for public safety reasons, and because they were not seen as members
 11
      of the body politic. These regulations generally applied to Indians, slaves, sometimes
 12

 13   free blacks, Catholics, and (during the Revolution) Loyalists to the Crown. See Exhibit

 14   2 (Cramer 2004 at 16-23).
 15
            12.    In my opinion, these prejudicial restrictions on Indians, slaves, free blacks,
 16

 17   and others are hardly relevant precedent to current, under-21 firearm bans. These were

 18   directed at persons seen as outside the body politic. Aside from the moral implications
 19
      of relying on racist and bigoted laws, the 1st and 13th Amendments, applicable to the
 20

 21   states through the 14th Amendment, explicitly abrogated any authority or precedent
 22   any of these laws once had. In other words, an historical analysis shows that none of
 23
      these regulations can justify limits on firearms purchase or possession by Young
 24

 25   Adults.
 26         13.    The regulations that permitted disarming “Loyalists to the Crown”, in my
 27
      opinion, are also distinct from a categorical age-based firearms prohibition. These
 28
                                                       4
                     DECLARATION OF DAVID T. HARDY IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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  1
      “Loyalty Test[s]” were meant to disarm persons above a certain age who refused to

  2   swear allegiance to the newly-independent states. Their penalties were imposed based
  3
      on individual conduct, conduct that placed the person outside the new body politic.
  4

  5   Those who refused to swear (“non-jurors) were subjected, not just to disarmament, but

  6   to a number of other measures that would be seen as clearly unconstitutional today.
  7
            New Jersey issued fines and threatened non-jurors with confiscation. New York
  8         confiscated the property of non-signers and exiled them to the British lines.
  9         Pennsylvania non-signers were threatened with the loss of civil rights as well as
            with fines, punitive taxes, and professional bans in the case of lawyers,
 10         apothecaries, doctors, and merchants, was the case in Maryland. Rhode Island
 11         and Connecticut deprived non-jurors of their rights to vote and to sue in a court
            of law…. North Carolina confiscated non-jurors’ property and stripped them of
 12         their civil rights; they were to leave the state within thirty days.
 13
      Holger Hoock, Scars of Independence 452 n. 68 (2017).
 14

 15         14.    Thus, in my opinion, an historical review of Founding Era firearms

 16   regulations shows that although various firearms safety regulations existed during the
 17
      Colonial and Founding Era, they were far from anything remotely similar to a
 18

 19   categorical firearms ban based solely on age.
 20         15.    Further review of the Colonial and Founding Era firearm-related
 21
      regulations, confirms that an historical-based analysis does not support age-based
 22

 23   firearms bans. In fact, the state militia laws explicitly reject such bans and even support
 24   a core Second Amendment right applicable to Young Adults.
 25
                                          State Militia Statutes
 26

 27         16.    I conducted a review of the various Colonial and Founding Era militia
 28
                                                       5
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  1
      statutes. Importantly, at the time of the passage of the Second Amendment, or shortly

  2   thereafter, the minimum age for militia service in every state was eighteen. The year
  3
      the Second Amendment was ratified — 1791 — is “the critical year for determining
  4

  5   the amendment’s historical meaning.” See McDonald v. City of Chicago, 130 S.Ct.

  6   3020, 3035 and n. 14; Moore v. Madigan, 702 F.3d 933, 935 (7th Cir. 2012). Said state
  7
      militia laws set around the time of ratification of the Second Amendment and the
  8

  9   federal Militia Act of 1792 consist of the following:

 10            a. Connecticut: “…who is, or shall be of the age of eighteen years…” –
 11
      Connecticut Acts and Laws, October Session (1792) (following a reprint of the federal
 12

 13   militia law, Connecticut provided that militia fines imposed on those who had not yet

 14   reached the age of twenty-one would be paid by their parents).
 15
               b. Delaware: “… who is, or shall be of the age of eighteen years…” – Ch.
 16

 17   XXXVI, An Act for Establishing the Militia In This State, Laws of the State of

 18   Delaware (1793).
 19
               c. Georgia: “…all the male inhabitants…above the age of eighteen…” - An
 20

 21   Act to Revise and Amend the Militia Law of This State, and to Adapt the Same to the
 22   Act of the Congress of the United States, Passed the Eighth Day of May, One Thousand
 23
      Seven Hundred and Ninety-Two, Entitled An Act More Effectually to Provide for the
 24

 25   National Defence by Establishing and Uniform Militia Throughout the United States,
 26   as contained in Digest of the Laws of Georgia, 460 (1792).
 27
               d. Maryland: “…who is, or shall be of the age of eighteen years…” - Ch.
 28
                                                       6
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  1
      LIII, An Act to Regulate and Discipline the Militia of This State, Laws of Maryland

  2   (1793).
  3
                e. Massachusetts: “…who is, or shall be of the age of eighteen years…” -
  4

  5   Ch. 1, An Act for Regulating and Governing the Militia of the Commonwealth of

  6   Massachusetts, and for Repealing All Laws Heretofore Made for That Purpose;
  7
      excepting an Act Entitled, An Act for Establishing Rules and Articles for Governing
  8

  9   the Troops Stationed in Forts and Garrisons, Within This Commonwealth, and Also

 10   the Militia, When Called Into Actual Service, Massachusetts Acts and Laws, May
 11
      Session (1793).
 12

 13             f. New Hampshire: “…who is, or shall be of the age of eighteen years and

 14   under the age of forty years…” - An Act for Forming and Regulating the Militia Within
 15
      This State, and For Repealing All the Laws Heretofore Made for That Purpose, 441
 16

 17   (1792).

 18             g. New Jersey: “…all and every free and able-bodied white male Citizen,
 19
      between the ages of eighteen and forty-five…” -                   Ch. CCCCXIII, An Act for
 20

 21   Organizing and Training the Militia of This State, Sec. 4, Acts of the General Assembly
 22   of the State of New Jersey (1792).
 23
                h. New York: “…who is, or shall be, of the age of eighteen years… shall
 24

 25   severally and respectively be enrolled in the militia…” - Ch. 45, An Act to Organize
 26   the Militia of This State. Laws of New York (1793).
 27
                i. North Carolina: “That all freemen and indented servants within this State,
 28
                                                       7
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  1
      from eighteen to fifty years of age, shall compose the militia thereof…” - Ch. XXII,

  2   An Act for Establishing a Militia in This State, Laws of North Carolina — 1786, 813
  3
      (amended by An Act to Carry Into Effect an Act of Congress, Entitled, An Act More
  4

  5   Effectually to Provide for the National Defence, by Establishing an Uniform Militia

  6   Throughout the United States, Also to Amend an Act, Passed at Fayetteville, in the
  7
      Year One Thousand Seven Hundred and Eighty Six, Entitled, An Act for Establishing
  8

  9   the Militia in This State), Acts of the North Carolina General Assembly 1786-1787,

 10   North Carolina General Assembly, 1786, Vol. 24, 783-884 (1793).
 11
               j. Pennsylvania: “…each and every free, able-bodied white male citizen…
 12

 13   who is or shall be of the eighteen years of age…” - Ch. MDCXCVI, An Act for

 14   Regulating the Militia of the Commonwealth of Pennsylvania, Statutes at Large of
 15
      Pennsylvania (1793).
 16

 17            k. South Carolina: “…enroll every citizen who shall, from time to time,

 18   arrive at the age of eighteen years…” - An Act to Organize the Militia Throughout the
 19
      State of South Carolina, in Conformity with the Act of Congress, Statutes at Large of
 20

 21   South Carolina, Vol. 8 (1794-1837) (enrolling citizens turning 18 and evidencing a
 22   shift from the former militia age of 16).
 23
               l. Virginia: “…young men from eighteen to 25 years of age…” - Ch.
 24

 25   CXLVI, An Act for Regulating the Militia of this Commonwealth, Virginia (1792).
 26   For further information regarding each of the above militia statutes, please see Exhibits
 27
      3 through 14, below.
 28
                                                       8
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  1
            17.    Based on the above review of colony-by-colony militia laws during the

  2   Colonial and Founding Era (seventeenth or early eighteenth century through the end of
  3
      the eighteenth century), I have noted common characteristics of such laws among the
  4

  5   colonies and states. First, the most common age for militia duty was 16 to 50 years

  6   old; and the maximum age often went as high as 60. Second, the minimum age was
  7
      sometimes 18, and never higher (except for one 19-year period in Virginia).
  8

  9         18.    Further, the frequent renewals and revisions of Colonial and early state

 10   militia laws reflect the legislatures’ continuing determination that persons 18-years-old
 11
      and over be well-armed. With each revision, Young Adults remained part of the militia,
 12

 13   and had the right (indeed, the legal duty) to purchase, acquire, use, and possess

 14   firearms.
 15
            19.    At first glance, there appears to be two examples of states which chose to
 16

 17   enroll only those 21 and older in their militia — New Jersey (in 1779) and Ohio

 18   (in 1843). However, neither state set the minimum age to join the militia at 21.
 19

 20

 21         20.    Specifically, New Jersey’s 1779 Act was not a general militia act, but
 22   rather, a specific purpose act of the type states would enact from time-to-time as
 23
      supplements to their overall militia structure. See Ch. XIII, An Act for the Regulating,
 24

 25   Training, and Arraying of the Militia, and For Providing More Effectually for the
 26   Defence and Security of the State, Sec. 10, Acts of the General Assembly of the State
 27
      of New Jersey, 40 (1781) (affirming the age group to be enrolled in the state militia as
 28
                                                       9
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  1
      sixteen to fifty and using twenty-one as the cut-off age for a specific purpose act, but

  2   not ruling out the use of those between the ages of sixteen and twenty-one who were
  3
      still part of the militia). New Jersey’s militia age was 18 in 1792. See Exhibit 9
  4

  5   (enrolling free, white males from eighteen to forty-five in the state militia). Further, the

  6   1779 Act and similar acts addressed a specific need and would sometimes only be in
  7
      effect for a certain period of time. See Ch. XI, An Act to Establish a Company of
  8

  9   Artillery, in the City of New-Brunswick, Acts of the General Assembly of the State of

 10   New Jersey, 11 (1782). Moreover, the 1779 Act does not state that 21 was the minimum
 11
      age for militia service; instead, it states the officers would make lists of everyone above
 12

 13   21, not exempted by some other duties. It laid out a specific number of militiamen to

 14   be drafted from each county so that an even 1000 was reached. Finally, the 1779 Act
 15
      states that “nothing herein contained shall be construed to prevent employing Officers,
 16

 17   and enlisting non-commissioned Officers and Privates between the Age of sixteen and

 18   twenty-one years.” Ch. XIII, An Act for the Regulating, Training, and Arraying of the
 19
      Militia, and For Providing More Effectually for the Defence and Security of the State,
 20

 21   Sec. 10, Acts of the General Assembly of the State of New Jersey, 40 (1781)
 22         21.    With regard to the Ohio statute from 1843, it merely exempted persons
 23
      under 21 from the militia duties during times of peace. Ohio's minimum age changed
 24

 25   to twenty-one the following year. See An Act To Organize and Discipline the Militia,
 26   Sec. 1, Ohio Statutes (1837) and An Act To Regulate the Militia, Sec. 2, Ohio Statutes
 27
      (1844). However, sixteen year olds were still allowed to volunteer for the militia even
 28
                                                      10
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  1
      after the shift. Id. In fact, the militia age in Ohio was eighteen at in 1843. Id.

  2           22.   Thus, based on my historical review of the relevant state militia laws, it
  3
      could not be more clear, at the crucial point of our nation’s history — Young Adults
  4

  5   were always considered part of the militia and always held the right to keep and bear

  6   arms.
  7
                                                Federal Militia Act
  8

  9           23.   The federal Militia Act of 1792 (1 Stat. 271) required that a male who “is

 10   or shall be of the age of 18 years” “shall, within six months thereafter, provide himself
 11
      with a good musket or firelock, a sufficient bayonet and belt,” and 24 rounds of
 12

 13   ammunition. Attached hereto as Exhibit 15 is a true and correct copy of the Uniform

 14   Militia Act, 1 Stat. 271-72 (1792). The main consideration in raising the age to 18 was
 15
      better resistance to disease, which was more dangerous than the enemy on military
 16

 17   campaigns. Those who chose to carry a rifle instead of a musket were required to

 18   possess the rifle and more than twenty rounds of ammunition. Id. The Militia Act of
 19
      1792, with amendments, remained law until repealed in 1903. It did allow States to
 20

 21   exempt persons from “militia duty.” See Exhibit 15 at p. 272. In the 1830s and 1840s,
 22   several States generally exempted citizens from this duty. However, these individuals
 23
      still remained members of the militia, but were not subject to drill, muster, and being
 24

 25   “called forth” by the President or their state Governor. Id.
 26           24.   The most encyclopedic treatment of militia statutes as they pertain to the
 27
      Second Amendment right of 18-to-20-year-olds is found in: (1) David B. Kopel &
 28
                                                       11
                      DECLARATION OF DAVID T. HARDY IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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  1
      Joseph G.S. Greenlee, History and Tradition in Modern Circuit Cases on the Second

  2   Amendment Rights of Young People, 43 Southern Illinois University Law Journal 119
  3
      (2018) (hereinafter Kopel & Greenlee 2018); and (2) Kopel, David B. and Greenlee,
  4

  5   Joseph, The Second Amendment Rights of Young Adults (forthcoming in 2019), 43

  6   Southern Illinois Law Journal (2019) (hereinafter Kopel & Greenlee 2019).
  7
            25.    Attached hereto as Exhibit 16 is a true and correct copy of Kopel &
  8

  9   Greenlee 2018. Attached hereto as Exhibit 17 a true and correct copy of Kopel &

 10   Greenlee 2019.
 11
            26.    Additionally, not only were 18-to-20-year-olds able to freely purchase and
 12

 13   acquire firearms, they were also required to possess them. In fact, “over 250 Colonial

 14   and state militia statutes through 1799 mandated that persons,” usually 16 or 18 (and
 15
      older) serve in the militia using their own arms. See Exhibit 17 at 33-34. For example,
 16

 17   during the Founding Era, Colonial militia laws (with the exception of Pennsylvania,

 18   due to objections by its Quaker population) required males to own at least one musket,
 19
      plus a supply of ammunition for it, and to be present annually for inspection and drill.
 20

 21   This duty generally commenced at the person’s 16th birthday. Anyone who failed in
 22   their duty were subject to punishment by court-martial. See Exhibit 15 at 271.
 23
            27.    Many of the earliest Supreme Court rulings on federal preemption of state
 24

 25   laws arose from militia court martials. See, e.g., Houston v. Moore, 18 U.S. 1 (1820).
 26   On that basis, laws prohibiting 18-to-20-year-olds from purchasing or possessing at
 27
      least long guns (e.g., rifles and shotguns) would have failed under the Supremacy
 28
                                                      12
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  1
      Clause, prior to the 1903 repeal of the 1792 Militia Act. Federal law required 18-year-

  2   olds to be armed, and state law could not interfere with that. See Presser v. Illinois, 116
  3
      U.S. 252, 265-266 (1886) (leaving aside the constitutional issue, the citizenry
  4

  5   comprises the militia of the U.S. and States cannot prohibit them from keeping and

  6   bearing arms so as to “disable the people from performing their duty to the general
  7
      government”).
  8

  9                                      Founding Era Attitudes

 10         28.    Although the Colonial and Founding Era regulations and militia statutes
 11
      prove that Young Adults held the core right to keep and bear arms under the Second
 12

 13   Amendment, I also reviewed various and more generalized “Founding Era Attitudes”

 14   regarding the Second Amendment Rights of Young Adults. In my opinion, Founding
 15
      Era attitudes do not support the notion that Young Adults could be categorically
 16

 17   disarmed due solely to their age. Rather, Founding Era attitudes explicitly support the

 18   Second Amendment rights of Young Adults. Indeed, it was common for American
 19
      children (under the age of 18) to be familiar with firearms, let alone Young Adults.
 20

 21         29.    For example, on July 8, 1775, the Continental Congress warned King
 22   George III that America’s superiority with arms, due to their training beginning in
 23
      childhood, would make them a formidable foe: “Men trained to Arms from their
 24

 25   Infancy, and animated by the Love of Liberty, will afford neither a cheap or easy
 26   Conquest.” Attached hereto as Exhibit 18 is a true and correct copy of 1 Journals of
 27
      the AM. Congress From 1774-1788, at 169 (adopted July 8, 1775) (1823). Similarly,
 28
                                                       13
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  1
      David Ramsey, a legislator from South Carolina and delegate to the Continental

  2   Congress stated, “Europeans, from their being generally unacquainted with fire arms
  3
      are less easily taught to use them than Americans, who are from their youth familiar
  4

  5   with these instruments of war.” Attached hereto as Exhibit 19 is a true and correct copy

  6   of 1 David Ramsey, The History of the American Revolution 181 (Liberty Fund 1990)
  7
      (1789). He also noted that “[f]or the defence of the colonies, the inhabitants had been,
  8

  9   from their early years, enrolled in companies, and taught the use of arms.” Id. at 178.

 10         30.    Writings from Thomas Jefferson provide insight into American attitudes
 11
      of gun ownership of Young Adults. In explaining the events in America to a Scottish
 12

 13   friend, Thomas Jefferson stated, “[w]e are all in arms, exercising and training old and

 14   young to the use of the gun.” Attached hereto as Exhibit 20 is a true and correct copy
 15
      of 3 Am. Archives 4th Ser. (Clark & Force) 621 (1840). Jefferson also opined that
 16

 17   during the Revolution, the reasons American battle casualties were so much lower than

 18   the British was “our superiority in taking aim when we fire; every soldier in our army
 19
      having been intimate with his gun from his infancy.” Attached hereto as Exhibit 21 is
 20

 21   a true and correct copy of the letter from Thomas Jefferson to Giovanni Fabbroni (June
 22   8, 1778), in “From Thomas Jefferson to Giovanni Fabbroni, 8 June 1778,” Founders
 23
      Online,       National          Archives,            accessed         April          11,        2019,
 24

 25   https://founders.archives.gov/documents/Jefferson/01-02-02-0066. [Original source:
 26   The Papers of Thomas Jefferson, vol. 2, 1777-18 June 1779, ed. Julian P. Boyd.
 27
      Princeton: Princeton University Press, 1950, pp. 195-198.] In precise legal usage,
 28
                                                      14
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  1
      “infancy” meant the same as “minority.” The word was not used exclusively in the

  2   modern sense, in which an “infant” is a child younger than a toddler.
  3
            31.    Although the historical attitudes surrounding Young Adults’ and gun
  4

  5   ownership are more subjective than the general firearms regulations and militia statutes

  6   of the time, in my opinion, these general attitudes are clear. As Tench Coxe said, “the
  7
      power of the sword are in the hands of the yeomanry of America from 16 to 60…. Their
  8

  9   swords… are the birthright of an American.” Attached hereto as Exhibit 22 is a true

 10   and correct copy of Tench Coxe, A Pennsylvanian, No. 3, Pennsylvania Gazette, Feb.
 11
      20, 1788.
 12

 13                          Other Arms-Related Statutes and Duties

 14         32.    Other arms-related statutes and duties during this period support the
 15
      notion that Young Adults held the right to keep and bear arms. These duties required
 16

 17   the use of arms and Young Adults were required to take part in them. Specifically,

 18   Young Adults (as well as adults over 21) were required to bring their own arms to help
 19
      protect the community in various ways.
 20

 21         33.    First, all able-bodied men from 15 or 16 to 60 were obliged to join in the
 22   “hue and cry” to pursue fleeing criminals. As a part of this duty, deadly force was
 23
      permitted if necessary to prevent escape. See Exhibit 17 at 33-34.
 24

 25         34.    Second, there was “watch and ward” guard duty for towns and villages.
 26   See Exhibit 17 at p. 33, fn. 250. Young Adults took party in this duty to provide
 27
      security for the towns and villages.        Third, Young Adults were expected to
 28
                                                      15
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  1
      participate in the posse comitatus. This was the power of the sheriff, coroner,

  2   magistrate, or other officials to summon all able-bodied males to assist in keeping the
  3
      peace. Attached hereto as Exhibit 23 is a true and correct copy of David B. Kopel,
  4

  5   The Posse Comitatius and the Office of Sheriff: Armed Citizens Summoned to the Aid

  6   of Law Enforcement, 104 J. Crim. L. & Criminology 761, 763, (2015) (Kopel 2015).
  7
      The traditional minimum age for posse service was 15 or 16 years; the upper age limit
  8

  9   was 70 by some commentators, while other said there was no limit. Id. at 796. Young

 10   Adults were required to participate in this posse service. Indeed, James Wilson, shortly
 11
      before being appointed to the U.S. Supreme Court, stated in 1790, that “No man above
 12

 13   fifteen and under seventy years of age, ecclesiastical or temporal, is exempted from

 14   this service.” See James Wilson, Lectures on Law, in 2 Collected Works of James
 15
      Wilson 1017 (Kermit L. Hall & Mark David Halls eds., 2007) (Ch. VII, “The Subject
 16

 17   Continued. Of Sheriffs and Coroners”). Thus, even at the age of 15 or 16, Americans

 18   were expected to use their own arms to help enforce the law (including by defending
 19
      themselves).
 20

 21                                   Late 19th-Century Case Law
 22         35.      I also reviewed the various early to mid-19th century state firearms laws
 23
      and regulations to determine if age-based restrictions on firearms were in place. This
 24

 25   review consisted of a diligent search for early age-restricting laws, in session laws, case
 26   law, and academic articles. From 1800 to at least 1850, there were no age-based
 27
      firearms regulations. Thus, as in the Colonial period and the Founding Era, there were
 28
                                                        16
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  1
      no age-based arms restrictions in the early Republic or the Jacksonian period.

  2         36.    The first age restrictions on firearms appear in the South shortly before
  3
      the Civil War. In 1856, Alabama prohibited giving handguns to male minors. In 1860,
  4

  5   Kentucky outlawed providing handguns to minors, free blacks, or slaves. Other than

  6   these two laws, age-based restrictions did not appear until the last quarter of the 19th
  7
      Century. However, as stated above, late nineteenth century laws “do not provide as
  8

  9   much insight into [the Second Amendment’s] original meaning as earlier sources.”

 10   Heller, 554 U.S. at 614. Thus, my analysis must take this into account. Importantly,
 11
      both of these laws were restrictions on giving handguns to legal “minors” under the
 12

 13   age of majority. No law ever restricted all types of firearms for legal adults (who had

 14   reached the age of majority) based on their age up to and through this period.
 15
            37.    In my review of the mid-to-late 19th Century, I found only a handful of
 16

 17   States that limited firearm purchases based on age. However, these restrictions applied

 18   to children or minors who had not reached the age of majority and were not considered
 19
      legal adults. Further, the age restrictions applied to individuals well under 18;
 20

 21   specifically, ages 14, 15, or 16. First, in 1880, Ohio provided that anyone who “sells,
 22   barters, or gives away to any minor under the age of fourteen years, any air-gun,
 23
      musket, rifle-gun, shot-gun, revolver, pistol, or firearm” would be guilty of a
 24

 25   misdemeanor. Rev. Stat. of Ohio §6986 (6th ed. 1895) (emphasis added). Second, in
 26   1881, a Pennsylvania law made it illegal to sell “to any person under sixteen years of
 27
      age, any cannon, revolver, pistol, or other such deadly weapon.’ See McMilleb v.
 28
                                                      17
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  1
      Steele, 275 Pa. 584, 119 A. 721 (1923). In this instance, the term “deadly weapon” does

  2   not appear to have applied to long arms (e.g., rifles and shotguns), and at least as quoted
  3
      by the court, did not forbid possession. Third, in 1882, New Jersey provided that it
  4

  5   would be a misdemeanor for a person to “sell, barter or exchange… any gun, pistol,

  6   toy pistol, or fire-arms in this state to any person under the age of fifteen years.”
  7
      (emphasis added). This was amended four weeks later to add a section forbidding
  8

  9   persons under 15 to “fire or use” a firearm “except in the presence of his father or

 10   guardian, or for the purpose of military drill in accordance with the rules of a school.”
 11
      See Supplement to the Revision of the Statutes of New Jersey 205-06 (1887).
 12

 13          38.      None of the above-referenced laws applied to legal adults who had

 14   reached the age of majority (at that time generally 21) or individuals under the age of
 15
      majority who were ages 18-to-20.
 16

 17                       Modern Federal Age-Based Firearm Restrictions

 18          39.      In terms of federal law, the National Firearms Act of 1934; which
 19
      regulated sale and possession of machine guns and other specialized firearms,
 20

 21   contained no age restrictions. See 48 Stat. 1236.
 22          40.      The first federal restriction on ordinary firearms purchase came in the
 23
      Federal Firearms Act of 1938 (52 Stat. 1250), which forbade firearms sales to those
 24

 25   convicted of violent crimes and fugitives from justice, but it contained no age
 26   restrictions.
 27
             41.      The first federal age restriction appears in the Gun Control of 1968. It set
 28
                                                         18
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  1
      the minimum age to purchase rifles and shotguns from licensed dealers at 18 and set

  2   the minimum age to purchase handguns from licensed dealers at 21. Handgun transfers
  3
      between two non-licensed individuals (commonly referred to a “private party transfer”)
  4

  5   were not prohibited. Thus, those under 21 who wished to purchase handguns were free

  6   to acquire them through private party transfers or through their parents
  7
            42.    Additional federal age-based restrictions on firearms did not occur until
  8

  9   much later in the 20th Century. The 1993 Youth Handgun Safety Act restricted, but

 10   did not ban, juvenile (under 18 years old) handgun possession. See YOUTH
 11
      HANDGUN SAFETY ACT OF 1993, 1003 Bill Tracking S. 1087. Later, federal law
 12

 13   was amended to prohibit juveniles (under 18) from possessing handguns (subject to

 14   limited exceptions). 18 U.S.C. 922(x)(2) (2018).
 15
            43.    In 2009, the First Circuit upheld the federal ban on juvenile handgun
 16

 17   possession in United States v. Rene E. 583 F.3d 8 (1st Cir. 2009). However, in my

 18   opinion, it provides little support for an age-based firearm ban on the purchase, sale,
 19
      transfer, and use of any firearm for Young Adults (ages 18-to-20). The statute at issue
 20

 21   related to handgun possession by those aged under 18.
 22         44.    Later, the National Rifle Association challenged the federal law that
 23
      prohibited federally-licensed firearms dealers from selling handguns to Young Adults
 24

 25   under the Second Amendment. On appeal, the Fifth Circuit upheld the lower court’s
 26   decision that the prohibition was constitutional under the Second Amendment. The
 27
      Fifth Circuit applied an “historical analysis” of firearms regulations and determined the
 28
                                                      19
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  1
      conduct at issue was outside the Second Amendment’s protection. However, in an

  2   abundance of caution, the Fifth Circuit also applied intermediate scrutiny to uphold the
  3
      challenged law. NRA of Am. v. Bureau of Alcohol, 700 F.3d 185, 205-212 (5th Cir.
  4

  5   2012) (NRA I).

  6         45.    In my review of NRA I and current federal law, the federal handgun law
  7
      still allows Young Adults to purchase and possess all types of rifles and shotguns from
  8

  9   licensed dealers, private party transfers, and family transfers. 18 U.S.C.S. § 922(b)(1)

 10   and (c)(1). Additionally, Young Adults ages 18 to 20 may still purchase, acquire,
 11
      transfer, and sell handguns through private party transfers and family transfers. These
 12

 13   exceptions were explicitly relied on in upholding the law as constitutional. See NRA I,

 14   700 F.3d at 191-92.
 15
            46.    In contrast, current California law prevents both dealer and private party
 16

 17   sales, transfers, and control or possession of any type of firearm (e.g., handguns, rifles,

 18   and shotguns). Penal Code section 27510.
 19
            47.    Relatedly, in my opinion and based on other secondary source critiques,
 20

 21   the Fifth Circuit’s historical analysis of the Second Amendment relative to Young
 22   Adults is flawed. See Exhibit 16 [Kopel & Greenlee 2018] and Exhibit 17 [Kopel &
 23
      Greenlee 2019]. My analysis above regarding Colonial and Founding Era firearms
 24

 25   regulations and militia statutes, and my analysis of firearms regulations up through
 26   1900 are the base for my criticism.
 27
                            Other State Age-Based Firearm Restrictions
 28
                                                        20
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  1
            48.    In the 20th Century, it is generally accepted that the earliest relatively

  2   strict gun law is New York’s 1911 Sullivan Act. 1911 N.Y. Laws ch. 195. It amended
  3
      section 1897 of the Penal Law to make it a misdemeanor to sell any “gun, revolver,
  4

  5   pistol or other firearm” to a person under the age of 16, and prohibited possession by

  6   those persons. The history that follows is less than clear. Section 1897 had started as a
  7
      prohibition against those under 18 possessing brass knuckles or “slung shots,” flexible
  8

  9   clubs, but did not list firearms. 1908 N.Y. Laws ch. 93. The 1911 law added the

 10   “firearms” restriction. A 1913 amendment to section 1897 expanded the list of weapons
 11
      forbidden to juveniles, but it removed the “firearms” portion of the prohibition. 1913
 12

 13   N.Y. Laws ch. 608. The same list of prohibited weapons, sans firearms, was repeated

 14   two years later. 1915 NY Laws ch. 390. This was repeated in 1917. 1917 NY Laws
 15
      ch. 580. Based on my review, it appears that the ban on firearms possession by those
 16

 17   under 16 began in 1911, was repealed in 1913, and went unchanged until at least

 18   through 1915. This provision, also evidently lasted throughout most of the 20th
 19
      century. Justice Scalia has noted that in high school (he graduated in 1953) he carried
 20

 21   a rifle through the New York City subways without any problem. See Associated Press,
 22   Feb. 27, 2008, online at https://www.deseretnews.com/article/635187836/Young-
 23
      Scalia-carried-rifle-while-riding-NY-subway.html.
 24

 25         49. New York’s Sullivan Act, which also required a discretionary license to
 26   purchase a handgun, did not become popular in other States. To pre-empt its spread, in
 27
      1924, the United States Revolver Association published a proposed Uniform Act.
 28
                                                      21
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  1
      Report of the Committee on a Uniform Act to Regulate the Sale and Possession of

  2   Firearms (1924). Section 9 of that proposal would have forbidden sales of handguns to
  3
      those under the age of 18. It did not restrict handgun sales to Young Adults ages 18
  4

  5   and over. Also, it would not have affected sales of rifles or shotguns, nor did it restrict

  6   handgun possession by those under 18; the restrictions on possession were limited to
  7
      felons and non-citizens.
  8

  9          50. The following year, the National Conference of Commissioners on Uniform

 10   Laws produced its own version of a uniform law — the Uniform Firearm Act. See
 11
      Second Report of the Committee on a Uniform Act to Regulate the Sale and Possession
 12

 13   of Firearms (1925). The Commissioners followed with further drafts in 1926, 1928,

 14   and 1930. Section 8 of each draft tracked the 1924 version, forbidding only dealer sales,
 15
      of handguns, to those under 18. Private transfers of handguns and all transfers of long
 16

 17   guns were not subject to an age limit. Young Adults would not have been affected.

 18                  History of California Age-Based Firearm Restrictions
 19
             51.    As of 1917, California law contained no age restrictions on firearm sales
 20

 21   or transfers. 1917 CA Statutes ch. 145. In 1923, California largely adopted the Uniform
 22   Acts and imposed a minimum of 18 years of age or older on the sale, delivery, or
 23
      transfer of “any pistol, revolver or other firearm capable of being concealed upon the
 24

 25   person….” 1923 CA Statutes ch. 339, § 10. Even then, there was no California ban on
 26   the sale, supply, delivery, possession, or control of any long guns based on age
 27
      (e.g., rifles and shotguns). Id.
 28
                                                       22
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  1
            52.    Prior to the enactment of SB 1100, which amended California Penal Code

  2   section 27510, existing California law prohibited the sale or transfer of a handgun,
  3
      except as exempted, to any person under the age of 21 through federally licensed dealer
  4

  5   and private party transfers. However, it expressly allowed a person at least 18 years of

  6   age to buy or transfer “long guns” (e.g., rifles and shotguns) through both federally
  7
      licensed dealer sales, private party transfers, and familial transfers.
  8

  9         53.    Based on my review of age-based firearms restrictions, California Penal

 10   Code 27510 is an extreme outlier. Only five other states have implemented age-
 11
      restrictions on all types of firearms for Young Adults. Many of these restrictions have
 12

 13   only been in place within the last five years.

 14         54.    Attached hereto as Exhibit 3 is a true and correct copy of Connecticut
 15
      Acts and Laws, October Session (1792).
 16

 17         55.    Attached hereto as Exhibit 4 is a true and correct copy of, An Act for

 18   Establishing the Militia In This State, Delaware (1793).
 19
            56.    Attached hereto as Exhibit 5 is a true and correct copy of, An Act to
 20

 21   Revise and Amend the Militia Law of This State, and to Adapt the Same to the Act of
 22   Congress of the United States, Passed the Eighth Day of May, One Thousand Seven
 23
      Hundred and Ninety-Two, Entitled An Act More Effectually to Provide for the
 24

 25   National Defence by Establishing and Uniform Militia Throughout the United States,
 26   as contained in Digest of the Laws of Georgia, 460 (1792).
 27
            57.    Attached hereto as Exhibit 6 is a true and correct copy of, Ch. LIII, An
 28
                                                      23
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  1
      Act to Regulate and Discipline the Militia of This State, Laws of Maryland (1793).

  2         58.   Attached hereto as Exhibit 7 is a true and correct copy of, Ch. 1, An Act
  3
      for Regulating and Governing the Militia of the Commonwealth of Massachusetts, and
  4

  5   for Repealing All Laws Heretofore Made for That Purpose; excepting an Act Entitled,

  6   An Act for Establishing Rules and Articles for Governing the Troops Stationed in Forts
  7
      and Garrisons, Within This Commonwealth, and Also the Militia, When Called Into
  8

  9   Actual Service, Massachusetts Acts and Laws, May Session (1793).

 10         59.   Attached hereto as Exhibit 8 is a true and correct copy of, An Act for
 11
      Forming and Regulating the Militia Within This State, and For Repealing All the Laws
 12

 13   Heretofore Made for That Purpose, New Hampshire, 441 (1792).

 14         60.   Attached hereto as Exhibit 9 is a true and correct copy of, Ch. CCCCXIII,
 15
      An Act for Organizing and Training the Militia of This State, Sec. 4, Acts of the
 16

 17   General Assembly of the State of New Jersey (1792).

 18         61.   Attached hereto as Exhibit 10 is a true and correct copy of Ch. 45, An Act
 19
      to Organize the Militia of This State. Laws of New York (1793).
 20

 21         62.   Attached hereto as Exhibit 11 is a true and correct copy of, Ch. XXII, An
 22   Act for Establishing a Militia in This State, Laws of North Carolina — 1786, 813
 23
      (amended by An Act to Carry Into Effect an Act of Congress, Entitled, An Act More
 24

 25   Effectually to Provide for the National Defence, by Establishing an Uniform Militia
 26   Throughout the United States, Also to Amend an Act, Passed at Fayetteville, in the
 27
      Year One Thousand Seven Hundred and Eighty Six, Entitled, An Act for Establishing
 28
                                                     24
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  1
      the Militia in This State), Acts of the North Carolina General Assembly 1786-1787,

  2   North Carolina General Assembly, 1786, Vol. 24, 783-884 (1793).
  3
            63.   Attached hereto as Exhibit 12 is a true and correct copy of Ch.
  4

  5   MDCXCVI, An Act for Regulating the Militia of the Commonwealth of Pennsylvania,

  6   Statutes at Large of Pennsylvania, 454-481 (1793).
  7
            64.   Attached hereto as Exhibit 13 is a true and correct copy of An Act to
  8

  9   Organize the Militia Throughout the State of South Carolina, in Conformity with the

 10   Act of Congress, Statutes at Large of South Carolina, Vol. 8 (1794-1837).
 11
            65.   Attached hereto as Exhibit 14 is a true and correct copy of Ch. CXLVI,
 12

 13   An Act for Regulating the Militia of this Commonwealth, Virginia (1792).

 14                                         CONCLUSIONS
 15
            66.   My research leads me to the following conclusions:
 16

 17         67.   Age restrictions on the purchase or possession of firearms were utterly

 18   unknown in the Colonial Era, Founding Era, and up through at least 1850. Indeed, state
 19
      militia laws and other regulations (such as posse duties) required Young Adults to own,
 20

 21   possess, and use firearms. From 1792 until 1903, this same requirement to own,
 22   possess, and use firearms was imposed by federal law.
 23
            68.   Colonial and Founding Era firearms safety regulations did not contain age
 24

 25   restrictions. Many dealt with the then-common fire danger of possessing large
 26   quantities of black powder.
 27
            69.   Certain racist and bigoted firearm restrictions that prohibited firearms
 28
                                                      25
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  1
      purchases, or disarmed “certain groups” such as Indians, slaves, free blacks, and

  2   Catholics, provide no precedent for modern law and are explicitly abrogated by the
  3
      First, Thirteenth, and Fourteenth Amendments.
  4

  5          70.     Firearms restrictions that prohibited firearm purchases or disarmed the

  6   non-virtuous or Loyalists were historically rare, found only during wartime, and based
  7
      upon personal misconduct: refusal to swear allegiance. They were accompanied by
  8

  9   penalties that included loss of civil rights, confiscation of property, and exile. Thus,

 10   they provide no support for categorical ban on the acquisition or possession of any
 11
      firearm by Young Adults.
 12

 13          71.     Overwhelming historical evidence, including state militia laws and federal

 14   militia requirements, confirms that Young Adults always have been considered part of
 15
      the militia.
 16

 17          72.     Post-1850, the few age restrictions in place only applied to those under 18

 18   and were narrow in that they usually applied only to handguns (e.g., pistols and
 19
      revolvers). Later restrictions applied only to individuals who had not reached the age
 20

 21   of majority and only applied to handguns.
 22          73.     Age restrictions on the purchase or possession of rifles appear to have
 23
      originated in the 1960s. Prior to that period, even New York, which had the strictest
 24

 25   gun laws at the time, did not restrict possession of rifles based on age.
 26          74.     Federal age-based handgun restrictions appear for the first time in 1968.
 27
      However, they were specific to federally-licensed dealer sales, and of handguns. The
 28
                                                        26
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  1
      federal restrictions on long guns (e.g., rifles and shotguns) only applied to those under

  2   18.
  3
             75.     Federal circuit court cases that have exhausted age-based restrictions have
  4

  5   only addressed restrictions on handguns, never rifles and shotguns, and never

  6   prohibitions on all firearms based on age.
  7
             76.     Those relevant federal circuit court cases also rely on a flawed historical
  8

  9   analysis and have been heavily criticized.

 10          77.     State prohibitions on all types of firearm purchases are extreme outliers
 11
      that only have been in place in the last several years. Until the mid-20th Century, with
 12

 13   the 1968 Gun Control Act, age restrictions on firearms in general were not common. It

 14   is only in recent years that these laws have been implemented at both the federal and
 15
      state level.
 16

 17          I declare under penalty of perjury that the foregoing is true and correct. Executed

 18   within the United States on October 4, 2019.
 19

 20

 21

 22
                                                    _________________
 23                                                 David T. Hardy
 24

 25

 26

 27

 28
                                                        27
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                                 David T. Hardy
                                 Cirriculum Vitae

 8987 E. Tanque Verde, No. 265                          (520) 749-0241 (office)
 No 265                                                 (520) 490-9460 (cell)
 Tucson AZ 85749                                    dthardy@mindspring.com

                                    Education
    J.D., University of Arizona 1975, with honors. Associate editor, Arizona Law
           Review, 1st place moot court 1st & 2nd years, won Regionals 3rd year.
    B.A., University of Arizona 1972, with high honors & Honors Program (today
    the
          Honors College), in 3 years.

                                   Experience

    10 years’ governmental service, Interior Department, Washington D.C.; 33
 years in private practice. Experience ranged from Endangered Species and
 Administrative Procedure Acts to a death penalty reversal in the Arizona Supreme
 Court and a 5-4 in the US Supreme Court. (details below).

    26 law review articles authored, two cited by the U.S. Supreme Court, and one
 by eleven U.S. Circuit Courts of Appeals, and another by Larry Tribe’s AMERICAN
 CONSTITUTIONAL LAW. Author of five books, one a NY Times best-seller.

                                   Publications

 Legal Periodicals
 Standards of Review, the Second Amendment, and Doctrinal Chaos, 42 S. ILL. L. J.
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 Supreme Court dissent and by eleven U.S. Circuit Courts of Appeals:
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    • U. S. v. Andrade, 135 F3d. 104, 109 n. 3 (1st Cir. 1998);
    • Torraco v. Port Authority, 615 F.3d 129, 143 (2d Cir. 2010);
    • Ass’n of N.J. Rifle and Pistol Clubs v. Port Authority, 730 F.3d 252, 256-57 (3rd Cir. 2013);
    • U.S. v. Hayden, 64 F.3d 126, 129 (3d Cir. 1995);
    • U.S. v. Langley, 62 F.3d 602 (4th Cir. 1995) (en banc);
    • United States v. Golding, 332 F.3d 838 (5th Cir. 2003);
    • U.S. v. Kirk, 70 F.3d 791, 798 n.1 (5th Cir. 1995), en banc, 105 F.3d 997, 1006-07 (1997);
    • U.S. v. McGill, 74 F.3d 64, 67 (5th Cir. 1996);
    • U.S. v. Knutson, 113 F.3d 27, 30 (5th Cir. 1997):
    • U.S. v. Rodriguez, 132 F.3d 208,211 (5th Cir. 1997);
    • U.S. v. Golding, 332 F.3 838, 841 N. 12 (5th Cir. 2003);
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    • U.S. v. Choice, 201 F.3d 837, 841 n. 5 (6th Cir. 2000);


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    • U.S. v. Kenney, 91 F.3d 884, 886 (7th Cir. 1996);
    • U.S. v. Farrell, 69 F.3d 891, 893 (8th Cir. 1995);
    • U.S. v. Sherbondy, 865 F.2d 996, 1002 (9th Cir. 1988);
    • U.S. v. Marchant, 55 F.3d 509, 514 (10th Cir. 1995);
    • U.S. v. Wilkes, 58 F.3d 1518, 1519 (10th Cir. 1995);
    • U.S. v. Haney, 264 F.3d 1161, 1169 (10th Cir. 2001);
    • Lomont v. O'Neill, 285 F.3d 9 (D.C. Cir. 2002);
    • U.S. v. Otiaba, 862 F. Supp. 251, 253-54 (D.N.D. 1994) (declining to follow
       2d Circuit, since “that court did not have available to it Hardy’s analysis....”);
    • U.S. v. Hunter, 843 F. Supp. 235, 246 (E.D. Mich. 1994);
    • Cisewski v. Department of Treasury, 773 F. Supp.. 148, 150 (E.D. Wis. 1991);
    • In re Two Seized Firearms, 127 N.J. 84, 602 A.2d 728, 731 (1992);
    • 2A KEVIN O’MALEY, ET AL., FEDERAL JURY PRACTICE AND INSTRUCTIONS §39.09 at 36
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         • D.R. v. Mitchell, 456 F. Supp. 609, 614, 615, 622 (D. Utah 1978);
         • Women's Health Services v. Maher, 482 F. Supp. 725, 735 (D. Conn. 1980).

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    Note, Informants' Statements as a Basis for Stop and Frisk, 15 ARIZ. L. REV. 677
 (1973).

 Books

    DRED SCOTT: THE INSIDE STORY (2019).

    MASS KILLINGS: MYTH, REALITY, AND SOLUTIONS (2018)

    I’M FROM THE GOVERNMENT, AND I’M HERE TO KILL YOU: THE HUMAN COST OF
 OFFICIAL NEGLIGENCE (2017). This is actually a treatise calling for reform of the
 Federal Tort Claims Act and the Federal Rules of Criminal Procedure.

     DAVID T. HARDY & JASON CLARKE, MICHAEL MOORE IS A BIG FAT STUPID
 WHITE MAN (2004) Six weeks on N.Y. Times bestseller list. (The publisher
 insisted on the title, by the way; it was a successful marketing ploy.)

    THIS IS NOT AN ASSAULT (2001).

    ORIGINS AND DEVELOPMENT OF THE SECOND AMENDMENT (1986).

    THE COMPLETE SHORTWAVE LISTENERS’ HANDBOOK (3d ed. 1986).

 Monographs and Anthologies

    OF MICE AND MEN: SURVIVING ENDANGERED SPECIES ACT LITIGATION (1993).

    Chapters dealing with checks and balances, impeachment, bills of attainder, and a
 biography of James Madison in THE NEW FEDERALIST PAPERS (1989).

 Miscellaneous



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    Directed a two-hour documentary film on the 2d and 14th Amendments, “In
 Search of the Second Amendment,” nominated for the ABA’s Silver Gavel Award.
    Creator of four websites and a blog, www.armsandthelaw.com.
    President, Tucson Rod and Gun Club.

                                PRESENTATIONS

     In 2018, I have presented at Southern Illinois University’s symposium on
 “Exploring the Second Amendment: 10 Years after Heller,” and at the St. Louis
 Civil War Roundtable on the Dred Scott case. In past years I have given Pima
 County Bar CLEs on Supreme Court watching and on bringing federal test cases.
 Back when Barbara Atwood taught Civil Procedure, Leighton Rockafellow and I
 would give an annual presentation on personal jurisdiction. I have often spoken at
 the National Firearm Law Symposium; in 2010, due to another speaker’s emergency
 I had to give two presentations. The audience evaluations rated them No. 1 and 2 of
 the symposium, with scores of 3.94 and 3.88, where 4 was the highest rating.
     I have appeared on ABC Nightline, Book TV, Court TV (twice), Scarborough
 Country and over a hundred radio shows.

                           EMPLOYMENT HISTORY
 Private Practice, Tucson, Az. 1992 – present
    Primarily civil litigation and appeals. Admitted to U.S. Supreme Court, Arizona
 Supreme Court, 4th, 6th, and 9th Circuits, U.S. District Courts for Arizona,
 Colorado, and District of Columbia.
    Reported decisions include:
    • Mack v. United States, consolidated with Pritnz v. United States, 521 U.S.
       898 (1997) (10th Amendment, 5-4 win);
    • State v. Detrich, 178 Ariz. 380, 873 P.2d 1302 (1994) (5-0 reversal of
       murder conviction and death penalty);
    • Arizona Libertarian Party v. Board of Supervisors of Cochise County, 205
       Ariz. 345, 70 P.3d 1146 (App. 2003) (election statutes);
    • Arizona Libertarian Party v. Schmerl, 200 Ariz. 486, 28 P.3d 948 (App.
       2001) (First Amendment: successful defense of Arizona electoral system);
    • Arizona Libertarian Party, Inc. v. Bayless, 351 F.3d 1277 (9th Cir. 2003)
       (successful First Amendment attack on State electoral system);
    • NRA v. Magaw, 132 F.3d 272 (6th Cir. 1997) (standing and ripeness);
    • A. Uberti & C. v. Leonardo , 181 Ariz. 565, 892 P.2d 1354 (1995) (In
       personam jurisdiction in product liability case).



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 Office of the Solicitor, Dep’t of the Interior, Wash. DC, 1982-1992
    • Ten years’ agency work, mainly representing U.S. Fish and Wildlife
       Service, occasionally detailed to other federal agencies. GS-14.
    • Continuous work under Endangered Species Act, NEPA, etc.
    • Chief legal advisor to FWS Law Enforcement Division.
    • Litigation: Represented FWS in variety of federal lawsuits, including US v.
       Dion, 476 U.S. 734 (1986) (Eagle Act abrogates Indian hunting rights).
    • Mineral, Oil and Gas Rights: Held primary staff responsibility for preparing
       Interior's legal position on oil, gas and mineral rights underlying Nat'l
       Wildlife Refuge System (68,000,000 acres) lands.
    • Water Rights & Wilderness: Attorney Trish Bangert and I prepared the
       pivotal Solicitor's Opinion on water rights in designated Wilderness Areas.
       The position was subsequently adopted by the Attorney General as the
       position of the entire government.

 Partner, Sharp, Sando, Alfred & Hardy, Tucson, 1976-1982
    • Was assigned individual rating of "b(v)" by Martindale-Hubbell.
    • Small firm general practice, torts, contracts, criminal defense.

 Associate, Browning & Wilson-Druke, Tucson, 1975-76
    • Left when partners dissolved the firm.




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                    *&ÿ&+&ÿÿ)&,ÿ(,-'.ÿ&ÿ)&,ÿ)ÿ %.ÿ/ÿ
                    0)ÿ%&()ÿ(,ÿ/1ÿ(ÿ,)ÿ)ÿ(ÿ()(.ÿ(ÿ()--ÿ
                    /&2ÿÿ(ÿ-)&3ÿÿ,(ÿ&ÿ&ÿ(&ÿ,&())/-ÿ24ÿ
                    )ÿ*)ÿ)&1ÿÿ%)1ÿ!&ÿ(,5ÿ(ÿ')-ÿ!ÿ(ÿ)&,ÿ*)ÿÿ
                    /ÿ)%%&)ÿ/1ÿ(ÿ-&3ÿ0)ÿ*ÿ(&ÿ!ÿ(ÿ,%)1.ÿ
                    6*(&!ÿÿÿ/ÿ(ÿ/1ÿ(ÿ%)&1.ÿ)ÿ(ÿ(&ÿ/1ÿ(ÿ
                    -)&3.7ÿ)ÿ()--ÿ/ÿ82ÿ!ÿ)ÿ2&)&ÿ')-ÿ/1ÿ)ÿ!!(ÿ%)&.ÿ(ÿ
                    (ÿ)&,ÿ&ÿ),,ÿÿ!594ÿÿ
                         (.ÿ(ÿ,)ÿ*(ÿ*-ÿÿ%&()ÿ)ÿ2ÿ)ÿ
                    ),,ÿ*-ÿ()'ÿÿ%&'ÿ/1ÿ(ÿ2'&,.ÿ/ÿ)ÿ
                    )ÿ%&ÿ)ÿ,(ÿ)ÿ*1ÿ%&ÿ)/'ÿ(ÿ,)&3ÿ%&5ÿ(ÿ
                    (2(ÿ%&ÿ&)ÿ)ÿ'ÿÿ%&()ÿ)ÿ2ÿ%&')-15ÿÿ
                         5(&ÿ%)&ÿ!ÿ(ÿ-)*ÿ%&'ÿ!&ÿ(&2ÿÿ)1ÿ
                    )&,ÿ""2:-ÿ,ÿÿ)&ÿ(ÿ%&ÿ!ÿ)ÿ2""ÿ)              ÿ
                    ),,5 ÿ      &1ÿ
                                           
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                                               &ÿ-)* ÿ )%%) &  ÿ
                                                                   ÿ4  *ÿ &3  ;ÿ)ÿ
                    4*ÿ<),%(&5""=ÿ
                         5ÿ"#:>ÿ&2)ÿ-)*.ÿ*(-ÿ-ÿ?%-ÿ)/ÿ(ÿ%&ÿ!&ÿ
                      &,2ÿ(ÿ')-ÿ!ÿ(ÿ)&,.ÿ&ÿ,-)ÿ!!&ÿÿ
                    %&()ÿ2ÿÿ(ÿ%/-ÿ)ÿ!&ÿ&/ÿÿ(ÿ
                    *(ÿ-ÿÿ)!!&ÿ(,.ÿ0!&ÿ(,ÿÿ%ÿ!ÿ(ÿ),ÿ)ÿ
                    (&ÿ()-/ÿ)@ÿ)ÿ()ÿ(ÿÿ*(,ÿ&"/$ÿ
                    ()-/ÿ,)ÿÿ%)1ÿ!&ÿ(ÿ),ÿ)ÿ)ÿ&))/-ÿ&)954 ÿ(ÿ
                    -)*ÿÿÿ&-1ÿ%&'ÿ()ÿ2ÿ*&ÿ0ÿ&,)ÿ(ÿ
                    %&%&1ÿ!ÿ(ÿ2'&,54ÿ9ÿ.ÿ(*'&.ÿ,ÿ)ÿ/ÿ
                    &)2ÿ!&ÿ(ÿ2'&,ÿÿ%&'ÿ2ÿÿ')-ÿ
                    ,-),.ÿ)ÿ(ÿ&+&ÿ(,ÿÿ%)1ÿ!&ÿ(ÿ2.ÿ!ÿ(ÿ
                    2ÿ*&ÿÿ&,)ÿ2'&,)-ÿ%&%&15ÿÿ
                         ÿ
                         5ÿ/-ÿ5&,ÿ
                         4ÿ'&1ÿ&2)ÿ,-),)ÿ)%%)&-1ÿÿÿ
                    )&,2ÿ(,-!@ÿ)ÿ":A;ÿ)ÿ%&'ÿ0ÿ,)1ÿ/ÿ)&1ÿÿ
                    ,ÿ!ÿ )2&.ÿÿ)&,ÿ%)&ÿ!ÿ(ÿ,-).ÿÿ(&*ÿ
                    !!-1ÿ%&'.ÿÿ!ÿ(ÿ,)81ÿ,)2)Bÿ)ÿ(&ÿ
                    &ÿ*(ÿ(ÿ-1954ÿ&)&1ÿÿ(ÿ-),ÿ()ÿ)--ÿ2ÿ
                    *&ÿ&ÿ(ÿ%&%&1ÿ!ÿ(ÿ2'&,.ÿ(ÿ),ÿ
                    )ÿ&,)-Bÿ,/BB-,ÿ!ÿ0)&,ÿ&ÿ),,4ÿ
                    ()ÿ*&ÿÿÿ(ÿ*(ÿ*&ÿÿ%&ÿÿ)&,ÿ(,-'.ÿ
                    )ÿ(ÿ&*ÿ)ÿÿ/*ÿ%/-ÿ)&,ÿÿ!&,ÿ
                    0(ÿ,)81ÿ,)2)B4ÿ)ÿ(&.ÿ%&,)/-1ÿ%&')-1ÿ*ÿ
                    !&)&,5""ÿÿ
                                                   ÿ




                                       EXHIBIT 2
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               012341ÿ                   67689
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                    ÿÿ3ÿÿÿ!""ÿ#ÿ$ÿ#%ÿ&ÿ
               4'((ÿÿ&ÿ)'*ÿ2+ÿ*ÿ$ &ÿÿ&ÿ)'*ÿ
               2ÿ&ÿ'ÿ3,ÿ-&ÿ*&ÿ3,.ÿÿÿ*&ÿ2ÿ
               ÿ'/ÿÿ&ÿ)'*0ÿÿ-&*&ÿ3,ÿÿÿÿ)ÿ
               ÿ)ÿ-&%ÿ&ÿ#ÿÿÿÿ)*&ÿ*&ÿ
               2ÿÿ3,.1+ ÿ9ÿÿ/ÿ*ÿ'/ÿÿ&ÿ
               /%ÿÿÿÿ'ÿÿ&ÿ&ÿ-ÿÿÿÿ,ÿ
               &ÿÿ$)'*ÿ21+ÿ
                    9ÿ!2ÿ33ÿÿ*ÿ-ÿÿÿ,ÿÿ
               /ÿ*&ÿÿÿÿÿ/ÿ&ÿ
               %ÿ&-ÿ-&ÿ/ÿ&ÿ&1ÿ&ÿÿ-ÿ##ÿÿ
               'ÿ$4&ÿÿÿ6**ÿ2ÿ2ÿÿ
               ÿ2**ÿÿÿ5ÿ&%ÿ'ÿ%ÿ
               ÿÿ&ÿ#'*ÿ3/(ÿÿ&ÿ)%*ÿÿÿ-ÿ
               #ÿ/ÿ&ÿ9&'ÿÿ&%ÿ'ÿÿÿÿ
               ÿÿÿ&ÿÿÿÿ#ÿ&ÿ&ÿ7*,ÿ&%ÿ
               'ÿ,"ÿÿÿÿÿ&ÿÿ2ÿÿ#ÿÿ#%ÿ
                 .1+ ÿ9ÿÿ/ÿ-ÿ$*ÿ/%ÿ##+ÿ
               &ÿ*ÿ*&ÿÿ#'*ÿ-ÿÿ/&/ÿ&ÿ
               ÿ#%ÿ##ÿ-ÿ,ÿÿ1ÿ
                    3*&ÿÿÿ#ÿ*ÿ&ÿ$ &ÿ%ÿ
               /ÿÿ&ÿÿÿ&ÿ*ÿ&ÿ&%ÿ#-ÿÿÿÿ
               ÿ&ÿ*ÿÿÿÿ6ÿ#*ÿ&ÿÿ*ÿÿ&ÿ
               *ÿ#ÿ7ÿÿ#89%ÿÿ/ÿ&-89&ÿÿ;ÿÿ
               ÿ'ÿÿ&ÿÿ&ÿÿÿÿ&ÿ:*1+ ÿ)'*ÿ
               -ÿÿ-ÿÿ'ÿÿ<ÿÿÿ=ÿÿ/ÿÿ
               &ÿ-ÿÿÿ3*&1ÿÿ
                    2ÿ!2ÿ>/ÿÿÿÿ/ÿ%*ÿ&ÿ/ÿ
               -ÿÿ/ÿÿ*ÿ/%ÿ##1ÿ9ÿ
               #%ÿÿÿ*ÿÿ$*&ÿÿ&ÿ*ÿÿ
               -&*&ÿ&ÿÿ&ÿ'ÿÿÿ%*ÿÿ&ÿ#ÿÿ&ÿ
               *ÿ&ÿ-&ÿ&ÿ#*ÿÿ&ÿ&ÿÿ&ÿ#/ÿ
               &ÿ*ÿÿÿ&ÿ'ÿ#*ÿ&ÿ'ÿ&ÿÿ&ÿÿÿÿ
               ÿ#%ÿÿ*ÿ#*&ÿÿ&ÿ
               #'*,ÿ?#ÿÿ&ÿÿ*.1+2ÿ#ÿ/%ÿ
               /ÿ-ÿ*ÿÿÿÿÿÿ1ÿ
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               ÿÿ*/(ÿ&ÿ/ÿ*ÿ'ÿ#%ÿ##ÿ
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                                          EXHIBIT 2
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                    ÿÿÿ!ÿ"ÿ#$%&$'())*ÿ$+ÿ,%,$*ÿ%-ÿ$+ÿ
                    !%.&$/ÿ%($'(#$0"ÿ(%"ÿ,%.'ÿ"#(+ÿ.'(/ÿ9ÿ
                    12345ÿ-$ÿ$+ÿ6#%$ÿ75ÿ8ÿ&#"9$ÿ'$+ÿÿ)$$"ÿ9ÿ7:ÿ"ÿ
                    -%#5ÿ8(%(.ÿ$%ÿ;ÿ0%/ÿ7%%"ÿ+%ÿ"ÿ9'))ÿ$$ÿ$+ÿ
                    3'."ÿ&%#$+/ÿ9$ÿ"ÿ%ÿ-%ÿ$+ÿ,"$ÿ<$+$=ÿ$+ÿ&#"9$ÿ
                    "+%#)ÿ;ÿ)'.ÿ$%ÿ0%/ÿ7%%"ÿ-'"ÿ#$')ÿ%$+ÿ
                    ,,/:12ÿ9-ÿ$+ÿ%($'(#$ÿ!%.&$ÿ!ÿÿÿ
                    &0"ÿ&#"9$ÿ"ÿ8!%.&$ÿ,%,$*5:ÿ'$ÿ'"ÿ%ÿ$+$ÿ$+*ÿ
                    )'.ÿ'$ÿ$%ÿ+'"ÿ-'"/ÿ
                         7ÿ)"%ÿ+.ÿ>&,)"ÿ%-ÿ(%)%'"$"ÿ-'ÿ-%ÿ"))'!ÿ!#"ÿ$%ÿ
                    $+ÿ9'"?ÿ'$+ÿ%ÿ"#!!"$'%ÿ$+$ÿ$+"ÿÿ,#;)'()*ÿ
                    %ÿ&"/ÿ5ÿ1232ÿ(%&,)'$ÿ'ÿ$+ÿ%($'(#$ÿ(%"ÿ
                    "+%"ÿ$+$ÿ8@*ÿ$')"ÿ%ÿ"%&ÿ%1-ÿ$+ÿ"<.$"=ÿ+ÿ$ÿÿ
                    ,(ÿ'$+ÿ$+ÿ9'"ÿ-%ÿ%/: ÿ9ÿ12AB5ÿC%!ÿ5;;%$$ÿ'"ÿ
                    %ÿ$%ÿ,1G*ÿÿDEÿ-'ÿ-%ÿ8"))'!ÿÿ,*"$%))ÿ ÿ,%ÿ$%ÿ$+ÿ
                    9"F/: ÿ8'"ÿÿ)"%ÿ,$)*ÿ""""ÿ-%ÿ"))'!ÿ!#"ÿ
                    $%ÿ$+ÿ9'"5ÿ'$+1ÿ4%ÿ+'$ÿ%ÿ"#!!"$'%ÿ$+$ÿ$+"ÿÿ
                    !%.&$ÿ,%,$*/ ÿÿ
                         7ÿ!#"ÿ,'.$)*ÿ%ÿ%ÿ!%.&$ÿ,%,$*Hÿ7ÿ
                    +.ÿ.'(ÿ"#(+ÿ"ÿÿ%($'(#$ÿ)"#'$ÿ'ÿ1234ÿ;*ÿÿ80%/ÿ
                       %%*ÿ(%$ÿ)(+-%5ÿ-%ÿÿ-%)'!ÿ,(ÿ+ÿ;%#!+$ÿÿ
                    "+%#)ÿ+.ÿ,*ÿ-%ÿ'$ÿABI/:13Bÿ9ÿ12AB5ÿ)"%ÿ'ÿ%($'(#$5ÿÿ
                    7'))'&ÿ@'))ÿ1   "ÿ-'ÿDAÿ8-%ÿ;#*'!ÿÿ"$%)ÿ,(ÿ%-ÿ /ÿ
                    )#&"ÿ&/: ÿ+ÿ'"ÿ%$+'!ÿ'ÿ$+ÿ,%$"ÿ%-ÿ$+"ÿ(""ÿ
                                    31
                    $+$ÿ"#!!"$"ÿ$+$ÿ$+"ÿ!#"ÿÿ(%"'ÿ!%.&$ÿ
                    ,%,$*/ÿ
                          '&'))*5ÿ'ÿ4ÿ@.ÿ%)%*5ÿÿ('.')ÿ"#'$ÿ%-ÿ12AEÿ
                    (%("ÿÿ!#ÿ,#(+"ÿ;*ÿ$,+ÿ ()-ÿ-%&ÿÿ8('"ÿ
                    6')*/ÿ+ÿ!#ÿ"ÿ-($'.5ÿÿ+ÿ'$ÿ>,)%5ÿ ()-ÿ
                    )%"$ÿÿ*/ÿ+ÿ'"ÿ%$+'!ÿ'ÿ$+ÿ"(',$'%ÿ%-ÿ$+ÿ"#'$ÿ$+$ÿ
                    "#!!"$"ÿ$+$ÿ$+ÿ!#ÿ"ÿ8,%,$*ÿ%-ÿ$+ÿ!%.13&$:ÿÿ%ÿ
                    "#,'"ÿ$+$ÿ%ÿ,"%ÿ"%)ÿÿ!#ÿ$%ÿ%$+/ ÿ
                         ))"')"ÿ()'&"ÿ$+$ÿ8$+ÿ!%.&$ÿ".ÿ$%ÿ'$")-ÿ$+ÿ
                    '!+$ÿ$%ÿ'&,""ÿ&"ÿ%ÿ*ÿ%(("'%5ÿ'$+ÿ"ÿÿ-"'.ÿ
                    &"#ÿ!'"$ÿ,%""';)ÿ'"#($'%ÿ%ÿ-%ÿ#"ÿ;1*3ÿ3$+ÿ"$$/ÿ4%ÿ
                    !#ÿ.ÿ;)%!ÿ#6#)'-')*ÿ$%ÿÿ''.'#)/: ÿÿ
                         $ÿ$+ÿÿÿ#&;ÿ%-ÿ>&,)"ÿ$+$ÿ'($)*ÿ(%$'($ÿ
                    $+'"ÿ()'&/ÿ5ÿ1($%;ÿ135ÿ12Eÿ"$$#$ÿ%-ÿ ""(+#"$$"ÿ*ÿ
                    ,%.'ÿ-%ÿ""""&$"ÿ%ÿ,"%"ÿ>&,$ÿ-%&ÿ&')'$'ÿ
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                                         EXHIBIT 2
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                         5*ÿ*+,-.ÿ/ÿ0-12ÿ32+ÿÿ420.567ÿ81-9ÿ2+,7ÿ*ÿ
                    -18*:ÿÿ+-+651-ÿ*1,*ÿ82ÿ6+ÿ;<=>>?@&A<=B?Cÿ2ÿ82ÿ16Dÿ
                    +/-5715+6*ÿ0+6026567ÿÿ+862*54ÿ16.ÿ0122D567ÿ+3ÿ7,6*ÿ
                    1.+4.ÿ3+2ÿÿ4,/-50ÿ7++.ÿ452ÿ82ÿDÿ2*2505E:ÿ1ÿ
                    -1*ÿ3+2ÿ85*ÿF85ÿÿG045+6ÿ+3ÿ1+-50*ÿ56ÿ 12D-16.Hÿ
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                    +862*54ÿ56ÿ+-+651-ÿ52501:ÿ/,ÿDÿ144-5.ÿ+6-Dÿ+ÿ4+4-ÿ
                    8+ÿ82ÿ6+ÿ2,*.ÿ+ÿ/ÿ-+D1-ÿ/2*ÿ+3ÿÿ0+,65D:ÿ
                    41250,-12-Dÿ96.516*ÿ16.ÿ/-109*ÿ8+2ÿÿE1*ÿ1I+25Dÿ+3ÿ4+4-:ÿ
                    8+ÿ82ÿ0+6*5.2.ÿ-+D1-ÿ/2*ÿ+3ÿÿ0+,65D:ÿ7,6ÿ
                    +862*54ÿ81*ÿ6+ÿ+6-Dÿ1--+8.:ÿ5ÿ81*ÿ16ÿ+/-5715+6ÿ
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                    ZY;WYB?ÿF48ÿ+29ÿ5-32.ÿ5ÿ[6+43:ÿ\]]]H:ÿ^ÿ55-12ÿG:ÿ85ÿ1ÿ
                    *,/*ÿ+3ÿÿ*1ÿ3++6+*:ÿ14412*ÿ1ÿ 501-ÿ--*5-*:ÿ_,6ÿ618*ÿ
                    56ÿ12-Dÿ52501ÿÿ37,-15+6ÿ+3ÿ85212*ÿ1862*54:ÿK`]^aK^bc:dÿ
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                    !L?B=P<:ÿ44ÿ^baj]ÿ01,*ÿ56.5E5.,1-*ÿ315-.ÿ+ÿ19ÿ1.k,1ÿ012ÿ+3ÿ
                    7,6*ÿ56ÿ425E1ÿ16.*:ÿ_ÿE6,1-ÿ*+-,5+6ÿ+ÿÿ-109ÿ+3ÿ012ÿ
                    .E+.ÿ+ÿ35212*ÿ81*ÿ+ÿ19ÿ1--ÿ7,6*ÿ56+ÿÿ42+42Dÿ+3ÿÿ*1:ÿ
                    *,/I0ÿ+ÿ*+217ÿ56ÿ0621-ÿ*+2+,**ÿ82ÿDÿ0+,-.ÿ/ÿ0-16.ÿ
                    16.ÿ24152.ÿ/Dÿ415.ÿ7+E266ÿ7,6*5*dÿ 55-12-D:ÿ--*5-*ÿ
                    1**2*ÿ1ÿ85-ÿ_ÿ0+-+65*ÿ*,44+2.ÿ16.ÿ*,/*5.5l.ÿÿ425E1ÿ
                    +862*54ÿ+3ÿ35212*:ÿÿ7+E266ÿ2*2E.ÿ+ÿ5*-3ÿÿ257ÿ+ÿ
                    542**ÿ12*ÿ+6ÿ16Dÿ+001*5+6:ÿ52ÿ1*ÿ1ÿ.36*5Eÿ1*,2ÿ17156*ÿ
                    4+**5/-ÿ56*,2205+6ÿ+2ÿ3+2ÿ,*ÿ/Dÿÿ*1ÿ4+ÿ7,6ÿE2ÿ/-+67.ÿ
                    ,6k,1-535.-Dÿ+ÿ16ÿ56.5E5.,1-dÿÿ
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                    X?M?B<;ÿZUYBWÿUAÿZUMM?PW=PYWÿF123+2.:ÿ+66ÿ5-1*ÿ56.2,*:ÿKj\\H:ÿ^\a^Cÿ
                    0ÿ1+6.ÿ2,/,--ÿFE+-ÿKaH:ÿ12-*ÿ0ÿ+1.-DÿFE+-ÿcaKH:ÿRS?ÿ
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                                         EXHIBIT 2
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               =?5ÿ
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               H5ÿKCLLC-MÿK-LLB.ÿ,B4C4N3ÿOÿP)ÿ)ÿQ)RSÿT"Rÿ)ÿ!"ÿÿ)ÿÿ
               Q)&ÿÿUR")$ÿVÿÿWÿP"ÿÿÿQR)$ÿ"ÿÿX)ÿYZY[ÿ
               +8B8ÿ\1.]6ÿ15ÿ9ÿK5ÿ9ÿ5ÿ7-./183ÿ<=E@3ÿ6<5ÿ
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               +2La-4b3ÿ8B8ÿ\1.]6ÿc-MB;ÿ75ÿ7b143ÿ<=GD@3ÿ<6DGF>?5ÿ
               <D5ÿKCLLC-Mÿ,-42ÿ7.184B3ÿB253ÿd*ÿÿe)#)"ÿ+7-L/CM1.B6ÿ
               3-.bL-42ÿ,C;/1.Cf-Lÿg1fCB/b3ÿ<==>@ÿ+AB.BC4-0/B.ÿd*ÿÿe)#)"@3ÿ
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               <H5ÿIJ3ÿ<6HH5ÿ
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               <G5ÿIJ3ÿ6<?5ÿ
               E?5ÿIJ3ÿ6D>5ÿ
               E<5ÿIJ3ÿ>E6DG5ÿ
               EE5ÿIJ3ÿ<<6E<5ÿ7h/ÿ;BBÿJ$ÿ<<6G?ÿ01.ÿ-ÿf1MiL-C4/ÿ/A-/ÿM-4bÿA-2ÿ0-CLB2ÿ/1ÿ
               f1401.Mÿ/1ÿ/ABÿL-83ÿ/A1hNAÿ/ABÿf1MiL-C4/ÿ-LLBNB;ÿ/A-/ÿ/A-/ÿ/ABÿi.1aLBMÿ
               8-;ÿj81hL2ÿ41/3kÿ41/ÿjf1hL2ÿ41/5kÿ
               E5ÿ8-/A-4CBLÿ75ÿgAh./LB003ÿÿÿÿl*"ÿ)"ÿ!Vm)"#ÿÿÿ
               e))ÿT)#ÿ"ÿ'&ÿn"R)"ÿ+71;/146ÿKCLLC-MÿKAC/B3ÿ<=>@3ÿ<6=D5ÿ94ÿ
               <H>E3ÿ44NL-42ÿ;8C/fAB2ÿ0.1Mÿ/ABÿchLC-4ÿf-LB42-.ÿ+C4ÿ8ACfAÿ/ABÿ4B8ÿ
               bB-.ÿaBNC4;ÿ14ÿ3-.fAÿE>3ÿ/ABÿ2-/Bÿ10ÿ/ABÿ244h4fC-/C14@ÿ/1ÿ/ABÿ
                 .BN1.C-4ÿf-LB42-.ÿ+C4ÿ8ACfAÿ/ABÿ4B8ÿbB-.ÿaBNC4;ÿ14ÿc-4h-.bÿ<@5ÿ1.ÿ
               ;1MBÿ1L2B.ÿ21fhMB4/;ÿ8ACfAÿ8B.BÿihaLC;AB2ÿaB/8BB4ÿc-4h-.bÿ<ÿ-42ÿ
               3-.fAÿE>3ÿAC;/1.C-4;ÿ;hiiLbÿa1/AÿobB-.;oÿ10ÿihaLCf-/C143ÿh42B.ÿ/ABÿ1L2ÿ
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                                             EXHIBIT 2
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                    +6*ÿ-./&ÿ07,*ÿ
                    +5*ÿ-./&ÿ+088*ÿ
                    +*ÿ "ÿ0*ÿ9()&ÿ*&ÿ:;<=>.?ÿABÿCD;ÿE=F=GHÿIG.ÿJFKGLKLM=GÿABÿN;Oÿ
                    PKQ;GRÿS>=TÿUVWXÿC=ÿUVYZÿ[9$#(&ÿ(*0ÿ"&ÿ!##)&ÿ176\&ÿ+6]
                    +5&ÿ85]8&ÿ11&ÿ+^+*ÿ9()&ÿ1++]&ÿ!"$"ÿÿ'%4ÿ(#ÿ%ÿ#!ÿ#(ÿ
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                    +7*ÿ_!!%ÿ!`%&ÿ*&ÿCD;ÿE=TaK<LÿOMLDÿLD;ÿEDK>L;>ÿKG.ÿbKO?ÿ=BÿLD;ÿ
                    E=F=GHÿ=BÿN;OÿJFHT=cLDdÿ[("$(0ÿe'$$(ÿÿ_$($&ÿ175\&ÿ1&ÿ
                    ,,],6&ÿ+76]5*ÿ
                    +8*ÿI<L?ÿKG.ÿbKO?RÿJK??;.ÿfHÿLD;ÿg;G;>KFÿE=c>Lÿ=>ÿI??;TfFHÿ=BÿLD;ÿJ>=QMG<;ÿ=Bÿ
                    N;OhPKTa?DM>;ÿMGÿN;OhiGjFKG.kÿ[115\&ÿ81]8+&ÿ!ÿ!##(ÿl*ÿ !m$(&ÿ
                    *&ÿiK>FHÿIT;>M<KGÿ-Ta>MGL?RÿUVWZhUXnnÿ[_("$&ÿ ""*0ÿ5%!ÿ
                    5$!2'!ÿ(!$)&ÿ185\&ÿ!%m!$ÿ1876*ÿ
                    ^*ÿCD;ÿbKO?ÿKG.ÿI<L?ÿ=BÿLD;ÿg;G;>KFÿI??;TfFHÿ=BÿP;>ÿoKp;?LM;?ÿJ>=QMG<;ÿ=Bÿ
                    N=QKÿEK;?K>;Kÿ=>ÿN;Ohq;>?;Hÿ[_*ÿ#(&ÿ1^8\&ÿ1+]1&ÿ!ÿ!##(ÿl*ÿ
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                    1*ÿbKO?ÿ=BÿLD;ÿg=Q;>GT;GLÿ=BÿN;OhEK?LF;Rÿr;GLÿKG.ÿsc??;tÿua=Gÿv;FKOK>;ÿ
                    [ !m!0ÿ*ÿ8w!&ÿ1,1\&ÿ11]*ÿ_ !ÿ$ÿ$!$ÿm`ÿ!"ÿ)ÿ
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                    J>=QM.;G<;ÿJFKGLKLM=G?RÿMGÿN;OÿiGjFKG.ÿ[(3!&ÿ3*9*0ÿ5*ÿ#(ÿ
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                    ,*ÿ5xÿ*ÿ)&ÿq=c>GKFÿ=BÿLD;ÿg>KG.ÿE=cG<MFÿ=Bÿs=cLDÿEK>=FMGKÿ
                    [('%4!&ÿ**0ÿ9!"$(!ÿ(%%!""!(ÿ(#ÿ('$ÿ(!&ÿ18^\&ÿ101^]
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                    6*ÿbKO?ÿ=BÿN=>LDÿEK>=FMGKzU{U|&ÿ*ÿ+6&ÿ!ÿ0(ÿe*ÿ'"!`&ÿ*&ÿCD;ÿ
                    iK>FM;?LÿJ>MGL;.ÿbKO?ÿ=BÿN=>LDÿEK>=FMGKRÿUVVZhU{|Uÿ[_!%!`$(&ÿe*0ÿ
                      !ÿy}!&ÿ9*&ÿ18\&ÿ+0+8]1*ÿ
                    5*ÿIÿE=FF;<LM=Gÿ=BÿKFFÿLD;ÿJcfFM<ÿI<L?ÿ=BÿI??;TfFHRÿ=BÿLD;ÿJ>=QMG<;ÿ=BÿN=>LDh
                    EK>=FMGK~ÿN=OÿMGÿS=><;ÿKG.ÿu?;///ÿ[44&ÿ4**0ÿ0%"ÿe3!"&ÿ161\&ÿ
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                                            EXHIBIT 2
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                    HKEDUSHGÿp3`_FKÿFSC`EDWÿ`JÿrHUHJSHJ+ÿLK`[DKXÿSCH_ÿS̀ÿlHÿUYWCsqÿ
                    5EU`ÿGDUWYUUHGÿFSÿ0.RT/+ÿR.N-T0tÿ/1.N-ÿ
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                                             EXHIBIT 2
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            EXHIBIT "3"




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           1792 423 .

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                                                 EXHIBIT 3
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                                               A C '1' S         ~.f N   D L A ff/' S.


                                                                 Militia.




                               ACTS AND LAWS,
              Made and paffed by the General Court or Affen.;bly of the State
               of Connecticut, in America, holdc:n at New-Haven, (in faicl
               State)on the fecond Thurfday ofOcl:ober, Anno Dom. 1792.

              An Act for forming and conducl:ing the military force of this ftate, con-
                formable to the acl: of Congrefs, paired the eight day of May, A. D.
                17 92, which is as follows:-" An Acl: more effccl:ually to provide
                for the national defence, by efl:ablifi1ing an uniform militia throughout
                the United States."
               "SF.CTI ON I.   B'EStnt,•s
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                                          of'             Co11.,;r,:fJ ,1f·111blcd, 'fhat each-a ml every free
                                               //,mric,t , i11                                                        J\lilitia l\ow :C
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                ahlc bodictl w i1ite male citizen, of t li c refpeer h e fl ates, rc!idcnt thci·cin, who ~s, enrolled.
                or {h all he of the age of dglttc,111 yea rs, and umlcr the ap;c offorty-!frc years (ex·
              · CCJ?t as i~ herein aftcL" cx~cpte<l} fbaU lievci-a.Hy an.I n:lj,cctiv cly be enroilecl in t he
                uuliti a, hy the captain or commanding officer of the co111panv, within wl10fc bounds
               foch citizen {hall refidc; and that within twehe months a!'icr the pafling; this a&,
                it f11all at all times hereafter be the cluty of every fuch cap1·ain, or commanding
                o!licerofacoupany, to enrol every fuch citizen, asaforcfaid; ancl alfothofe who
                fhnll, from time to time, arril'e at the age of eighteen years, and umlcr the ap;c
                of forty-five years ( exce 1H as before excepted) /hall come to nfirle within his
                bounds; and !l1all withm1t delay, notify each citizen of the faicl enrolment, by a
                proper non-commiffionc,l officer of the company, by whom fuch notice may be
                proved. That every fuch citizen fo enrolled :mcl notified, !hall within !ix months
                thereafter, proYiclc himfelf with a !);Ood mn!ket or firelock, a fuflicient bayonet
                a1:d belt, two fpare flints and knaplnck, a pouch with a box therein to contain How to lir ~rr.1 ~
                twenty-fonr cartridge~, fuitcd to the bore ot his mufkct or fire lock, each cartri<lp;c med anrl ;\c rn·: -
                to contain a proper quantity of powder aad ball ; 01· with a good ri!le, knapfack, trcd.
                !hot-pouch r-nd powclc1·-horn, twenty halls foitccl to the bore of his rifle, an,\ a
                11u,ll'tcr of a ponnd of powdrr; and /11:111 appear fo armed, acrontrecl and pro-
                ,,iJcd, when called out to cxt;rdfc, or into fen ice, except that whrn calic-d u11t
                on ,;ompnny days to cxcrci!'c only, he_may appear withom a knnpfack. That the
                 ~ommilfion oflicers (hall fcverally he nrmCll with a fwonl en· hanger, and c!jion-
                 toon; and that from and after fil'c Years from the pa!ltnCT this acl, all mu!kets fm·
                 arming the mi\itia, ns herein re1111lrcd, !hall be ofborcs"'!i1nicient fur halh of th e·
                 d~htccnth pm·t ofa pound: And every citizen fo enrolled, and providing himfcl!'
                 with the nrms, ammunition aml acco11trcmcnts, re'lnired as aforcfaicl, tl,all hol,l
                 the fame exempt from all fnits, dilh-c!lcs, e~:ecutiom, or falcs for debt, or for the
              . payment of taxes." ·                                                   ·
                    "Si;:c, II. ./1;,rd br it f;1ril-t•1.· ma{hd, That the vicc -prefidcnt of the United States,
                                                                                                                  Ei:cnt~\'C r,ni
                 the oll-iccrs, judicial nral cxccntin~, of the United ~tntcs, the members of both err ·, \\·c, n ·
                 houfes ofCon[!,rcfs, aml the rcfpectil'e of1ircn, all cnf'tom-houfc oflicer~, with their cmrt·-~.
                 clerks, all pofl-o!liccrs, and f'tng;c drivers, wb, arc employed in the care aml con-
                 l'cyancc of the mail of the pof't-oflice of the l'nitcd States, all ferrymen employed
                 nt :my ferry on the po!t-roa(l, nl\ infpector/; of exports, all pilots, all mariners· :,c -
                 tu.:illy cmplo)'Cd in the fc:i fcrrice of any t.:ili,.rn or merchant within the Unitd
                 States, :11Hl all perl'om who arc, 01· may hc1·eaftc r ba exempted by rhc laws of the
                 refpcclive f'tatr s, /liall he, and arc hereby cxcmpte,l from militarv duty, notwith -
                 r.a:-,di:1g; their br. ing above eig,htecn, an,\ 11mlcr the age of fony:fivc years."
                                                              Y~ Y                                   S1;,.c. Ill.




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                                                         0059
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                                                A C T S d N D · L :ti W s.

            424                                                   ·1··
                                                                 M1.1tia.
            --------------------------------------
                              "HEc, Ill. ,111,/ be it fi,rlhv,· eua{/JJ, Thut within 011c ycni· ufte\' tlir. pulling; tlti,1
            Militia how lo a,;t, tlw mllitia of the 'l'cli1cclivc Hates !hull be n1:ranµ,;cd into clivillons, bl'itq1dc.~,
            be arrange,!,  rct~imcnts and comp1111les, as the k1_~i!l11turc of each tlat:c llmll tlircd; nnc, each
                                    divilion, briirndc, and 1·cgiu1cnt, !hail be m1111bcrccl at the fcmnation thtrcof1 a11cl
                                    n record ma<le of foch 11umbcrs in the udjutunt general 'H olllce ln the Hate ; aml
                                    when in the field, 01• in fc1•vice of the 11:acc, cuch c1ivifion1 brignilc all(\ reJJi-
                                   mcut, !hull rcr11ccl:ivcly take rank acco1·di11~ to their 11u111ber~, reckoning the li~.l~
                                    01• low ell numhct· highclt i11 rank,       That it the fame be convenient, each lil'ir,;adc
                                    fhall conli!l: of fom• l'cgimcnts, each 1'cghnent of two bitttallon,,, each bat tu lio:n of
                                   five cumpanic.i, each compllny of lixty-fom· l>l'ivntc~. '!'hat the l'ai(1 militia llrnll
                                    lw ofliccnid by the rc!jiedivc flatus, as follows, To each ,livifi9n one majur-_irc-
              by who111 ante- ncrnl, :md two uitls-dc-camp, with. the rank of 111ujor; to each bl'io,nclc, c:uc
             <Jed,                  hrigacli<:l'•gcncrnl, with one brigude infpecl:or, to fcrvc alfo us hdg:1dc,nrnjor,
                                   with the 1•ank of a ma\or; to cttch regiment one licutcnnut-coloncl-t~u1nm111Hln11t;
                                    and lo each batrnlion' one major ; to each company one ca11tilin, unc lieuten-
                                    ant, one cn!ign, fom· fcrgcants, four corpornb, one c\rmn1ne1·, oJW lifer or buglc1•,
                                    That there !hall be a regimental !luff, to confi!l: of one acljurnut, one qtltn;'ter•
                                   111a(lc1· to rank us lieutenant, one pay-ma!l:e1·, one forgeo11 and forg~o11's-111atc,
                                   one t'crgennt-major, one d1·um-11rnjor, anc1 one fifc-m11jor."
                                        "SEc, IV, .d,Jd h~ it fi1rlh~1· C//11ffrd, Thut uut of th<.: militb1 cnl'ollcd ns is hc1·c.
             Jl:,Lh h;tt,11ion in dircclccl, there lhall he formeu for e11ch lrn.ttalion, at lc:1!1: onl! company of
             to Im·• 1 com• g1·cna,licrs, Iight-iufantry, or riHcmcn ; nncl thnt to cuch divi!ion, I here llrnll bu
             prny of grenn,. at !call one company ofortlllcry, uncl one troop of lmrfe, There lliall he to end1
             dlrrs, f"c, nuJ l
            co1np;111y of :tr .. Cllllljlnny of artillery, one cnpt11in, two lieutenants, four fnge11n1s,. fo11r corpo~
            1ilkr1,               rul~, !ix t~imncrs, !ix bomlrndiers, one drnmmer, and one lifer; the oflk<'rs to bo
                                  n1•mec\ wrth a \\voru or hnngc1•, fofcc, bayonet ancl belt, with a curtl'idirc hox,
            Ollicm how to to contain twelve cu1·trid~cs, 111\ll each rrivatc 01' mall'ols, llmll foruHh l1imfclf
            ho armed,             with all equipments ofo private in tho infantry I unti I proper ordnance nncl tlclcl ni·t il-
                                  l cry is 111·oviclctl. There !lrnll be tll each tt·oop ofhot•fc, one cuptn in, two licutcua nts,
            Tionp, or horre one cornet, fo1w fcr~cants, four corpomls, one facltUer, one f1ll'ricr, am\ one. 1n1m•
            how omccrc<I,          peter. The commilhonccl ofliccrs to fttmHh thcm\'elvcs with o;ood horlr·, of at lc:ilt
            {((,
                                  founccn ha11eh anll a half high, an<l to he urmccl with a fwu'i•,l nml p1ir ofliiltols,
                                  the homers of which to be cove1'cll with bcnrlkiu cap~ ·1 each <h-a~o-.11 to· 'urnilll
                                  himlblf with u ferviccahlc horfc1 nt lca!l: fo111'tecn hancls aml u hulf hig,li, a goocl
                                   l'udclle, bridle, mail pillion uud valcifc, holltcrs, nncl ll b1·ennplr1te and rrnppc1·, n,
                                   pair of boots ancl f\llll'S, a pair ofpiltoh, a fabre, ancl a ca1·tr1clge box to rnntahi
                                   12 cnt·ti•idgcR for piltols, That each tompany of artillery and troop of horfc,flrn ll
            Artillery and         he formed of volunteers from the brigade, ut the dilcrct1011 of the commander in
            horfo of whotn
            to ho formed ; chief of the !late, not cxceccling ol\e company of each to a regiment, 1101• mot·~ in
           to he uniformly number than one eleventh part of the infantry ; uncl flmll he 1mifonnly clothccl hi
           clad nt their          regimentals, to he ft1\'11i{hecl at theil' own cxpcnce, the colour nncl fo{l1ion to be
           own expence,           clclcrminetl by the bl'iguclicr commumling the brigade to which they belong," ·
            What colour,
                                       11 Sr.c. V.   ,411d b~ it furlh~r w11l1Jd1 That each battalion an,\ regiment, flrnll
            &c, ~nd by            be    provitled with a State ancl regimental colours by the fic\c\ o!Hcers ; and eacli
           whom to be             company with. a. cl1•mn and fife, or bugle horn,· by the commiffioned officers of the
            furnlO,cd,            company, in li.t~h man,1ci.• as the lcgillatm-e of the 11:ute !11ull c\irea."
                                       "SEC, VI, And bt it fi1rth11· ,·11a,frd1 Thut tl\Cl'e !hall be an nd'jntant-gencrnl
                                   uppolntcd in each flat~, 'whole duty it fl1alJ be to di!l:l'ihute llll Ol'C Cl'S from the
                                  commander in Chief' of the State, to the fcvcrul corps; to attend nil J\llblic re•
                                  views when the com1111mclcr in chief of the fiute llrnll t·eview the milirrn, or any
            Adjutant-genc- part thc1·eof; to obcx ult orders from him 1·clativc to cun'ying into exccmion,
           ul in each !late, a11d'l1crfocdng the lyncm ofmilitnry t\ili:ip\ine cnablifl1ecl hy this All:; to forni!h
           his duly,
                                  hlnn, fol'ms o·f different retul'l\s tlmt mav be required, unu to explain the princi-
                                  ples 011 Which they flmJ \ be 111a1\e; to l'eceive from the fcver11\ officers Of the c\if'.
                                  forcnt corps thl'Ou ~hont the llntc, rclnms of the militia under their con1111ancl, rc'-
                                  1/· icdin~ the ucl:uul litm1tion ofthelr unnR, nccoutremcnts, atHl ummnnition, thclt•
                                  < cli11qt1cndcs, um! every other thing whi~h 1·clateR to the gcncrul ndvancemcnt of
                                  g,)l),l m·dcl' nnd (\ii'ciplinc : All whid1 the lcvel'ul ollicers of the clivifion, of the
                                  brigades, 1·(~~ime11ts, 11ml hattnliotis, a1·e hereby l'Ctlnircd to make in the u!hul
                                  1111mncr, fo tl111t the !hie\ adjutunt-gencral may be ,111 y_ fumHhcd thel'ewith; from
                                  all which 1·ci.111·11~ he fl1all mukc proper 1tb{lrncts1 and lay the fame unnuully befol'!}
                                  the commamlcr iu chief of the 11:ate,"                                 ·                      ·
           Jtules of dl(cl.            " SEC, Vll, .tl11d be it fm•tber Cl/{l[ted, That the 1·ules of <lil'ciplinc npprove<l and
           1•llne, .. ·          cfl-nbli!he<l by Co111~refa iii their 1·el'ol11tlons of the 29th ol Murch I 779, lhnll be the
                                 1·11lcs of clil'cipllne, to be obfervctl bv the militia, throughout the United Stn.tcs,.
                                 except !heh dev,iatious from the lhicl'rules. a• 111aybe1·eclerec\ nece!li11·y hy the requi-
                                 litions of this acl:, or by fame othel' 1111nvo! . :,le circnmflunces, It !ltull be the ,cluty
                                 of the Commnnding Officer, at cw cry mu!l:er, whether by hnttalion, rcp;hi1ent, ·o.r
                                 Jingle C011lpa11Y,, to CUllfc the tllititia to be CXe1'cifocl l\11(\ tl'Uincd, ugl'CC1lb1y
                                 faiil rules ofcltfciplinc."
                                                                                                                            to     the
                                                                                     ·                           ·        ·
           Ollie h tO "Sr.c, Vil(, And be ii fi1rll1e1• ~11t1!tcd, That ull the com111iffionc<l officern flrnll
           t~ke ~~~k~IY          tnlte 1·nnk.uccordi11g to the da tc of their commiffiotts ; uncl when l wo of the l'amu
                                                                                                   · .                      g1·11cle


                                                           EXHIBIT 3
                                                             0060
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                                             ·,d .C 'I' S .-1 N JJ           L .d TV 'S;
                                       ------·---------
                                             Militia.
                                                       -------                                                          :.1   2 _,fT
                                                                                                                        "1"



             grade bear on ccpt:i.1 tlate, then their 1•:mk to ho <lctol'mlnc<l by lot, to l;c <ll'awn hy
             ti1e111 1 l\t'forc the comman<liug; oflicer of the brigade, regiment, battalion, cmnptt·
             ny, or d<1tacl11netH." '                                              '
                 '' S.1,c. IX. ,1,ul b~ ii JNrih~r e11rrcl~d, That if any pcrron 1 whether offic·ci· 01·
             fol<lier, bclongino· to the mil\tin ofnny {lntc, nnd culled ont into !'crvicc oft he U- l',·u1ifion iimfe
             nitcd fittttcs, be ,voimtletl1 or clifablr.tl wltilc in actual l'cl'vice, he ihnll be u1ken of 11 uund,, ,\:,·.
             care of and prov it.led ft11· nt the ])t1hlic exve11":."          .
                                                                            !10           0€
                 "Sllc. X. .1/111I bJ i1Ji1~iher c1111{{cd, 'fhac, it lltnll the duty ~l,;i brigade-                       _
             lnfpcctor, to utrcnd the rrgm1cntul und hnttt1ho11 meet mg of the 1111ht1t1, cum po- n,1:•,<ie infl'c• •
             li11o·the fevcral hrip·ndcs during the time of thch· heing umlcl' nnns, to inljiecl t..,,.,, ,t·Jty.
             th~1- nrms, 11mn111n"i'tio11, nncl accoutl'cmcnts; Htpcdntencl thcii• cxcrcil'c :111tl man-
             ouvrcs, ancl i11tro<l11cc the l)•flem of military dil'ciplinc before dc!cl'ibcd, tltrnugli.-
             ottt the b1·igu<le, agl'ccnblc to lnw; un<l lhch onlcrfi as they l1tall from ti!nc to time
             receive from the conmlamlcr in chief of the (late i to make t·cturn~ 10 the ndj11ta11t-
             gc11ernl of the lbrc, ut lea!l once in cycry yc;1r 1 oftltc militia of tho brigndc to
             which he belonr·s 1 1•eponing tl1crein the acl:unl lit11ation of the t1rms, nl'coutrc-
             rnents, and mnni~1nltion, of the Cevera! corps ; am\ in every other thing which In
             his j1.tdg111<!Ut 1·clntcs to their government, uni! the grn,·rnl utlvanccmci1t of good
             or<lc1· nncl military clil'cipliuc, J\nd the adjntant,-1,!;cncrnl !hull make a return of
             all the milith in the !late, to tlw comma11<le1· in clucf of the foicl !late, and tt dupli·
              cate of the fame to the l'reftdcut of the United Stntcs,"
                 "Ancl whe1·cM funilry col'ps of nnillcry, ca·, .. lry, :mcl i11fttnt1·v, now cxi{l in fo. Art'tllcry t·<
              vcrnl of the fuid (b1.tcs, whid1 by the lawn, cu!lonrn and ·ul'ugc~ 'thereof, ha Ye not now cKIAil;g'
              been i11corporatetl with, or ihb.)cct to the gcncrnl regulntioi,s of the militia ;"                    .. ·
                 "S1ic. XJ. Be it fi,rth,·r <'J/(/r/M, 'l'hat fuch cor 1s retain thcit• ucctt!lomc,l T            ,·~· 1 th,,

             ncr with the 0Lhel'l11ilitin."                                                                 1   i,ilc
             111+1ilcges, fubjc~t ncvt'rthc)cfs to nil othc1· duties rc,1u ired. hy this aft, in lillc man· ,1 '.c'.', ...
                                                                                                                   Q
                                  JONATH;\N TRUMBULL, ~~Mk,•1· ~f.th~ Jfo1!f~ ~/ Rej,1·rji!11l,1tlvci,
                                        lUCHAllD HENRY LEE, Jlnjld,•:1/ prn t11m/1cr~ of th,• Smat1,
                AHROVllD M.H' TUil lllClll'H, r79~.
                                          GEORGE WASIUNGTON, I'rejido1t of tl'J U:1it<'fl S1111,•1.
             in purfuance of which Act, and to carry the. fame into execution agree-
                                        ably to the requirements thereof,
                E it e,;af1et! bi• 1h1• Gnv1•rno1·, Co111~cil, rr11d J/01!{~ of N1.'j•1·1fi'11trr:iv,·s, in Gmer,1/
             B   Court 11JJ~11th~d, Thnt the govcl'nor of thiq fiate, fol' the time bdng, !hull lie Capt,, Ocnc:,l
             cnptnin-gc11erul and. conunandcr in chief, of nll the milital"y force in this fhtte ; ancl l,teut, Gen,
             mu! that the liautcnnnt 1Yoven1ot· l1utll be lhmtctrnnt-gcnt•t·:d oft he fomc.
                 An<l that all citizens i~, this flute, rc1111irctl by !'aid ad ofCongrcfa, except 1111.'lll-
             bera of the cmmcil, of the houfe of reprcfentativcs, for the time being; the lbtc
             trc.1fu1·cr, und Cccrctary ; ju{Hccs of the peace; Held, com111illioucd, a'iul Un!F ofli-
             CCl'S1 holl\ll'n!>ly diCchargcd I miniH~rs of tl}c go'r~·I I, the pr~lidcut, prol'cflii1·s, ~.~%~~
             and tutor~ of college, unil llu<lcnta, till the tune of tnk111g thcH· fee om\ degrees; ry dutv,
                                                                                                                          :~;!;;::
             1>hvlichrns and lhrgcoM ; fclccJ:.-men; conll:ant l'chool nm!tcrs ; one 111illc1• to cnch              ·
             g1·;~-:nill, being approved by t~1c fclcct--mcn, and. ha~h!g n cc1·t~licate til,t·eof; Jhe..
             i-i1fs and con(hiblcs; con!l:nnt lcnymcn; non-comm1{ltoncd olhccrs, wlio hu\'c re-
             moved ont of the limits of their commnnd aml arc not rc-nppointcd1 or luch a.~
             h:ive been honorably dili:lmrgccl ; nnd !heh non-co111111iflionc<l olliccrs 11nd l'oldicrs,
             a, hli[l:cil during the war, in the l:1te war, uncl wcl'c hono1·ublv 1lil'chnrgcd ; :nul
             nil foch as nrc exempt by fpecial ntl: a: l'efolrc of this aHL·mhlv "; lhall b<J cnrollcil
             in com panic~ nq thc1•ci11 dire8:cd 1 and formccl into 1·cgimc11tii,· brigadcH 1 und dil·i-
             lion~. in the following manner, viz.
                 Thofo in tl>e town of Hn1·tfonl 1 (the goycrnor's company of horfc unanls, nml
             company of cndcts <'xcepted, which flrnTI he under the immctliurc com1:im,d ol' t'lw 1 :l, Rceimeni,
             ctt~tain•gcncrul) thol'e In the town ofWind!'or (eltclufivc ofwhnt lies in the fodcty
             of l'm·kcy-Hills, in fold Wimllor 1) and thofc in thut purt of Farmin~ton lyinrr in
                                                                                                     0
             the focic~y ofWintonhm·y, !hall con!Htutc the fir!I: l'cgimcnt,
                 Thofc in the town of New-Haven, EaPt~Ha\'cn, North-Haven, nn<l Hamden, (ex- zJ, Rrgimcn:.
             ccpt the govei-nor's ,1.1;un1·cl i11 New-Haven, who arc ui1Cler the inuncdhitr.: comm:1111!
             of the captnin-gcncral) foal\ conll:itutc the fccond regiment.
                 Thofe
                  •
                        in the towns of New-London and l\lontvillc, l11all con{Htute the thir,1
             rcguneut.                                                                                        3d, Rccimcnt,
               'l'hofe
                 ,     in the tow1n of Fnil'ficl<l, Wc!l:011, and Rcn<lin,l',
                                                                         CJ {hull conUirute the fo11r1h 4t II ,_,gomcr.t,
                                                                                                              n   •
             rcgnnent,                                             .            ·   ·
               Tharc in the town~ of WiiHllmm, ,Hampton, (ci:ccptin_g; the fot·mcr hounds of sth Regimen:.
             Cttnterbtll'v) Mmislicld aml Alhfol'll, !hall con!litutc the lif th Regiment,            .
               'fliofe iii the towns of\Vethcrsficld and Gla(lcnbury, uncl that part ofllerliu fo1•- G:h Regirr.cn!,
             mcrlv Wethcraficl<l, {hall conllitnte the !lxth Regiment,
                Tiiofe i~ ~he town~ of Snybrook1 Killingworth, nnll l-Indclmn, !hall conUitntc the 7th R~~itncr.t',
             fcvcnth regmwnt •.
               Thn(c,in the tpwin ofGl'oton :t1lll Picflon, (except thofc in that vart of P1·c!lo11 S1h Reu,n1ea:,
             that wa~ forml·rl? p,1l't of ;';Ol'wich) lhall conf\itutc the eighth 1·cgimcnt.
                                                                                                   Tho!'r:


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                                                        0061
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                                            A C :t S A N iJ -L A W S.
            ·~--------------------------·- -------                                         ...

                                                            !\1ilitia.

             9th Regiment,         Thr,Cc in the towns of Greenwich and Sta)nford, (except thofci in the !'ol'irl'k,;
                               in Canaan, :ind Midcllcfex in 8t:.u11forcl) !hall conflltutc th~ ninth 1·c11·imc111,
              10th Regiment,       l"hofc in the towna of Wallingfonl, Chtli1il·e, aml Dt1rham, Ihalr\our1:ittltc t.1:c
                                tenth rcp;imcnt,
              11th R,giment,        Tho!'i/in the town~ of Pomfret, Woodflock, Kiliingly, Tho11111fon, nn<l Brook-
                               lin,_ (excepting; the fouth company amt 11rtillcry men) ihiill conllitutc the eleventh
                               rcgnncnt.
              Hth R•glrnent,       'J'ho!'c in the towns of Lebanon, Hchron, ancl the company in the focicty of
                                J\ladbcn·o111rh in Colchcllcr, nm\ thorc in the lociety of 1\ndovc1·, in Coventry, lhall
                                co11flitute tEo twelfth l'cgimcut.
              13 ,h ilcgimcnt.      Thofc iu the towns of Woodbury, Southbury, nncl Bethlehem, (except tlmt p:i.rt
                                CJf Sonthbury incluclccl in Oxford co1111mny) lhall con!l:ltntc the thil'tt·cnth regi-
                                ment,
              14,h Regiment,       Thol'c in the town$ of Sa1ilbu1•y, Canaan, and Nol'folk, .!hall courlitute the four-
                                 teenth regiment,                                                            ·         '
             1 th
                                 , Tho!c it1 the towns ofFn1·mington, BcrHn, IM!lol, ancl Scmthinrrto11 (except the
                5 Regimen~. formc1• hotlnch of ,V-cthcl'sficlcl uncl Miclcllctowu, in Berlin) foal! con!Htute the
                               lirtL·cnth regiment,
             1,th Rrgimcnt, . Thofc lu ~he towns of Danhnry, Bl'ookficld, Newtown, Ncw-I-'airficlcl/ (cxcci>t
                               thnt pn1·t which 110w fol'ms the no1·th company) amt Ridgefield, (except t 1at pnrr.
                               which now fonns the fouth company) !hall conllitutc the: lixtccnth rcgimem.
            -, 71h Rrciment,       Thofc in the towns of Litch!icld, 1-lnl"\vinton, nnd Tol'l'ington, fl1all con!l:itute
                               thp fcvcntecnth llep;imcnt,                        .     .
             ,ith Regiment,        Thofc in the towns of Spnn,m·y nncl Granby, :mcl thnt l"ll't of the town ofWincl-
                               for lying in the foc:iety of Turkey-Hills, nml pn1 t of Sullid,l lying Well of the
                                mm111lnln, llrnll con[Ht11te the eighteenth regiment.
              19th llcsiment,      Thofc in the towns ofEafl-l-ln1·tforcl, Bolton, Enfl-,Vinclfor, nud thnt part of
                               1-:Jlington lying Weft ofn line 1·111ming north from the North-wc!l cornet· of'Tol-
                                lancl t·o Somc1·s~ fhnll con{Htutc the ninetceuth regiment..
             :!Otli Rc8h 1ent.     Th ore in the towns of Norwich, Bozrah, Frnnklin, Lifiion, m11l that Jlart of Pre!'-
                               ton that wnq formel'ly pal't of Norwich, nncl that part of Cant1:rbul'y in Hanover
                               focicty, !hall conllitute the twentieth rcglmcut, .
            :!.Ill Rcilhnin:,      Tholb in the towM of l'lainficltl, Cani:crbu1·y, Volnntown, ancl South Company,
                               with the artillery men in Brooklyn, mid that 1im't of Hnmptoi1 fo1·inerly in Cantc1'-
                               hurv, :rncl tho fouth company in l<illiugly, (except that 1rni-t ofCantcrbnt·y In Han•·•
                               ovci· focicty) !hall cnnO:itutc the twenty-firtl regiment,
                                   Thofc in the to,vns of'Tollaml, ~;tafford, Willington, Union, nucl pnrt ofElling-
            :uJ, Regiment, ton lying cn{l ofa line run11i11g north from tho 1101·th~wctl: cornci- of To\lnnd to
                               Son!cl's, and Co1•cntry (except Andover i'ociety) !hall coalHtntc the twcuty-faconcl
                               regunont.
            :iJd, Regiment,        Thofc in the towns of Midcllctown and Chatham, :\llcl part of Berlin, formcl'ly
                                Middletown, flrnll conr1:ltutc the twcnty~third Regiment.                     ·
            :: 4th Regiment,       Thofe in the tow11s of Colchc!l:cr nncl EnO:-lfatlcla1i1, (except the focicty of Mal'l-
                                ho1..ough ill Colchcfler) !hall conr1:itutc the twenty-fourth rcglmc11t,
                                    Thofo in the tow11s of Ncw"I-Iat·tforcl, I-I,u·tlnncl, Wincl1eflcr, Ilnrkhcmpflend
                 th
             :15 Regiment •. nnd Colclwook, (hall con!l:it\\tc tho twcnty~!ifth Regiment,
             :Gth Regiment,          Thofe in the towns ofWatcrtown :me\ Wntel'hury (except that pnrt of ,vatc1·M
                               bury incluclccl in Oxforcl company) lhull con{Htllte the twcntv-fixth regiment,
                                   T_holc in the towm of Guillorcl ancl Ilrunford, flrnll con!l:itu'te the twcnty-fovcnth
             1,7th Regiment, reguncnt,
             iSth Regiment,         'J'hofo in the towns of Stratford ancl Huntington, fllllll contlitutc the twenty-
                                eighth l'egimcnt,
             isth Regiment,         '1" 11d'c hi the towns of ,vnl11inp;to11, Ncw-Milforcl, ,van-en, Kent, urnl Ncw-
                               r\ili-/id J north fociet:y, !hall confhtnte the twenty-ninth rc~hncnt,
              ~oth ReglmMt,        Thofc in the town ufStouinp;ton flmll con!Htutc the thirtieth l'egimcnt.
              3111 ll•Biment,      Thol"c in the towm ofSn1licltl, J111liclcl a11cl Somers, (except that part <if Suffield
                                lving wdt of the tnountnin) llinll con{Ht\lte the thh·t)'-lh-11: regiment,
              3iJ Regiment, • Thnl"c 'in the townq of Milforcl, Del'by ancl '\Vooclbriclgc, nna that 11nrt of Soutb-
                                hury atlcl Waterbury, in Oxforcl company, .!hall con!l:itutc the thh-ty-reconcl regi-
                                ment.
              33d Regiment,        Thofc in the town of Lyme, flrnll conrlitnte the thirty-tl1ircl 1·cgiment,
                                    Thofo it1 the towns ofNoi·wnlk, and that pnrt, ofltiilgclielcl that 110w inclnclcs
              34th Rcuhnent, the l"outh company, ancl thole in the foricties ofCumum, and Mitldlefcx, in Stum-
                                foi·cl, !hall con!Htute the thirly-foin-th rev;imcut.                                    .
                 th                 'rhofc in the towns of Shm•on1 Comwall, Gofl1en, ancl part of Litcl1field, and
              35 Regiment, Kent, now forming n company with GoR1cu nncl Cormvall, .!hall connitutc the
                                 thh·ty-fifth t•egiment,
             Whc1·e compa•        A11cl when by the clil'illon of companies into rcgimcnt5, which lrnth or .!hall be
             11ic1 are divided, mnclc, it llmlt lo hnppe11 that a company niambc divided, nl\ll part put l,nro one re-
                             p;iment :uul p:wt into anothcl' ; in fllch cnl'c the mino1• 1mrt of fuch cotnpnni, fltall
                             belong to l'hu regiment, to which the mnjot• part belongs : Any dlfcript1ons or
                             clil'ifi.011 hcn·iu before contained notwithfinndiug.
                                                                                                            That


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                                                 /1 C '1' S d N D L .d /J"' S.
            --------------..,...------------------------~
                               Militia.

                 That the tirll:, c:i!!l1tcentl1, niu~·tecnth, twcnty-fornnd, :md tlihity•llrll 1•cghncnts, li11rnd, ~fthe
            i!t!lll confl:it11te the tirll bdg;aclc,                                                               . 111 bdgadc,
                 That the (bco11d, fbvcmh; tenth, twc 11ty-fovcnth, und thb-ty-fecond rco:imcnts, 1J, btll)~dc.
            llrnll con!l:itutc the focond brigade,                                                           .,
                 That the thil'd, ciu;hth1 twentieth, thirtieth, nml thil'ty-third ruglmcnts, ilrnll 3d, brigade,
            confHtutc the thin! brigat1c,
                 Tll:1t the fourth, ninth, twenty-eighth, :md thirty-fom·th rcgimc·nts, i11ull con- 4.th brit,a,k,
            llitntc the fourth hl'igodc,
                 '!'hut the fit'th, elcvemh, twclvetb, nml twenty-fir{\ 1·cgiments1 fhnll conllltute the s•.h brlga,I~.
            fifth hl'igndc,
                 Tltat the fo11r,tcenth, fcvcntccntb, twenty-fifth, and thirty-fifth regimrnts, fhall Gth brig,d~.
            con(htnte the fixth brlgn1lc.
                 That the Hxth, lil'tecnth, twcnty•thirtl nnd twenty-fourth rcgiments 1 fhull con- 7th b1·lc1de,
            fiitllto the tbv,•nth bl'igadc,                           •
             · 'fhnt the thirteenth, liKtceuth1 twcnty•lixth nml twenty-ninth rrgimcnts, fimll Sth brlgak,
            con(litute the eighth bl'igade.
                 'fhnt the fil'(l: dlvifion fhall bl! compofcd of the fir(l; nnd fe1•c11th brigade.9,                   1ft divlfion,
                 Thnt the feco111l dlvifion fi111ll be compolb1l of the lcco11<l nnd fo111·th brigades, ,.J, Jlvili<in.
                 That the thir,l divifion il1all be compofed of the thh•1l am\ fifth bl'ignd1is.                        3d. dlvlfi 111,
                 That the fom·th divifion lhall be compofed of the fix.th uud cip.;hth brigad(rn,                       4th divllior..
                 And that all companies of artillery, g1·11t111clicrs, and light mfantl'y, thnt now
            or lhnll hereafter be rnifcd1 nnd tl'oops ofhorfo he1•eaftcr to be 1•aifed, l11all be ut~ t,rtlll ?ifi"a·
            tached and nnncxed to the regiments, brigades aml divilions, from whkh they f~~i' 1                                ii:1 1• n· f
            were rnifcd, And that the effnblithmeut of the companies of light dl'agoons 1 l1rnll 1w/.Y10                           b~o~:.
            he forty-, cxclufivc of commillion ofiiccrs ; nnd thut no ollicer of"foch company Chall nmd to the re,
            recl'llit his compnnv of dragoons from nny companr of artillery, or troop ofl-Torfc rlm,1111, &<,
            -nor from anx company of iufontry, \11llcf.~ tbe fame confi!l: of more thun lli.ty• fromw~l.rh th~y
            four rank nncl hie; bub may cnlifl nny exempts from mllitnry ,luty.                                         w~re railed,
                 And b~ isfitrlhe,· malled, That each company of a1•tlllcry lhnll confifl of thirty ComrAny of~r-
            matroUcs1 exclufive of commiffioncd 11ml non commllfioncd olliccrs; that each 1ille1y to confltl
            troop of horl'e il1111l confiR: of forty cxclu11ve of commiffion oflicc1·s ; thnt cnch bnl'- 11f30 m.11rotlcq
            -rel of the fire lock, of the infantry 1111111 be at !call: three feet and a half long, and and troop uf
            fomiflied with a priming wire und brulh ; and cuch fcrgcant 11ml corpornl of the hoife of 4°•
            infnnny, fl11tll fnmifl1 himfelfwith a fcrew driver 1111d wo1·111 1 more than is requir- How furnllhed,
            cd by laid aa: ; aml the fob1·es of the borfe111en firnll be fou1· feet long•
                 .A11d b, It further e1uiflrtl1 That the ge1m·al, and field onicerR, llmll be appointed Officers by
            liy the legillntnrc, nnd commilliomid liy the Govemor-That the .:aptains and fob. whom                              appolnte.l
             ultc1·m, {hall be nominnted by their fcve:-ral companies, tho commnndlng· ofiice1· &: commlffi~n'd,
             fitft giving three dnys notice to tl1e individuals of their companies, that they are a-
             bout to lead them to the choice offuch commiffioned o/licel'S; nnd ifnpp1·oved of
             bv tbe lcgillature, fi1nll be commiffionecl ht like 111anne1• :-That the non- com-
            niiffioncd olllccrs fi111ll be nominated by their feveral companies, and fi1all have a
             wnrrnut from tl1c comm:mcling officer of the regiment; which commanding oflice1·
             of the 1·eglmcnt, has power to reduce -~o the ranks ~ny 11011-commlffioncd officer,
            1111011 complaint made, and clue :iotice ziveu, ifhe finds him guilty of mlfcondu8:, Commlffions,
             or neglect of duty :-That nil commill1ons g1.-anted by the governor, or appoint- & ap1iuintmr ,t1
            ments made hr, the lcgillatnrc, of officers at one fcffic111 of the lcgillnturc, bcnr dntc huw rr,ulateJ,
             the fame dny, (except where two mn,iors are nppoint<!d to one regiment) in wlrich
             cnfc the dates of their commilfions {hall be according to the prlol'ity                    or  thch• ap..
             1;oi11tmcnts•
                  .Ami 6J it f11rth1r c11c1lfol, That the c:q,tnin..genct'ol oftl1cflatc, n1nll a1111oint tire
             mljutant•gcnernl oftbc {\ate, who fl1all hn,•e the 1·11nk of brigndier-gct1crnl, nnd Capt, Oen:ul
             be commil1ioned ncc.:irclingly- :-That the captni11,grnc1•nl lhnll appoint fo1· hlm- t,mt-gcn,&:           to appoint adju.
                                                                                                                                      aids.
             folftwo nids-de-cnmp, who firnll hnve the rnnk of lleute11n11t~colo11cls I the lleu-
             tcnnnt-gc11er11l fimll nppoi11t for himfclf two nids-dc-cnmp, who fl1all hnvc the Lieut, gen, nn,l
             rank of major; each nmio1·,gene1·al fimll appoint his two aids-dc-cnmp; each maj, gcner~I, to
             hl'igadlcr-r,cnernl firnll appoint his brigntle-infpe~CJ:or, n11d to fcn•e ns brig,ulc-mn.. uprnint their
            jor; nil wl1iclt appointments, from time to time, ns mny be necelHu·y ot nicfo-dc.. a,d,,
             l'l\lll}l1 antl briga<le-majol'R nm\ infi1ecJ:or& 1 fhaJl be r11bhfi1ccl in gct1cr11\ Ol'dcl'S :-
            'rJmt each •commnndini~ ofllcc1· of n rcgi111c11t, flrnl appoint his rcghncntnl llntF, ~t!)mental
             nml n chnplnin, whofo aP110intmc11t fl1all be publi1hcd in bl'ignde ordel't I nml 11011- a •
             commiffion lln!t~ wltofc nppolntmcnts flmll bi: made in regimental orders,
                  A111/w!,crcnr,,linn~ l'egll11~1!ts 110w conjlitutcd, hav~ 111ord ,·Q111J11111ies tlum th~ for111alion
             dh·tll.-d hJ• th6 n'{I of_ Con;r.-Js :
                  BJ ii {iwthsr c11alld, Tbnt the commnn<ling officer of each 1•cglmcnt, conrlitutecl Officer; com
             by tl1is nc1:, fi1::ll form the companies in their ·regiments ns ncnr n~ mny be to nu ace mandlng r•;i·
             of congrcf.;, for numhc1•s of men nncl companies ; and tlmt where the field olliccrs of' menu to form
             any r<'gimcnt funll judge bell, they 11111,• take a t·ompnny already fortnctl to fct·\·e tl,e companlu
             a~ n light infantry    or    grcna,\ier rompniiv, t'o each battnlion of theh· 1·cgimcnt 1 01• 3 grmbly :, 0 ntl
             cnlifl fitch cotnpanle$ from Clllmtpt8, 01' ot}1crs, not reducing 11\l)' company, by filch ofCongrc h
             enliilmcnt, untler the m11nbrr of fixtv•fom•,
                   And 61 Jt jiir1ha1· c11alfrd, That each 11011,commiffioncd officer, ho1•fcmn11, mnu·of.q, Non c,:mmlffion
              ancl prll'nte of the fovt?ra\ <'ompa~1ics ofhol'fe1 nrtillcry1 nml infanti·y of the 1!1ili- Qll\ms & 1•ri-
                                                       z.,. :~                                                   tm


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                                                           MilitiiJ.,
         vates to furn11h tia of this fiate, lb.all fnrnilh. himfelf lVith the arms, amm~mition and accoutre-
         themfelvc, ,·,ilh ments, l'C'J.llil'cd Ly d,,. acl: of congrefs, and by this a&,.upon tl.1.e penal!'.y of forfeit-
         arm,j &cf on      ing and paying a .inc of Jwdru Jl,i11i11g1 lawful money, and the like penalty for eyerv
         V• n• ty O us, four ,veeks he .(hall be unprovided ; to be levied and colletl:ed by warrant of' dif-
                               tl'els, as hereafter directed; and that a ho1·.lcma11, or dragoon, who fliall not furn•
                                                             a
                               illi and provide himfclf with horfc and f~1rnitn!e, as required           hr    1;he f~i~ acl:;
                    .          lball be returned to, enrolled, and do duty 111 the mfantry company 1n the hm1~s of
                               \vhich he reficles :-That the field ana commiffioned officers ih each re_giment,
         Officers to be 0 • fi1all be uniformly cloathed in 1·cgimcntals, at their own e~pl111ce, anj:r to be
         nifurmly clothed agree,\ upon by fuch o1Hcers ; that the field officers of each 1·egune11t iliall fornillj
         in regimentals, {fate and regimental colonrs for their regiment and battalions, at tl1e !late e:x:-
         Fiel~ officer, ro pen;c, not exceeding the fum of four pounds ten fhillings lawful money, to each
         furmlh colours. regunent.                                             .
                                    All(/ /,e it f,,rt!nr e,1.1(/etf, That cvcr1 commanding officer of a company of mm~
         Companie, to Le tia, fuall order out hi.~ compan or troop, tb,rc;e aays in each year, and Jnllrucc
                                                                         1
         :·~·Ja:~ tn
         out?recdar;

          n'
                               tbem in the ufc of arms and difcJpline ofwnr l and tlie days appointed, fltall be iu
                         /lee• the month of March, April, May, September, O&ober or Novcmbe.r, and that on
                      ' • the firfi Monday of May and October annually, fuch commanding officer fltall caufe
         A ·         b • the arms, ammu,1ition and accoutrements, of all under hi~ command, to be review-
         fp:~:J0       e ·m· ed and infpecl:ed :-That the commanding officer of each reaiment, fliall order
         Regim;11u to be out bis regiment by battalion or regiment, once in each year fo1· regimental exer-
         miwcd once in cifc, iufpcction and review. And if any of the privates belonging to any compa•
         ta.ll)tar,             ny ofhorfe, anillery or infantry, {hall neglect to appear compleatly armed and
         Primes who do el1ui11ped on the place of parade, appointeil by the commanding officer of his com-
         ~;1;~~··;:.qu pt   1
                                pany, bein~ duly warned, he.lliall fo1·feit and pay a fine of 11i11~ jbilli11g1 for each
                                ilay: and 1fany 11011-commiffioned officer, drummer, fifer, or trumpeter, lliall ne-
          and dtummm, glect to a11pcar as aforef:1id, be fhall forfeit and ):lay the fine of twdve foil/i11v for
          &c, 12s.           · each day-unlefs an1 foch perfon Jltall appear before the commanding officer of
                                foc}1 company, withm twelve days after fuch day of ~ercife or review, and make
                                fausfactory excufe for his 11011 appearance 011 fa1d day I and the commanding otli•
          Punllbment In- ~er dof,,eadch COlllJ>dany, battalion ordregimfent, fhall orbder t)1f corrc&ini a11d-pu11ifh-
          fti!led               mg 1,or ers an cop.tempts, 011 ays o company, atta11011, or •·eg1me11tal exer-
                  '             cife, infpecl:ion or review ; the _pu111fhme11t not being greater tban riding a wood-
                                en horfe, for a tiri1e not exceeding one hour, or a fine not exce~ding/01•/y Jh;J/i11gs
                                lawful money :-That each commanding officer of a company, battalion, regi-
                                 ment, brigade or divifio11, lb.all have power and authority, and full power is here-
          Officera t<> lix by given to afcertain and fix certain neceffary limits and bounds to their refpettive
          limit• & bounds parades, witliin wliich 110 fpectator iliall have right to enter, without liberty from
          to their parades, faid commanding officer ; and in cafe any perfon lb.all fo intrude 01· offend, he
                                 Jhall be fubje8:ed to be confined in focl1 way and manner as the commanding offi-
                                 cer iliall direct, during the continuance of the exercife,                                    .
                                     And l,e it fi11•ther e11all~d, That all warrants granted by the commanding officer,
                        ~        of any company, battalion or regiment, fo1· any time or times incurred by virtue
                   ;~d        & of tlus aa, or any breach thereof, fuall be dire&ed by the officet• commanding a
         ~: !: ~•:irctt-
          "i,arrants

          ed,
                  0
                       ·
                                 company, to the orrlerly fergeant of his company; which orderly fe1·geant he fhall
                                 from tim"l to time apppint, from the fel'jeants of his company l and the officer
            .                    commanding a battalion or regiment, to the adjutant or icl'geant-major ; and to
                                  be by them levied on the goods or chattlcs of the refpe&ive delinquents, if up-
                                 wa_i-ds of twenty-one yeal's of age-And    for      tl1e want of f'!ch goods or chattles1 a-
                                  gamll: the body offuch.delinquent, and. agamll: tl1e goods and c~att)es of thJ pa-
           On who!D ~ on i·ents,·mall:er or guardians, of Cuch delmqnents as liave not arrived to the· aae of
           whatlmed,             twenty-one years; and for want offoch goods and chattles, againll: the boiy of
                                 parent, mal1:ero1· guardian, and them commit and hol<l in goal, until foch fine or
                                 lines lhall be p.aid andfatisfied, together with lawful fees for fervice, as in cafes of
                                 execution for debt ; which fines and fol'fcitures ·lb.all be appropriated for the 11fe
                                 of the companies to which Cuch delinquents refpe&ively belong, for pnrchafing and
          :;:;ia~od.. ap-        maintaining cQlonrs, trumpets, drums and fifes ; and lh.onld there be any overplus
                                  of fines remaining in.the hands of the commanding officers of companies, the.)' iliall
                                  pay it ove1· to die commanding officer of their regiment to which they belong.;
                                  wb.icb togetlie1· with the fines collecl:ed by virtue of warrants iffoed by the field· of-
                                  ficers, .fhall be.applied to keeping colours in repair, and for band-mulic for·the re-
           Officers lmpof- giment, T]mt whenever any commanding·officer of a company fl1all impofo .any
           ingfinei, t<>givc fine in any of the cafes before mentio~ed in this aa; he fhall give notice to the
           notice to the perfon fined, who fuall have liberty within ten days to .apply to .the commanding
           pertoh Gn•1,who ·officer of the regbµent, :who on giving notice, and hearing 'the 'parties, may abate
          e;~f1t';~b.i!t~              Ol'allY
                                  fu~h fines,                  l
                                                          part~ereof a11:d if.fucl1 com!llanding officer of the regiment:,
           w apply to,&!. tlnnks not p1·qper to abate fach fine;·the officer .1mpof111g the fame may proceed to
           for rcdrcfr,            a cqlleB:ion .thereof.                   .                                 . ., .
                          · .         Providr!d 11everthrlefs, That if anyfoldier fuall in the judgment oftl:\Q f;eJ~&-men
           Soldier~ un'able .•Q,f th~ 't~Wl) ~o whicii .~e: bel~D:l!h .be,u~~bl~ to arm.and ac~outre 11,mfe]f .agi:~eable
           }i0{urn~di ibcm- 'to the d1reB:1ons ofthis aa:, it {hall be the duty of fuch fele8:-men , to cert1fiy fbe
             cm, ''               famr. to the commtffio'ned.officcr8 of the com1>any to which fuch foldicr belongs, in
                                                                                                           .           order




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                                                  .11 C <J' S 11 N V                   L A W S.




            order tlut execution may not ifluc agniu!l: him fo1· deficiency in fucli nt'lllR and nc-
            cout1•cmcnts I nm! nlfo, ut the c:xpcn.:c of lilch town to provide fuch folclkr with
            arm11, untl the whole or any pnt·t ofiltch nccoutrcmcnts a~ mny be nr··~llhry, withfo
            forty (h)'~ from the time of p"l'anting fod1 ccrti!icalc, undcl' pc11nl 1 : of the valuo
            of f'ud1 ;\l"ll\S and accolll 1·ctnc1rts, tu be recovered of uny 1 01' all of faicl fclect-mcn.
            by wnrrnnt from un n!li!hmt or ju!Hce of 1:1e peace, upon proper inforntation, amt warrant to
            proof of foch n~glcct, by foid c.on11nil!io1u:cl ofliccrs ; which wanant (hall be di- whom direl.lcd,
            reeled tu any /h~riff or con!hlble propc1· 1.0 fcrvc the fnmc, returnable in lixty <luy~,
            and the fine 1111yahlc into the trcalury of thch town ; and all arms and accoutrc- Fines to be paid
            mcm~ thus prol'ickd, flmll be the p1·opcrty of !heh town, nncl Jhull by the co111,- into                                   the town
                                                                                                                                  tieafury,
            1mtn<linr; oJliccr (lfthc compnny 1 be dcpohtcd in foch places us he fhnll think pro..
            per, l"o lJC rc:1cly for fuch foldier, ns occalion fltnll rcquh'c I and fuch oflicer !hull Arm,, '4c, to be
            !lune\ uccountnble for filch arms ancl nccoutt•cmcn~s, m1<l fiiall be liable lo pay for depofited ini8<c,
             tb,, fa111c, if lo!l through his ncgkct or default.
                   Frovid.d .-1(/b, Thnt uny oftfie people en tied QJ(nhel'f, who fhull p1·oduce to the
             co111111an<ling o!liccr of the company 111 which he rcfidcs, it cct·titicate from the
             clerk ofthe focicty of pnukcrs to which he bl'lon~s, certifying thnt foch perfon is
                            0




             :t \f,!lakcr, h~ Jhnll be c~cmpt. from equip11i11g hitnlclf,or clomg ~lilitury. clnty ns re- Qi.!akmmmp:
             q111rnd by tlm n~l,011111s rinymg the li;m of twenty ll11lllngs to iuch olliccr, at the Q11paylng ios,
             cxplrntion ofcnch ycu1· during !heh exemption; and i11 cafc luch Qunke1• refofc to
             pa)' lhicl !1.un of twenty fhilllngs, the fame {hull he colle8:e<l nml difpofcd of in the
              fomc manner as is heretofore p1·0\'ided for fi11es incurrcll by n breach of this act.
                   A11d bait Ji11·tMr c11afhd, That cad1 rauk und grade of ofliccrs, llrnll furn\01 Officers to fur~
              thcml'elves with the rules of clilciplinc approved and c!l:ahlifhcd by Congrcfs, ill n\!h themfdve•
              their refolution of the 29th of l\farch, 1779, and (hall fobmit themfelvcs to the or- w\th therulea of
              <lcl'S uml dire[tions of their fo11erior ollicers, or theh· fcnio1· ofliccrs, of the fume dlfciplinr,
              grade ; and nil ofliccrs in the Huff" and orderly departments, (hall be vigilnnt and
               uctivc in executing nncl difpatching orders in their refp~ctivc fit1tioJ1R,                                          0lllcm to be
                   That general, liclcl, cmmnilfioncd, and fluff officers, of all grades nnd ranks, tti,,d by courts
               Jhall be amenable to, and fobjc& to tl'iul by court~ martial, according to the uf.. martial,
              age ancl vrnaice of war, for all ncglecl:s of duty, for contempts or clifrcfpects to u
               folicl'ior o!Hce1•, for cllfobedicncc of orders, ancl fo1· all un-ofliccr-l1ke conduct ;
               w 1ich court martial Jhall conlHl: of not lcfo thnn nine, or more than thirteen mcm- Who to prefide,
               bcr.i-thc fcnior officer of the highe[I: g1·nclc to prcli<le-thnt n11otl1e1· officer of the
               line or 11:aW, to do the cluty of judge advocate to the court--that the memberl!
                compufing the: court, {hall take the following oath, before they proceed on the tri- 0                             luf~~f:h~~!tr,
                al of nn ofliccr, viz,
                     ro!!fu:,1r th11t )'nu ~viii ~uc/1 .1111/ trtd)' fl')' and dctc1'111i11c acco1'di11g to cvidmcc, the mat- Form of oath,
                tel' d(pe11ding botwac11 the flat~ of' Conndlimt m:d the prif.011t·r, or pr/(o11ers, 110w to be
                trh•d, th11t .1•011 will not div:Jlgc tli~ f,.•11tent( of th~ court 1111/i/ the filmc jha/1 be npprovcd, or
                d/fi1tpro:JC1!, /1111f:n1111 lo /mu ; 11clthr1· ~viii )'OIi 11po11 n11J' accnmd at a11;• tivu iuhatfoevcr,
                dii:l&j!J or d{li•r,vcl', the t•ot~ 01· opi11ic11 ofanv p,1rtic11/a1· 11ie111b,•1· of tho co11rt mal'tif/1, 1111-
                l,')i Nqt1ired !iv (/ d,u cohr/,' (1/ l,iw. s·o help you GOD.
                     The prefidcnt of the faicl"court martini, is hereby authol'izecl and req_ulrcd to a<l- rrer.dcnt of C,
                 miniilc1• an oath to the ofli"c:cr ai'l:ing ns juclge nclvocate, who is hereby rcq_ub·cd to martial                          to admi-
                                                                                                                                     11Hler an o,th to
                 take the fnmc before he proceeds further on bu!inefa, viz,-You do Jwem· thnt )'Ott thejudgc advo-
                 ~l'ili II?/ 1,11 ,//IV acco•mt, at a,q ti1110 wh{ltfaorm·1difalofi: 01• difl·ovc1· thll :1ofe or opinion if cate.
                 m,y p11rli~11lai· IIN//IOer of't/}¢ cOllrf 1/lfll'lial, 1111lefs i·cqiiirrd ill a d11e co111ji: qf'law; a11dthat The form,
                ,ro11 it•ill Nol div11(1{~ th/p11h•11cd if this court, till thcfi1111e Jha/1 bo npprovcd OI' difapp1·ov-
                  e,I acco,.di11g In law I mu! that you 1ui/l 1ve/l a11d truly do tl•e d11tJ' ~f'jud,ge ndvocnto, i11 this
                 .court, imp,11'/iallJ· n11d 11pr)f1l-tly, nccordi11g to the oqj/ of.>·~ur a6ilitie1,---S o help you
               GOD,                           "'
                    Ancl no other pct'fon whntc\'c1·, llrnll be nchn:tted to folicit, vroi'ecute or defend No pcrfon ad-
               the olliccr im·ellcd ; which oflicct· nrrefl:cd, if under the grncle or rnnli: of a field mittcd to folldt
               ofiket', llinll have twelve days notice of the nrticles of charge made ngain!l: hi111, &c,
               hy lr.nving; n true nml atteiled copy- of the original articles of nrre!l, u11dc1· the . ~fficcr~             Id              un1if
               l·ancl of u lhpcrior officer nrrclling him, ancl the nnmes of the witnefics to be uCcd t fficc~! •1~            0
                                                                                                                                                 t
                arninll: him minuted thereon, lodgecl with him at his nfual place ofabo1lc by the :,. d:ys notic~v
                olliccr nrrc!ling;, or the proper orclr.rly officer ; nnd      of the grade    ancl rnnk of n  kc,           •
                field officer twenty days notice; nncl of the rank of n general oflicet• thirty clnys held oll\cer          to
                                                                                                                                     c':; ';t.;~·r"•
                                                                                                                     0 , & gen,
                notice in like rnam1c1• ; which court martial, fo1· the tryal of nil officer under the hme ~ 10
                rank mHI grncle of n ficlcl o!llcel', lhall be nppointe,l by the commanding officer of           0
               ·the hrig;nilc to which he belong~, nncl the fcntence approved or dilhpp1·0\•ccl hy by ~1i 0
               ·the l'n rt·n I n-_11;encml of the flute-for the tl'ini of an officer of the l'ank nnd gl'ncle i,ointcd,
                 of n fi,;lcl otlkcl', hy, the commnnclinQ; officer of the clivifion to which he belong$;
                 imcl ot n 1~rn_eral officer by the cnptmn-gen••nl of tlte !late, ancl their fentencc np ..
                 provccl 01· cl1lapprovccl by thG legillature of the !late, That no Centene-: of a ~oitrt Whit punilh-
                 111nrtial !hall infli.:t: other punilhmcnt thnn n rcpl"imn11d, lilliicnlion from office for ment m,y be in-
                  ,1 rc1·tuin rcrm ofti11w, cnlhlcring, nnd cnfi1ieringwith n clifability of holc!ing
                                                                                                          an)' tli~ed,
                 !nil,itut'Y oilice in this llnto; two thii'ds of tho rnambers of any foch court ngrecing
                  m ltd1 for.tmcc.
                                                                                                                           A,:d




                                                              EXHIBIT 3
                                                                0065
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                                                  ./l C 'I' S A N D L A f,/7 s.


            43°                                              MHlionarics.

            C•pt,gcn. t,) or-    ,'I'll/ l•! ii /i11·1!m ,•11,1{/~d, Tlrnt the captain-1~cncral, 01· in his abfcnce the next
            ilor ou~ the ini- commandili'g oiliccr of the Hate, i-i hc1·chy autnori-:c,1 and cmpnwe1·cd, as he may
            l,,ary_to1t:cwhcn j111lr·c 11ocdfa1·y 1111011 the occufion on an alat·m 1 invalion, or notice of ll,c U\J}H':tl:_
            ne<~tl,uy.                               · 1tcr I>y ica
                                  ., o f· an enemy, ett
                             '1111cc                             · or
                                                                    ' Iam,I tu or dc1· t I1c w 1101e, or nny part or. the
                                   military force of~hi3 Hntc 1 to 11Hc111blc nncl put t.hc fame in warlike order l nud
                                    the fame to lead, order 01· employ fo1· the 11flilbi11cc,·01· relieving any oft he in-
                                    habitant.~ of this /late, attacked hy 1111 enemy, or in danger thereof 1 1,ntl gene-
                                    rally lo i1H1c all(\ pnhlilh by pt·opcr llaff or 01•det'ly ofllccr, lhch ot'dcrs a8 h<1 lhnll
                             0
                                   j111lt1·c expedient to carry into execution tho intent nnd dclign of this nit. A11il
                                   nll l{1horJinntc nflicct·s at·e ltcl'cby reqnit-cd to yield entire ohcclicuce thereto ;
                                   uni\ the ntliccrs fcverally comm111Hling divilions, brigades, rcgimcnrn, battalions
             Other on!C<·i·s       t\ncl companicH, arc hcl'ehy vellccl with the fomc 11owcr ancl authority withii1
            i'"wcra to ~nlcr the limit1 of their rcljicaive commands ; p1·ovidecl that when they or nny oftht•m
            Ulll Lhofo lllhier find it llCCCflnt'r tO 01'(\C\' OUt the force Unc\cl' thcit- COlllnJllndl thcy'/hall f'ol'thWilh
            their cummantl, difpatch i111clhgcncc, nnd the· occnliou thereof, together with their movements
                                  uncl operation~, to the captain-general of the !tatc, or any other their fopcl'io1·
                                  olliccr, ~s ma.y he Judged ntoll c0111\11cive to the public fofoty ; and the ollicer re·..
            'I'o Inform the cciving lhclt intclhgcnce, fhnll ohl'erve the fume line of condtt&, in order that it
            cnpt, general,        muy in the moll expeditious wtw, nrrivc to the cnptnin-gcncrul.
                                       ./l11d 6J it Ji1rthtr c11tlffrd1 That the cliviCton~, hdg;udcs, and regiments, may he
            l)ivlr.101,&c, to orclc1·cil out fo1· infpcction 01· review, hy thch· c01111111111Cling ofliccrs, nt lltch t hue,
            hP. ol'dl!r<•d out ns (h:111 he thought expedient 11ml nccclln1·y ; 1111d whenever n c\il'ilion is 0111·,
            for review, &c, they lliall be rcvicwctl by the cnptain~genernl, when a hrigucle, by a IIH\jo1-
            lly whom,
                                  gcnc1·al, nncl when a 1•cgimcnt, by 11 bl'igadic1·-gcncl'ul, 1\nclthe captnin-gcm:-
            C•pt,gen. to~i- ml {hall clirc.:l: n 1111iform and badges of ollicc 1 fo1· the gcncrnl officers, their
            re~\ uuifonu,t.:c 11ith-cle-camp, and bri1Yadc-m11ju1· and iulpcftors.
                                       d11d,t,e ii j11rllier r1111't!ed1 That no private folilic1· 1 nmtrofs 01· ho1·fcnrnn, or non-
            Surgeon lo give commiflionccl omccr, of either oi'l:hc companies ofhorfc, artillery or infonu·y, fhall
                 1 110
            ~•H .fi_c,      tnr. hcdil'churgcdfram his comp:111y nnclreg;iment1 fot· innbility, nftcr his inlill:mcnt 01·
           ~:~~;tuy      to pra- enrollment in any of the companies, w1thont a ccrtillcnte from his Htrgcon; nncl
                   '             for :my other cn11fe by applying to his captain, 11ml the confent of the com11tt111d-
                                  ing officer of his regiment, Antl that no captain or fobaltem ofliccr, {hall rclign
           ~h~~~lnJ;t~;r;~ his commiffio11 without pcrmifiion of the cnptain-gcncrnl, or foch general ofliccrs
           td,       Gen, ond as he may itnpowcr for that purpofc. Anc\ tlmt no ficlcl or gcncr11I officc1·, !hall rc-
           Jicld officers, by lign his commilTion without the acceptnnce of the legillnture; nnd no olliccr Iha.II
           lcsiOaturc,           be nllowecl to rc!ign his commiffion when under an nncfl: .
                                      .d11d b~ it Jiirtlw ~1111{frd, That nny pcrfon now holding and full:nining 1111y com-
           Oldcommiiliuns miffion by virtue of any a& herctofor<: maclc, within nn;v of the brigades, rcgi-
           continucd,            mc11rs and companies, hc1·etoforc, nnd by this ncl: formc1\ and el1:11hli!hcd, !hall con-
                                 tinue to hohl nncl cxc1·dfc the fume, with nil the powers and anthoritics·vctlcd in
                                 £i1ch olfice, hy virtue of this ·na, excepting the ollicers offuch companies as flrnll be
                                 reduced by virtue of thb ncl:.                                       ·
                                      B~ it fi1rlhcr maclcrl, Thnt tho laws cll:ahlifl1ing the cnvalry in this 11:ate, be, and
           l:•v•lry law• co:itinuc in fo1·cc until they lhnl\ be nnnexcc\ to the infantry : aml that !tis cxccl-
           coutlnued.            lcncy the governor, he requell:ed nncl cmpowerc<l to annex them in fuch propor-
                                 tion as he Oiall ,ill(lge proper, to the fevcral bt'igades within this 11:ntc, folijcH
           1'o he annexed to the orders nnd commaml of the brigadier of t\rnt brigade to which they fhall
           to the (e1·er4l       fcvcrally be annexed ; ancl t!tcrea.ftcr to he fuhjecl:ccl to the ncls und J'egnlatio1n
           brigatlea, &c,
                                 of Co11g1·cfs.                                '
                                     oe
                                      //11d itf,wther cnaffrd, That nil th,1 laws hcrctofo1·cn111cle by this 11:ate, for re.
           Laws ,cpc.ileJ. gnln:ting and governing the military force thereof, be, and they ai·e hereby re•
                                 pealed .

                            . An Act for the fupport of miffionaries, to preach the go! pel, in the
                                        northern and wefl:ern parts of the United States.
                                              by                                    hou(..• nf R,·p1·~(,:11t11tiv,•r i11 Gr11el'tll
           Contrihu:ions,   B    E it t1111ffo/     thtGovm101·, 1111d Co1111cil,  and
                                 Go111t ,1/[e111h/,•d, mu/ ~P a111horil;• ofthef,1111e, 'Tliat there be cor.tributions
                            in tho lcverni religious focietics nncl co'ngregntions in this llntc, on the firfl fab-
                          bath in .he month of May, 111111trnlly, for tlic term of three )'Cars; nnd the mini•
                          Her .or clerk of foch focictics or congl'cgations, {hall rccct\'e nncl pny over foch
                          contributions to the Rcvcrcncl Ezra Stiles, Na1ha11 Willi111111 and Jo1t.1lha11 ErhU111·d1l
           'fo whom paid, who {hull npp1·0~1·inte the fnmc to the fopport of fuc:h miffionaries as the general
                          :1flocintio11 oftlus ll~te 1!11111, from time to time employ in prcnching, tl1c golpel,
           How appropri- 111 thofc fcttlemcnts 111 the nol'thcl'n and wcll:crn parts of the United ~tates,
           ated,          where the or<l!nnnces of the ,gof1icl nrc not ell:ah!ifl1C<l: and fhall annually exhi-
                          bit to this 110embly, and fn1cl nffocia.tion1 nn uccmmt of the receipts, and expcn-
                          <litlll'CS of fuch contributions.




                                                                                                                          An



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                                                             0066
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                                               A C '1' S .A N D L A Tr S.

            Eftates. Perjury. Writs of Error. Equity. N.Havcn Bank. 43 r

            An Acl: in alteration of an AB:, entitled, cc An AB: for the: fcttlement
                                  of tcfrate and intdl:ate eftates,"
                l~ it c1MOcd by thJ Gbvrrunr 1111d Cwncil rwt! lw11,P Gf' R,•pr,f,mtfllioc1, i11 G,•1m·nl
            B     Court affm,filud, That lb much of faid al1: ns is includecl under the exception,
            viz. '' Except the cl deft fun then lurviving, where there is ifii1c of the
                                                                                    110            born,
                                                                                                      (it'll:
                                                                                                                        All r~pealeJ,

            01• of nny other cider fon, who !hall hnvc two {hares, 01• a double portion of the
            whole," be 1 and the fame is hereby rcp!!alcd,              ·
               Provid~d 11ci•crt/,c(,fr, That in the fcttlcmcnt of the cfintc of nny pet•fon l1ercto-
            forc dccealcd1 or wl10 !hall dccca!'e before the riling of the prefcnt feHion of nf- after the prcfont
            fembly, the court of probate {hall procce1l, nnd the ri1J;l1t:s of the heirs of fuch foflion of nll\:m•
            tlcccaCcd pcrfon, lhnll ve!t in the l'amc 111nnnc1· ns if tlus net had not hccn palled, bly,
            --------------·-------
            An Acl: in addition to, and alteration of an Acl:, entitled, "An Ac\: for
                                    the punilhment of pe1jury."
              E it c11nl1ul h• the Govcn:or and Co1111d/ n111l ho,ij/1 of Rcpr~(i·11Wivu, /11 Gemrfll Informing offi-
            B ,'.:om·t nffm1blsd 1'hat It {hall be the duty of lll'opc1· informing of!iccrs in
                                   1
                                                                1
                                                                        1111
            this 11:nte, to make pl'cfont ofnll breaches offaid n.:l:, to nny cou1·t proper to .hear
                                                                                                      cc,i tu make
                                                                                                                        prefcnimcnt,




            ________ __ ________
            :lllll determine the fume,                                     .
               .//11d /;c II JJ1r1'/icr e1111{/cd, That upon convl~1ion for that offence, ngl'ccablc to the Sum forfeited
            provilions of this net, the whole fum for:fcite(l by fai<l acl:, lhul,l be to the 1rnblic how ~!'Plied,
            tl'eafury of this ll:ate.               ,,         ...
            An Acl:, in addition to an Acl:, for regulating trials on writs of error,
                        and for limiting the time for bringing the fame.
              E it c11a[/ed b)' t!,c Gov~r11or, Co1111cil, ~11d Ho1(/'11 1j' A'ej1r~f;·J1t,1tivl'I, i11, G,•m1·,1I Courts \•> hivt
            B    Co111·t 11J(w1blcd, That the conrts of tills flntc, Jinvmg cogu1za11cc of writs of er- cogniiancc uf
            ror, upon the ii' nffirman~c ~f'any Judgment or de ere~, or upon ?IIY ,11011-lhit, or with- wrils of L'rrol'.
            draw made by the pln111t11f In crro1·, 1miy, nccordmg to thcu· thfcrction, adjudge
            :md clcct·ec to the defcndnnt in c1•ro1; 1 belldcs his co!l-, the lntcrcfi of the 1i1oncy
            delayed by fuch writ of error, nnd grant execution therefor accordingly.
               A11d b~ ii fiirther ena{leil, That the :1uthol'ity ligning any writ of error, Jliall Surely to b t«-
            take go_?d 'n1;d fufiici?nt bo11d, with lhretyJ thnt the, ~lnintl~' in error 11111!1 pro- kcn on,,, ,to of
            fccute Jus writ to effecl:1 nm\ nnfwc1· nll ninngcs 1 1t he fu1I to nrnke l11s pica error,
            good.·

            An Act in addition to ~n Acl', entitled, " An Act for rcg1.1lating pro-
                                             ceedings in equity."
              E it r11i1tle_d 6y the Governor .1111d ~0111,1cil, mid l,o!(fi: ~f' Reprcfa11f(flie,CJ 1 i11 Gm,·1·,tl
            B   Com·t «Jf      That
                            d111blcd1
            authorifcd as n conrt of
                                         the luperior ,:ourt of tlus Hate be, und they arc hci·chy Superior court
                                        equity, on petition brought bcfol'c them, to nnrhorifc, authori,ed    as a
                                                                                                   court of equity,
            nttd clil•eEI: the tnking of depofitions to pc1·petuatc the cl'idencc of facts, whel'e
            110 Ii.lit is dcpcndini:;, ng1·ecnbly to the rules nm\ ufng;cs in chancery proceed~
            ings ; which dcpoliuons fo taken, Jl1nll be nvnilnlile in ai1y court of law, or equity Depofitions
                                                                                                   be vaHd,
                                                                                                               to
            in !l!is !lute, in tho fame mn1111c1· us dcpolltions tnkcn dul'ing the pcn<luncy of
            a hut.

                             An All: to incorpora1:e the New-Haven Bank.
                  E it e11n[/,•d ~)I the Governor, 1111d Co1111ci/1 1111d Hor((e of Rcprifmtnliv:1/ ill G,'th'l'nl N, Hoven bani<
             B      Court flJfcmbled, That the fobfcrlbers to the New-Haven bank, t 1eir foccef~ n:uncd,
             fol'S nnd nffigns 1 {hall be 1 and nre hereby created nlld l11t1de n corroration 1 nmJ
             hocly politick, hy the name and fiyle o:fThe Preficlent, Dlrc&ors nm Company, of
             the New-Haven .Bunk; nnd by that nnme flrnll be, and arc hereby mndc capable
             in lnw to have, pnrchnfc1 1·cccive 1 pollcfs and enjoy, to 'them nnd their fuccellol's
             lnnds, rents, tenements, hercditnments, goods, chnttlcs and effects of whnt kiml
             or quality focvcr ; and the fomc to foll, grnnt nll(\ :iliac; to fuc and be fucd,
             1>leacl and be impleadcd, defend nnd be dcl'cndcd, in all com·ts of this Hate, 01· o-
             ther plnca wl1ntfoevcr. And nlfo, to have nncl. ufc n common fen!, nncl the fo1110 To hav~ n fiat,
             to break, atul afterwards renew nt thcil' plenfi1rc. Ancl nlfo, to ordain and put in
              execution fuch byc,laws 1111d l'egulntions 1 ns f1111ll be ilcemcd necelfarv 1111d convcni• To hove by-1011•0
              ent, fo1• the well Ol'<kl'ing and goverhi,ng fald corporntion, not behig; contrai·y to
              this charter, nncl the lnws of this !l-atci, Ol' of the United ltatcs ; and lo do nml
              execute 1111 nncl fingulnr ncl:s 1matters nncl tl1ings 1 which to them fhnll or may ap•
             11ert11in to do, fobjc8: to the l'lllcs, reO:ricHons and provifions, hcrchl after prc-
              lhibcd.                           '
                 The capital !lock offoid hank, lhnll confi!l: of one Imndl'cd lhoufuncl dollars, to C•pitol flock.
              he clividcil int.a five ln1ndred fliarcs, 1,f two lmncll'ccl dollars each: That 110 \>Cl'·
              fon, copartnr.rf11ip 1 or body politick, !hall fobfcribc 1 01· nt nny t;lmc hold more
               than li:cty flrnrcs.
                                                                                                                'Thot




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                                                            0067
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                                            ·A C '.( s· A ND                  L .d 'IF S.


          43 2                                    ; Ncw-·Haven Bank.

          Nine dlrellors,            That for the ordering the alfotrs of fuid corporntion, there fln1ll he nine dir<'C•
                                tors, chofon 011 thl! lirll 1'hurl'dny of fuly, nnnnally (after the !Ml election) hy the
                                grcutell number of votes g,ivcn hy the fluckholders offulcl hank, at a. J"Cncrnl mcct-
                                in,g I and thole ·who lhnll be duly chofcn nt uny clci:tion, !h:1ll be cup~1hlc of fer,··
                                Ing as <lirccl:01·s, until the cxpirntlon of the lirll Tlrnrlday of July nci-t cnliiin,p.:
          To chMf4 a pre- lhch election ; and the <litc~'l:ors, at thch· lh·(l; meeting attcr r~ch clcttion1 !hall
          (,dent,                choo!'c one of their number for tL prelidcnt,              ·                '
                                      The number of votes each fiockholcler lhall be entitled to, in the choice of cli-
                  b f           recl:01·s 1 or any other \rn!inefs refpeeling the confHtution, .lhall be according to the
          ~~r   ,f~,'i,~~tJ'.    nnmber of flrnres he !hall hold, ill the foll?win,I!; propor1ion, viz.-for one fl1are
          r.r /hall be 011 • and not more .than two {hares, one vote ; fo1· every two {ha1·cs above two lliatcs,
          titled to,             nnd not cxcdoclinrr ten n1ares, ono vote I for every fom· {hares above ten, and not
                                 exceeding thirty Jliarcs, one vote ; and fo1· every fix ninres above thil·ty, one vote;
                                 \mt no pcl'fon, ,copartncrl11ip, or body pollt'.ck, !hall be emitlccl to a grc11tc1• num-
                                 ber tliun !iftec:n votes,
                                      All fiockholclers llmll be entitled to vote hy tl1cmfch-c's, or thcil· agents ·duly
          Stockholders           nppointecl; 1101ic hue fiockhohle1·s n1all be eligible 115 dh·e8:ors I nnd not lcfs than
          how to vote,            two thirds of the dircB:ors fhnll be u8:ually relident in the city of New-Haven;
                                 and \1ublic notice foall~be given by order of the clirccl:ors, twenty days previous to
          None but tl:ock
          holders to be di- holclrn1; an clctl:ion, or general meeting of the !lockholders, in a ncwlj>npcr pub-
          rcclors.               lill1ed Ill faicl city, and in fuch othc1• places as the clirccl:ors lhall judge necdlnry;
                                 not more than three fourths of the cltrecl:ors in office, exclllfivc of the pre!iclcnt,
           'l'hrce fourths Jhall be eligible M dirccl:ors the next fucccec1ing year; but the director who llrnlt
           cllGi~lc,               be prcfidcnl' nt any clccclon, may nlways be elcdecl a director,
                                       1n cafc of the tlcut11 or rc!lgnntion of n director, his 11lncc may be filled by n
                                   new choice for the remainder of the y_cnr, 1irovidcd n ma,jorit[. of the directors
            Plrcl:tor, plr,cc
            may he filled,         judge it necclfary, All clecbons    •
                                                                            for directors, ntn 11 I.ue I.uy Lua 1 ot, nn d the nine
                                   pcrfons who flrnll have nt any election, the greatelt number of 1·otcs, !111111 be cle-
                                   clal'ed to he duly elected,                     .                                  ,
                                       The clirecl:01·s fo1· the time being, fliall have poivcr to nppoint fuch officers,
                                   clerks nml fcrvants, 11s they niull juclgc neccllary, and nrnll lie cnp11lile of exccnt-
            Direllori to ap- ing fuch other powc1·s for the wcli orclcring ancl governing the a!laii·s of the bank,
            point officers, as llrnll he determined by the regulatiom of the ll:ockholders ; but no clit·eclot·
            &c,                    fhnll be entitled to any emolument, unlefs the fame {hall he ordered by the ftock-
                                   holclers at n ge11cral meeting, except the pre!lclcnt, who l11all receive fuch com-
                                   pcnfntion for his extra attcnilance at the bank, us the dh-ccl:ors !hall judge 1·cafon-
                                    able. .                                       •
                                       Not Jcf.q than three dit•ccl:01·s !hall conrl:itutc n honrcl for t1·:mfo€!:!ng the bu!lncfa
            Not tcr, tlun 3 of the bank, ofwhpm the prelidcnt nrnll always be one, except in cnfc officknel'.~
            dlreclors to con-
            lHtutc a board, or nccellary abfcnce, in which cafc the dh·ctl:ors prcfout flrnll fopply his pince, by
             &c.                    clc8:ing one of their m1111be1· as pl'e!ident for the occn!ion,
                                        The dh·eclora, by a majority of votes, llinll determine the manner of doing bu-
             •ro determine !inc!ii, and the rule3 to be'pre!i:ribcd; l11all clifpofc of, nnd manage the money ancl
             the manner of credit of the bank, for the interc(l; of the proprieto1·s; and llialr nt the encl of tl1c
             doing bufind,, firll: year, and once il1 fix months aftcrwnrcls, make fuch clMdcn<ls of the profits 11s
                                    they llrnll think proi1c1·, provided thqt they nmll in no inilnncc clo miy net con-
                                    trary to the regulations of the ll:ockholclers ; and the <lirecl:ors llmll once in two
                                   years lny bcfo1:e the gencrnl meeting of the fl:ockholders, for their information, n
                                   tlatcmcnt of the debts which llmll remain nnpaicl after the expiration of the oi·igi-
             Statement of           nnl credits, nnd the !hrplus of11rolits, if any be after clcclu{l:ing lolles ancl clivi-
             dcbt,, &c,             clends,                         .
                                        The co1·po1·ation flmll not ti•ncle in nny thing c>:cept:bills of exchange, gold 01•
             Corporatlon            Hlver bullion, or in !ale of goocls pledged .for money lent ancl not recleemcd in clue
              how to trade,         time, o~ in lands taken for debts prevlot1ny, contructcd ; nor flmll the corporati-
                                    on take more than nt the rate of lix per cent per annum, fo1· or upon its lonns.
              Stock to be aC-           The ll:ock of fnid corporation nrnll be anignable,and transferable according to
              flgnable, &c,         fuch rules as lhnll be infl:itutetl by the laws of the fame,'                       .
                                        The.bills or notes itlhecl by faicl c01·poration, fignr.d by the prelidcnt, un,l
                                    conntcr-ligned by the cnl11icr, m· trca[itrcr thereof, promi!ing the 11aymcnt of mo-
              n111, figncd by ney to any pcrfo11 01· pcrfons, his, hc1·, or their onlcr, or to their bearer, flrnll be
              the ca/hler, l<c, binding a111l obligatorv on fuid corporation, aml payable o!t demand ; a111l all fuch
               blndlng on the bills and notes llmll be affii11able and negotiable nccording to the coilom of mer-
           . corpotntlon,           chants, ancl the lawa rclatmg to inland-bills of exchange ·; und all notes in wri-
                                     ting, which !hnll be made ana lignetl after the firll: clay of Deccmbc1· next, by any
                                     pcrfon 01· pcrfons, hi~, her, 01• thch· fcrl'nnts or agent, who is ulually cntrurl:ecl by
               Dllls nffignablft ltim, her, 01• them to fig11 fuch promi{lory notes, for him; her, or them, fuid notes
               nnd n13ociablc, being given for tlic payment of money only, nnc1 mncle payable to nny pcrfon or
                                     perfons, hi8 or theh· orclc1•, 01· to the bearer,·ancl in<lorfccl over to raid· 'corpornti,
                                      on, lliall be affignablo 01· indorfnble over in the fame manner as inlnnd'bill.~ of ex-
                                      change arc, 01·. may b'c ncconlingto the cnilom of merchants ; and faicl corporation
                                      to which the fame mav be inclorfcd, flmll ancl mny maintain their action thcrcnp•
                                      on, for the money proinirccl in fahl notes, ngninfl: the pcrron, whofc agent as aforc-
                                                                                                                               ,faicl




                                                            EXHIBIT 3
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                                             ,.11 C Cf S A N D L .A W S,


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           foid, fl1all fi1rn the fomc; or :\lly of the 11crfon1 who fliall indorfc the fa1nc
           in like mnmitr ns i11 ~:&i of inl1111d bills of exchange.
                Every ca01b1·, trcalurcr 01· clerk, employed in faicl hank, {hall, before he en•
           te1·:, on the clntier. of bis office, give bond with two 01· more lhrr.tics, to the fatis- can,ler,     treafu•
                                                                                                        rcr, & clerk ta
           fucl:ion of t!w dircaors, in a Ihm not Iris than five thoufancl doll(U'9 for the cnfl1ier, give bond,
           uncl not lc!li than one thoufand for II dcrk, conditioned for the faithful difrhargc
           uf hin tl'll(l:,                                 ·
                David At1tlin, If,1nc Dccr3 1 nncl Elias Shipman, El11uii•cs, nre·anthorifcd to open
            n ll1hf~riptio11 for the' capital of faid bank, nt foch time uncl place us they {hall l'er(nn;        autho-
           think belt, i;eccive the firf]; clepo'1t9; nnd nli:cr foicl fobtcription to call n meeting rl(ed    to open a
                                                                                                         (ubfcription,
            of the ltockholdcrs to chufc d11·ei:101·s, Five per cent on the fu1119 fuhfcrihecl, {hall
            ho paicl at the time oflhhlcribing; twenty.pet· cent on each !hare (hall be paicl Mone when ·
            iixty clnys niter f'aia fubfrri\1tio11; twenty-five 11cr cent fix months nfte1• the time of raid 1~.
            the ('ccond payment ; und t 1c reficlue in !ix months afte1· the time of the third pay-
            ment. If there Omli he a failure in the focond payment of any fum fubfcl'ihcd by Forfeiture for de
            any pcrfon, copartncl'lhip, o, body polirick,d1e party failing, flrnll forfeit to the Jay of payment,
            httnk the lltm hr him, !1C1· 01· them, previoully puid; and if there fhould be a fai-
            l111·c in any fuhkquent pnymcnt, the party foiling {hall forfeit to the hank, his, her,
            or their lharc of the dividm1l, cluring foch delay-l'l'ol'idccl, that in cal'c the di-
            retlors /hall judge it expedient, they nre hereby nuthorifocl to fuli1end the two Inf];
            payments, or either of them for foch time as they may think proper, giving fixty l'roviro,
            days notice previolls to the time herein f\xecl fo1· foch pavmcnt, And the llibfcri-
            he1·s fliall be held to make pnn&ual pavmcnt, at filch period or periods, as !hall be
             ,lcterminc1l hy the direcl:ors, having li"xty clays notice of the time on which any
             foch payment !hall he require,!, which notice !hall he given in one of the newf11n-
            11crs uf'faid city, and filch ol'iter places and manner, as the direcl:01·s my judge 11c-
             ccfiii1·y.           ·
                 That p. general meeting of the !lockholders flrnll he annually held on the firft
             Thut·Cdav of July, at foch pince us the ,lirctl:ors mny appoint, That the !Ml
             mccting"of the !lockhol1\ers, being called by the petitioners, and convened, the General meet•
             Hockholders, or n majority of them, {hall clecl: one of their number to prefide at ing tJ be held
              the elecl:ion, who OIClll be, and is hereby ;tuthol'ifecl to receive nncl count the votes annually     on the
                                                                                                          l ll
              fot· <lirccl:ors, nncl declare what pcrfons nrc clu.ly elccl:ed nccorcling to the provi- July,'l'hurfday of
              !ions of this acl:.

            An Act in addition to an Act, entitled,· "An Afr, for rebuilding New-
              gnte Prifon in Granby, and for regulating nnd governing the fame,
              and for the punill1inent of certain atrocious crimes."
                 E itc11a{/cd 1,_,, the
                                    Goi,m!or,    Co1111cil,
                                                   a11d      Ho,((',: of
                                                              and
            B                                 1f
                                                                             Repre.fmtaliv,•r,
                                                                                       Ill General
                                    Thnt any male pcrfo11 oft he age offixtecn years or more, ~:~~;. d\ tcw
                  C&111·t ajfrn1l>led,
            1hall wilfolly nncl fclonim\Oy ham, or attempt to burn, hy fctting on fire any dwel-   for          gate
                                                                                                                      1 0
                                                                                                                         0
                                                                                                                        burning
            ling houfc, bnrn, out-hottfij, !hop, n:ore, fhij1 or other vellel, am! no prejudice or ha-          houfes, &c,
            :rnrcl to the life of any pe1fo11 happen there 1y, fuch 11erfon fo offcn1li11g_, may nt the
            difcrction of the fupcnor rnurt, on convicl:io1i thereof, be imprifonecl 111 fa1d New-
            gate prifon, nncl there be kept to labour not exceeding !even years ; nnd if nny
            1imle perlim of the age of fixteen years or more, who hath already been, or /hall
            be h('rcaftcr convicted of faid offence, fl1all be a focond time convi.'l:cd of nn
            o!l'rncc of tl1e fame kind, lw llrnll nt the difcretion of the fnid court, he imprifonell
             in faid prilon,,nnd there he kept to labour for any limited period, or during his
            nnturnl life, as the circum(lnnces of the cnfo may require,
                /l11d be it fi1rth1•1· e11arfrd, That the imprifonmcnt tlire.:l:cll to be inflicted on pcr-
             fons C'onvicl:ed of the crime of pcr,\ury, and fuhomation of perjm·v, in an ncl:, en- Perjury how·
             titled, "An A& fo1• the pnnifl1ment of perjnry," {hall be an hitprifonment in fald punlfhcd,
             New gate, nncl keeping to lahour, if the per/on fo convW:ed be :1 mule pe1·fo11,
                A11a bu it ji,rth,r mn{led, That if any perfon fl1ull with forcc'nncl arms, nnd nc-
             tnal violenl'<', nn anillllt make on the body of :my female, with un intent to com- ~Pde how pun-
              mit a rope, the pcrfon fo o!fcncling, 011 conviction thereof, flinll be. imprifonecl and • •
              kept to 'labour Ill !'nid Newgate·prifon, dul'ing his nntm·nl life, or fo1· fuch othc1·
              11eriod as the fupel'ior co11rc fhnll determine,
             -----------
                     Acr, ----------- -
             An Afr in addition to an
                 .
                                            e~titled, ". An Acl: for encouraging and
                                      regulntmg fiQ1enes."
                  E it malled il-r. GoNmor and, Co11J1cil, mrd
             B                   l'.i'                                  r:( Rejil'efa11tatioes, ill GCtJel'al
                                                                    hot!fo
                   c~urt fl{/'amM·rl, 'rhnt no 1m-fon or perfons, fltnll dr11w any fcin or other fifl1-
             r.rnft, in Willimantic anrl N'ntchaug rh·crs, except between die fctting of the fan                When r,in,may
             on Tucrllny c•vening, n1lll the fttns riling on Saturday morning in each week, in not be drawn,
             the momh~ of 1\pril, l\lny nnll June, nmmally, on penulty of forfeiting ten pounds, kc,
             for the t1fc of him who !hall Hie fo1·, nml profecutc the 'fame to effe~'l:.
                                              ------

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                                         A--9 r:s ,_A· ND L:.i1.TY-:B,

                                                    ·· ·.·:: ' :Fi(herjes.

                          An Act'in lllteratioo of. au Aa:,· entitled, . " An Act in addition to an
                                           ,Acl:.(br•e.ncouragirig a_nd regulating fifheri,s."                                        "
                                E it ·e1u1llcd by th,, Go1mnor 1111d ilotiitc//1 a11a hotifa oJ.: Reprefl111ta1Jrm, ill General
         Atl rtpeald,
                          D      -?oN~t aj{4fi,,1~ili That fQ ihul:h o~ the fald aa as relate& t~ the fdhcry in New.:
                              ven ~il&'.Rtv¢ti 11e, aiid the fame JS b~reby l'.epealccl,· · ·· . _
                             Be lt,fttrllm' tinltfJtil~ That no perfo11 ~all :it ·a.ny time.during _flood thl~, fla.-,
                          tlon or d)'I\W n1Jv ,feln or other fl(h.crafr1 Jn fn1d· rjver1 belqw Ma11sfield'Jl-br1dge i'
                        · aitd tliat n& pettcin' _fliall ~et or,-draw any tein o,: otlier. fifb,craft ,in faid ~Iver., lie-:
        Stln111ot to be U,., faid brldgi:!; _frolJt the fet~mtt: of the fun on,Wet\11efday evening, ,intd the ff.lt•
        drlWQ l,dQl'f     ting of tliefun on -Thutfday evening, bt ,:acl1 week 1· and every pcrfon that fhaU
        Man1field'a       he etmvlcf¢d.· ofi bfe11ch of this aft; fhall pay a fine· of four pounds, one half ta
        hrld1,e, durlna
        flood ti4e1 op.
                         Iii@ bffl or hhn who fhall juefar', and .profcclltC the ,fame to cffeEt, nnd the otbe(
        fenalty of41, . Jullftb tlie'tr.eafurl'of tl1c cliiirity' wht,\ret fuch olfencc fhsll·bc <'omtriitted J and
                         fis.ill a.lfo forfelt the fein, ropetil 1md 'iither,, imJ?lements ufed' for ·catching ~fh ~on.;-
                         trary W this !!cl:, to· b!l'.dppropr at.eel as afo11efa1d,··:                  ·.          .· ·
                                            .   •
                                                     ..,_-61 ... , - - - - -
                                                     ...   h   • .,J   ...   .   ••   ... . . . . . . . _,.   •   • ~-· ••   ••
                                                                                                                                  .       •




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           EXHIBIT "4"




                                EXHIBIT 4
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   1134                         C.A \V S, ~                THE s:f ATE

     C ll ~ P.                     C H            A F.             XXXVI. c.
      XXXVI.
    ~
        1793.       All ACT for ejfablijhiug th~ militia i11 _this jlate. ( a)

   P:e:in.1:1:,

                  W                HEREAS a well regu1~ted militia is the pro-
                                     per and Qatural defence of every free {hue ;
                       And as the ieveral laws enacted by the Legi1bture of
                       this flate for the regul:i.tion of the militia ~ereof ha.\'e
                       been found to require material alterations; 'in ordei
                       to which it hns been thought moie .idvifeablc to revile
                      the whole fyftem, thµ.n to amend it by fupplt:mcmary
                       fl:atutes ; therefore,                  .
                            SECTION I. BE it maEled l')' the Se,zate and Hartje of
                       Reprefentatives of the jlate of Ddnware ill General Af
                      fcmb!y met, a11d it is h111:eby eua{led by the authority of the
   Who !hill be       jj111lc, 'Ihat e1ch and every fn:e able bodied white male
   ~11rolle1I, a,11,!  citizen of this ft:uc" who is or ihaU be ef the age· of
   by whom,
                       eiglmtec.n years, and under {be age of forty-five •cars
                       except ~s~1crci-n after exceprecl, ~"hall [Gcverally a.nd re-
                       !pclliD!lf be c1u0Ucd in the militia, y the Capr1in
                       or Comn_rnnding Officer of the company within whofc
                       bounds fuch citizens tl1all rdidc, foch bounds to be:
                       lin;itcd and fixed ragrecable to the fubdivifions which
                       have been made by the Lieuccna.ms and Sub-lieurr-·
                       nants of the different cournies, and that within foui-
                       months after_the palling of this act; (b} a~1d that ic
                        tl1:.1ll ht: at all times here~fter the ~luty of crcry fuch
                        Captain or Commanding Officer of a company to en-
                        rol every fuch citizen as aforefa,id, and alfo thc,fe who
                        foo.11 from rime to time arrive at the age of eighteen.
                        years, or being of the age of eighteen years, arid un,.
                        der the ~.ge of forry-fjve years, nnd not excepted by
                        this acr, ihall ~o~ue to refidc within his bounds, and
    N91if1r~tion of flrn.ll without delay norify foch citizen of the faid en-
    ~lu: ,:molmmt. rolment, by A- proper non-commiffioned C!liticcr of the
                         company by whom fuch notict: may be proved; anLl
                         jn all cafos of doµbc rcfpeclicg the age of any perfon
                         enrolled, or intended to bt! en~ollc<l, the p:irty qucf~
                                                                                             tioncd
                    ( n) See a (uppl.cmcnt hereto; .ch.ip. 95. c. Anno, 1796.
                    (o) See ch,1p . 95. i;. !"ell, i, Fo,·llion maJc ror 1lividi11~ the coun.ti:s into rn:i-
                  mcn~al and batt;:.l_ion uiltrH1;1 anJ thc!c i11t1J i:ilni1,an!' J11lri.:.i_s.




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                     O ·F D E L A \V A R E.
         tioned {hall prove his ag~ t? the fatisfaftion of the ~~x""'J:
        -oflicers of the company w1thrn whofe bounds he ma.y .....,.....,,-.
                                                                               1
         rcfide, or a majority of them.                                          1~1, ·
            SECT., 2. And be it further c11aaed, That the Vice- l'erront Clempt-
         p fC {jd                  • d ..itares,
                                        C .      , ffi    • d•1cta
                                                                • l ~nd cd  from mili-
               1 ent o f t l1e U mte              o 1cers JU            t.iiy du,y.
         e,-ecutive of the government of the United States,
         the Members of borh Houfcs of Congrcfs and their
        rcfi'>ccl:ivc officers; all Cuftoq1hottle Officers and their
         Clerks, Judges of the Supreme- Court· and of the
          Court of CommQri Pleas, Chancellor, Attorney Ge-
          nera], Sccrcrn.ry, and Trt:afurcr of the State, Sheriffs,
         Gaolers and keepers of workhoufcs, all poft-officcrs
         and ftage-drivcrs who are employed in the cnre and
        conveyance of the mail of the Poft.ofiicc of the United
        Stares, all ferrymen employed at any ferry on the
         poll roads, all infpectors of exports, all pilots, all
         mariners ac\:ually employed in the fca fervicc of any
         citizen oi- merchant within the United States, mini-
         ilers of religion of every denominu.tion, profe1fors and
         teachers in colleges, academics, Latin fchools, and
          fchoolmaftcrs having twenty Englil11 fcholars, and
          no other perfon or perfons, Jl1all be exceptod from
        · militia duty ; but all young men under the age of From furnifu"r,c.
          twenty-one years, and all forvants purchafed bona fide, arms,&:. '
          ;md for n valuable confideration, though enrolled
       ··agrcenble to the firft fetl:ion of this law, fhall be ex-
          empted from furnifbing the neceffary arms, ammu~
         nition and accoutrements as are required by the fourth
          fecrion thereof~ and lhaU be exempted from militia
          duties and fines during fuch minority or fcrvitude, ex-
          cept in cafos of rebellion, or an ad:ual or threatened
          invafion of this or any of the neighbouring {hues.
             S!CT. 3· .A,ul be it /11r1her eJJ(lcled, Tha.c the militia Amnr1;~1cnC oi
       · of this ftate be arranged into divifions, brigades, re .. ·chc m,hua.
          gimcnts, battalions and companies in manner and
          form following: The whole ftate to make one divi-
          fion, and each county to confift of one brigade ; each
          brigade to confift of not leis than two, or more than
          eight regiments; each regiment to confift of two bat-
          tations, and each battalion to confift <1f four com-
          panies, in foch manner that no company ili=iIJ confi{t
          •of more than eiglity, or Jefs rhan forty privates, or as
           ne.ir .ls mny be, ha.ving regard to their lo'cnl·fituation, .
                                    ·                           th~l'e




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                          LA·,vs OF THE ST ATE
  C ll ,'\ i>.
  X>.XVl.        there· (hall be ·ro e:.tch regiment nr Icail: one company-
  -  ~ of grenadiers, Jight infantry, or riflemen; and to co.cl1 ·
     17~3·
                        brigade there lhull be at lea!l: one company of artil-
                        lery, and one rroop of horfe, which 111,\JJ be formed
                        of Yolunteers from the refpecl:ive. regiments, at the
                       ditcrction of the Governor. ( c)
 How the mlli1i:1          5EcT. 4. A11d be it further enaeled, That in order
 lh,dl b~ .a1111~1!,
                       drnt tl>c miHtia may be properly armed, equippecl and
                       :tccoutrcd, every citizen enrolled, and notified of his·
                       enrolment in manner aforefaid, except as· herein
                       before excepted, Omli, within fix months after rc-
                      cci\-ing fuch notice, provide l1imfolf with the arms,
                      ammunition and accoutrements herein after mention-
                      ed, viz. every non-commiffio11ed officer and private
                      of the infantry (including grenadiers and light infan-
                      r~y, nnd of !he a.rtillery) {hall haYc a good !11u1k.c~ or
                      hrelock, a iufficu:nt bayonet and·bclt, two tpare flmrs
                      and a knnpfack, a pouch, with a box therein to con~
                      rn.in not leis tlrnn twenty~four cartridges fuited to the
                      bore of his gun, ci1ch cartridge to contain a proper
                      qu.1ntity of powder and ball. or. with a good rifie,
                      knnpfack, !hot pouch and powder horn, twenty b:ills
                      Juhcd to ahc bore of J1is rifle, and a quarter of a pound
                     of powder; the commiffioncd officers of the i nfontry
                     ihall be a:rmed with a fword or hanger, and an efpon-
                      toon, and thofc of artillery with a fword or hanger,·
                     ~t. fuzee, bayonet and belt, and a cartridge box to
                     contain twelve cartridges; the commiffioned oilicers
                     uf the troops of borfo fhall- furnifh thcmfclvcs with
                     good horl~s of at lcaft fourteen hands and a half high,
                     ;md lh:111 be armed with a 1\vord nnd pair of pHloJs,
                     the holflers of which (hall be co\'crcd with bc~\1' fkin
                     caps; each light-horfomnn or cll·ng0on !hall furnilh
                     himfolf with a lcr\'iccablc horCe at leaft foui-tccn hand.s
                     anti an half high, a good fadd]c, bridle>' n\ail pillion
                     ~ind valifo holHers, and a brcafi: plate and ¢rupper, a
                     puir ,.1f boots ttnd lpurs, n pail' of pif1:ols, a fabre, and
                     c.1rtouch box to contain twcl\'e cnrtridges for piflols ;
                     the artillery and horle lhnll be uniformly clothed in
                     n:gimcntuls, to be furnii11cd :.it tlicir own cxpencc, thc.:
                                                                         colour.




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                        0 l~             D E L A ,v A R E.
          colour and fafl1ion to be determined by the Brigadier \~xtt·
         commanding the brigade to which they fliall belong ; ,...,-y.......,,,
         every militia-man flrnll appca1· fo armed, accoutred                 , 7u3,
         and provided, whtm called out to· cxcrcife, or into shall a~,,e.ir
         iervice (CXCCiJt that when called OUt OS\ company thys, armed Ja;'li                                              0 ~•.


         ro cxcrcifo only, he may appear without a knapfack ; ) o: mn.ue.
          and every man fo enrolled as aforefoid, and pro\~iding
         himfelf with the arms, accoutrements and ammuni-
         tion required ·as afore fa.id, fh:.1.ll hold the fame cxw A                     , 1
         cmt1ted from all fuits, diftre1lcs, executions or falcs rr;:iJ~i~t:it~
         for debt, or payment of taxes; each battalion and
         regiment f11all be provided wich the lhte and rcgi¥
         mental colours, by the ficldotliccrs, and ca.ch com-
         pany with. a drum and fife, or bugle horn, by the
         conrnl'iffioned officers of the company; the cxpcnccs
         of fuch colours, drums, fifes, or bugle horns co be re·
          paid to the officers out .of the fines incurred by this
          act : (d) Provided al-Wa)'S, That whenever the field- Who !l:.111 t,~ t·-~·
          Oi11CCrS Of nny regif11Cnt flrn1} judge :lUY perfon COl'Of ~ .:_mptcJ Imm
          .l~d therein unable to equip himfo'lf as aforefaid, fuch :·,'::·1~,:~:· i.,.;,
          perfon flrnll not be fubjeet to Q.ny fine for not arming·,
          any thing herein contained to the c.-)ntrary notwid1·                     ·
          ibrncling.
              SHCT. 5· Alld oe it /11rt!Ni' cua'Fled, That the mi!iLiJ. l,fo,1'.,:\~ ~wl·P,:
          llrnll be ofliccrcd ns foJlows: To a divifiou one 1\'fojor t,wit,(',,,tn·:,,·,
          General, nnd two Aids de Camp, with rhc rank of IvJ.a. ·
          jor; to each brigade one Brigadier General, with t)JH~
          Brig:idc Infi-,ec1:or, to fon•e ulfo iis Brigade i\ fajor 1                                    1



          with rank of Major; to each regiment one Licmcn                                                          4




          a~1t Colonel Command.in~, and co each IJ:tttalion on~::
          lVIajor; to each company of infanrrr (including lighc
          infantry and grenadiers) one Cape.tin, one Lkrn~,~-
          ant, one Enfign, four Sergeants, four Corporal:-:, 011~~
          Clerk, one Drummer, and one Fifer or Ilup-lcr ;
           there J11alJ be a regimental fiaff, to c:onfiflofone:)J\d-
          jutant and one ~artcr Maficl', t(> rank. as Licutcn:.itw ..
          one Paymnfter, one Sut'geon, and one Surgc,m's t\I:i.tl',
           one. Setgeant l\ifajor, one Drum 1\fojor, nn<l on<: Fii::
           !vI:ljor; there fi1al1 be to each comp:rny of :irt:illcry,
                                                                                                          one

             (a') A, per (ed.      ,s.
                                     hereafter-hut rec dup, 9,. C, j,,,t, 1 :,, lhf' li'Jlf,•piat:ryll ,,:
          flM.; ;:in:11 to the Co111111itfJi·y o( inilituy ttorc~ i•ro1·Hl' l f,,:· iu fr,'.l, ,,, 1-f th,• t • ii.it·




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                                        LA      ,v   S OF THE ST ATE
       -x~xtl· one Captain, two Lieutenants, four Sergeants, . four
     · £
       ~ Corpora ts, ft~ Gunners,· fi.1t Bombardiel's, one Drum·
        •793.   mer, and ·one Fifer; and to each troop of horfc there
               ·fhaU be, one Captain, two Lieutenants, one Cornet,
                four Sergeants, four Corporals, one Saddler., one Far~
                           ricr, and one Trumpetel'.
     Officcrs,'by                   Aud.he it further euacl1d, That the Go.
                           . SECT. 6.
     ;~::t·be       11
                                                    the firft day of September
                         f• vcrnor thall on or before
                       next) appoint and commiffion the Major .General,
                       Brigadiers, Licutemtnt Colonels, Majors; Captains,
                       Lieutenants, Enfigns, a~d Coi-ne~s; thnt. the l\tlajor
                       General !hall appoint tbc1r own A1ds de Camp out of                                   '
                       the line of Captains or ·Subalterns; that the Briga ..
                      diers {hall appoint their Brignde Majors out of the
                      line of Sµbaltcrns; (e) that the fieldofficcrs of each
                      regiment 01a1l appoint tbeir refpecl:ive regimental
                      ftaffs; and that each Captain fl1all appoint his Ser:-
                       gcants; one of which {hall be appointed Clerk to ~he
                       company, Corporals,L Drumme't nnd Fifer; that all
      or,ticircoin. commiffioncd officers f11:1ll be comtniffioncd for feven
     mifiionu11d       years, nnd f'ha.11 take rank nccording to the date of
     ::in>:..          their commiffions ; and when two of the fnme grade
                      bear equal dntc, then thei1· rank ilHill be determined
                      by lot, to be· drawn by them before the commanding
                      officer of the brigade, .regiment, battalion, compa-
                      :tny or detachment.
     i·lowtl,ecomra-     SECT. 7. And be it fttrtbe,· euafled, That on the firft
     ni«J/hill be     Tucfda.y in April next cnfuing, the Capttlin or Com-
     t:h ei.          mantling Officer of each company {hall call the per-
                    . fons belonging to the fame together, .giving due no-
                      tice, nnd (hall divide them into eight clatfos, as near--
                      Jy cqm\l in number to each other as conveniently may
                      be, allotting a Sergeant or Corporal to each clals ;-
                     and eight flips of paper, numbered refJ,ct\:ivcly from
                     one to eight, being 'prepared, every private fhnll <le ..
                     tcrmine by drawing a ballot, wh~t clafs be is to forvc
                     in ; and in cafe any of tbe perfons belonging to any
                     company {htiU neglccr to attend, at the time and
                     place appointed for claffing the faid company, or if
                   . prcfont 1 fhnll refure to draw as nforefaid, then the
                                                                        foid
                           (,) Or ,1 non.commiffioncd officers or prl·iatcs, 0 by fd\. 15 1 ofth3p, 9S· r,




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                          0 F D E L A \V· A it E..                                                   . itj~
                                                                                      ,
          fa,d Captain or .Commanding Officer thereof lhall ap-- c n A r.
          point one difintercfted freeholder to draw for the abfen.. ~~
          tees,or pcrlons-Co refufing; and when lheclaffes tha11 be · •79l·
          fo fettled, the Captain or Commfta~dingf Ohffic~r of eac 1_1 1 .he cavtaiit
          company tl,all form a. roll, confi 1hg Q t e ~1ght cla1• th:ill fo,m a .
        . fos '.. and the names
                            ' ·-.. ·
                                    and furnames of the men in each        ,
                                                                                 rollo1thcd,31Tc,,
                                                                                 and tt~11fm11 ll
          clats, numbered ;.~!=-cording to the order of ballotung, c:opy to the Ou.:.
         which he l11all kt.ep fo1· his own ufe, (f) ,tranfrnitting loucl.
          forthwith a copy thereof; with a lift of his <;otbmif..
          t'ioned and non-commiffioned officers/>refixed, .to the
         Colonel or· Commandin~ Officer o the regiment;
         who thall enter the fame m a book by him to be pro-
          vided for that purpole; nnd the faid Captai.n 01· Com-
         maading Officer fhall; on the firft Tuelctay in April,
         in every fuccccding yeir, add to the faid roll th<!
          names and lurnatnes of all Cuch male white inh:ibi ..
         tants between the ages aforefaid; who, on the next
         preceding twelve mombs, have removed to and are
         then rcfiding in. that fubdh·ifion; or therein have at-
          tained the nge of eighteen years, except as herein be-
         Jore are excepted, annexing them refpectivcly to fucb
          clats or datfcs as may ftill render all the cfafics of a
          company as nearly equal in numbet' to each other as
         conveniently may be; . .                 .     ..             .       .
              SECT. 8. And belt (11r'lhel' eiiaf!ed, That to the end Prafuofit,e"
         the militia. wbcn called by claffos fhaU be· properly of. ':'i!iri~ how cf-,
         fi ccrcCi,I t l1c ,o
                           c IJ    • orc,er
                                owrn~     J    • h
                                               IS   ere b)' d'lfC',;,\.C
                                                                    n. d
                                                                         · an d 11,ercJ,
                                                                                 led i1110 ~nll c:i ...
                                                                                           tcrvicc
      . enjoined, c_fhat is to /nJ', For the firfl dr:tfr; the Ci1p- by 1:1.,n-cs.
         tu.in of the tirft company, the Lieutenant of the fo-
          cond, and the Enfign of the fourth J focond drnft,
          the Captain of the focond company, the Lieutenant
         oft he fidt; and the Enfign of the third; third drnft,
         the Cnprn.in of the third company, the Lieutenant of
         the fourth, and the I~nfign of the focond; fourth
         draft, the fourth Captain, the Lieutenant of the third
         c~mp::my, and the )~nlign of the firft ;_ fifth drnfr; the
          fifth Caprnin, the Licurennnt of the 11xth company;
         :.tn<l the Er-rftgn of the eighth; fixth drnfr, the fixch
          Captain, rh~ Lieutenant of the fifLh company; and
              VoL. II.                      3 X                          the
            (fl G~e ch~p. 9S• c. fr~: 3 1 fu1~h.er ~rovifi.nn icr chtl!nJ_or comp1~ies :inJ fr •
         .·brinu what n,a!l be a ft:H1~1ent 11ot:fi~at1on ~t c11rdmc11t 11, 111ch c!~fs tut..




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        c, 11 A l". tl1e Enfig' i1 of the fevcnth ,· feventh d._rafr, die Ca1Hniu-
    l     XXX Vf,
        ~ of tli'e fovcnth company, the Lieutcnant·of the eighth,
            1 :-93.         and the· Enfign of the fix.th; the eighth ·draft, the .
                        .' Captai~ of the eighth company, ·the Lieutenant of
                            the fh·cnth, and .the' Enfign. of. the ·fifth; non~com~
                            miffioncd oHkers to take-tour with the commifl1oncd.
                            officers; and the fieldofficers of regiments,.· in every.
                           divifion and· brigade in the·ftate, lliall be _divided in
                           Hk.e irnmnrr; and each clafs to be contidercdas n de-·
                           tn.chmcnt from different corps, liable ·to iervc two
                           months, and no longer, nnd to be· relieved by the
                           c1a{s next in numerical order, the relief to nrrivc ut
                           leaft ,wo <lays before the .expiration of the term of the
    The rule: not to cJals to be relieved ; but nothing herein Contained
    tic !e{(ardcd i11 Jhall prevent the Governor from emplo}'ing and call-
    ca1e of cmcr•
    ,cmcr,                 mg out pan of' rmy c\a\s,
                           • -                             • or any coi-npany or compn~
                            nies, regin;ient or regiments, without relpeft to this
                            rule, whenever the exigency is too fudden to allow
                            the a.trembling of the icattered militia, which com-
                            pote the particular clnHes ; and the forvice of the, per-
                           fons fo called out fhall .bc nccountc<l as part of their
     Whc:1 p,y r.,~11 tour of dmy ; and the pay of the militia. in ac1ual fer~
    r.ommi;:ncc a11tl vice thall commence cwo days before marching, and
    e::J.                  they {hall receive 1iny and rations at the rate of fifteen
                           ri1ilcs ptr day un their return hotlle.
    P.iy of thi: 111i.           SECT. 9. Aud be it .further cuaElt:d, That when the
    liii~.                 militia, or any detachment thereof arc called on duty,
                           the pay of a. lvfajor General (hall.be Si~ty Doll.us per·
                            month ; of each Brigadier Gcnc1;al Fifty Dollars .pti-
                            month; of cnch Lieutenant .Colonel Forry Dollal's pt1r
                           momh i of each lVlnjor Thirty Dollars ptr month ; ot'
                           each Captain l\vcnty•fivc Dollars; o! cuch Licurc.
                            nnnt Twenty Dollars per month; of each Entign Fif..
                           teen Doll:us pt't' monlh ; of cnch Sergeant Eight Doi-
                       . htrs per momh ; of each Cm·porn.l St!\'Cn Dollars per .
                           month; and of each private and muficin.n Six Dol-
    rtn~uy for 11c- la.rs ptr month ; nn<.\ that every pcrl<H1 rcfufing or nc-
    gldliu~ a tn\n· glcclin~ to J)Cl'form his tour of dUt)1 .. if U ..:ommiflion--
    of .!atr,              .....       ,..                              ~
                           cd </fleer, fha.ll pny the t'um of Twenty-fire Doll:in;,
                           nnd forfrir f'uch his cnmmitlion, a11tl if n. non rom-
                           millioncd officer or priv~lte, the fum of Twdrc Dol-
                           lars for ercry lt1ch neglect or rcfufal.
                                 81:.rT. 10. Jb:d !-·~ it further c;w8ed) That when a1n·
                                                                                  ,•J ..... ,·..~;, ,
                                                                                         ~




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        cl3Js.Or,;e}affes of the tililiria.fi1~JI bcca}Jcd:t·p f>C_rform C B·A fl.
        any. tour, of duty, the Brigade Major iliall oaµj~ c.a~h ~~
        and every foch ·perfon fo· called ·to be nqtifi~d-.of.fu~h:                      •;93 •.
        ~all, by a·writtCll•Ol' pruitcd :no,tice. being deliVCfCd tO·HolV 1he militi1
        him perfoaallv
                    .    J '
                             or left at'his
                                        .
                                               houfe'ior.ufoal:,place
                                                            '. . . . I
                                                                             of r:~lled inlo re...
                                                                          . • ' \'ICC 01all be ntl•
        abode,:by fome ot1icer or othe_fj:fitfperfon to bp;etn-:tifieJ.
        ployed for that purpofo, nt ·Jea;flthtee days befQr.~:th.c
        dme of.affembHng the faid mi}iri:i, unJ,eJ~:th~: .60,\:~t-.-
        nor ,on tL' fudc~en exigency,. (ball.·.think prop~.r-to ori;kr.
        an}' part of. the militia into·. innn~diate forrke, a.ntl                                ' i
        then the:.noticedhall be gi\l~n-(cw:immcdhue.. n.rten<l~
        ance. (g} . . ·           . .. . . . ·;              , ..       .. . .                   ..
          . SECT, l x.. And bJ it fierthtt;i!?l(f:t..'lcd, Tharcycry ma.le, ,,~,i~lt)' pri.                           ('ll

        white
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                perfon
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                          within this· · fhtte ' ··between -the· ao-cs·
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                                                                             of: ,•,1tes fornon-
                                                                       o ... , , :111cnda11cc                                011

        e1ghteen:nnd forty-five, .0r ..who Orn.II !Jerca,ft~r. a_t,tiun J.,y,orrel'irw
        the agQ of eighteen yenrs, c,xc~pt _as, before CXGCptcd, :md exc,clfej
        fhall attend. nt the time· and, Rlaces. appoiµtec},. inpl~r-:
        fuancc. of this net, fqr· tl\e ·~pnc;ar;mce o,f.th~ cql11p,any
        or regiment.. t.o which lie. bcloHgs.-; and iC ,a,ny 11,;m:.
        commiffip1)Cd:00icer·'or private a~ .aforefaid,; . . requir~d
         to be armed and-accoutred with his firelock :and ac ..
         COlltren;ents. aforefaid in. go~: order, or if U~Y. ,male ~sin felt •
         white ,perfon. b~twecn the ages afore,faid, ahhgµgl~ not Ante. • .,,
         required; to be fo armed and ?,q:outrcd, lh:ill neglect
         or refufe to appear on the .pamdc, ttnd anfw!!;r t9 his
         name when the. roll i_s called, over, \\'.hich.:t11c com-
         manding otficcr is ,lwrcby <lirc.¢cccl to harc'.Jone at
                                                              1

         the difl:tncc .of ~nc hour after the time nppoi_qted for
         meeting,. not· having a: rcq.lqnable cxcufc,. to be ad~
         judgc<\1of .by,:a Court ·Mar~ial t9 be appointed. by the
          comm~ncJing·oflicer of thc·company, .which fhall con-
          fift of.a Subaltern and four priv;ne.s, the Subaltern to
         be Prcfidcnr thereof, every .fuch pcrfon flrnll f9rfci~ and
         pa.y the Cum of Fifty Cents .. (h )·:                          .
              Ster. I 2 • .A11d be it fm:ther eJl(lt:/td, That every per- ar..l fl'I a~;id
          fon required tO. nttcnd as a.forcfaid, n:t the ti nm and 01 Juty,
                         ·                                     , place
              ( ~) For forllu:r anJ lllDr• rpccial provifion rel,11inr, ti, notifiMion      or
                                                                                             Ir.lit of ,t:11y.
          r,1llcd for to be performed h>· chtli:s of the militia, an,I the pcn~ltie, 'on pri1·~tr1 and
         <ltliccl's fvt non.performance thereof, Ice chap. 95• c, frl\~. ii, 1t, q,                  ·
        . lb) Sec cl1.1p. 9S· c. fo~\. 6, alt~rntions in I.he 11e11~1tics ;1b,1\•e in focb, 11.,111\ IJ,
         1l 1tlin 1.1:1hi11g hl't\l"cen nnn.~lll't1h11cc on ,t~r1 of l'xcrdf.: in cotnl'~IIY or. _li:1tt,1!,r11,
         ,11111 in rc~iments-anJ ftc foe\, 1l-1. 1hcrc pcu:ihirs for nc1r,lc:1 111 ~·xcn:rh: ,ir ,!ur;r
         i:1 r!1t: ,,;10111 of hnrfc-~ml fee alfo fell, z-::i, fol' 1hc 11~11.,lly on petfol\s c:mollcd i11
 ...      t!11· mlliii, \dn 11iall 1hc1eAftcr c,,:11inuc to meet in ,·oluutr~r concpauie~.




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    C ff Al'.
     J(XXVJ.
                          place ofexercile in comp'itny·or in rcgiinent,:.w.ho fhalt
      ~                   then    and· d~erc nppcar, nnd lhall ncglccl: ·or, rcfufc to
          '79l•           anfwer· t~_-his name when the roll is .called over,· or· to
                          obey the Ja·wful _co:mtna:~~s o_f bis commanding offi~er,
                         or to perform hts exe-rc1£e .with the care and attcnuon
                          rcquifite therei.n, being ~onvid:ed of any of-the faid
                          offences· b'y il.'Court ·Mal'ual, to be appointed as afore ..
                         faid, ibull· forfeit' and:,.pa.y '.for every fuch offeJ;1cc any
                          fuin,:not exceeding (?ne Dollar and· Forty Cents.
   Penalty on offi. ' SEC1'. l 3· .And·bf "ftwlher enatled, That every com . .
   sets for non-~r- mifiioned officer who (hllll neo-lefr or refufo to·. appear at:
   tend,mc:e on firit.l          •                      •   l:!:l       • • • b      •
   \1J1K,                 the ume and place appomtcd for cxc1·c1tc m :urnhon
                 or            regiment, liaving no •reafonab]e excuie,, to be nd~
                       ·judged -of by fuch of the officers prcfcnt, as ·any two of
                         the 'fielddfficers i_haU aptloint, and there do ;r(nd per ..·
                         for'm his· dutr, according to his office· and fiation,
                          tl,,itl forfeit and pay I if n. · L~cute~o.nt Colot1el -Com-
                        . mandant Four nolla'rs; :if a MaJ~r Three. Dalla.rs,
                          if a Captah\ 'l'wo Dollars, :and if a Subaltern: or 5rnff
                          Officer One Dollar,and.-Twenty-five Cents;· arnd-e\'ery
                          r.ommiffio'pcd oriiccr, ~vho fh~ll refufe' or neglca: to
             .           :ippcar l\t the time and pfacc:·nppoinced-for exercife or
   On Olhcr muller other muftcr days. h:iving. no ·reifonable excufe.· to bq
   .J)'S,                 adjudged :·of by the. OffiCCtS· prefont, Ql' 8, majority Of
                          them, 'fhall forfeit ·and pay for every fuch ncglecl: or
                          rcfufal, if a Captain One· Dollar and Twen~y-five
                          Ccn·rs,: ·and if :.1. Subaltern. One DolJar. (h} ; · ·
   A Clcrlc to fie            SEC'f. 14. And ;be'it fiwther tJUif/ed; Th'at the co·m ...
   ;arp->intedfor         miffioncd officc'rs of.every cornpany ihall :ipP.oint fuch
   ,~c:11 i:ompJnf, Sergeant thereof, as they Ou11l ju~ge· be-fi: q·~alified, co
                          be Clerk thereto, who l11all-keep 1n·a book t.o'be pt'O·
                          vidcd by him for that purpofo, to· he viewed and ex-
                          amined· from time~ to time by the commandi'ng offi-
   ffis duty,       · cer thereof, a fair and exact account of n.11 fines nncl
                          forfeitures incurre~\ b)' pcrfons bclong;i'ng to the fame,
                          11oting thel'cin, nt the time and place appointed ·for
                          mcct~ng in company, battalion or regiment, the names
                          of the pcrfons belonging to his company, and then
                          abfcnt; .a tranfcript of which crntries of fines nnd for-
                          feit urcs, the faid Clerk lhall deliver to the TrcaCurcr
                          of Jiis rcgii11ent, once i11 every three months, (.i) by
                                                                              ·whom




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         whom"· lieJh;i.11 ·be :paid Four Dollars a year for his cx~x\{·
         1crviccs. as Clerk· afor.cfaid.              :         · ·             . ~
               SEc1. I 5. A1td be it further enaEled, That it lball                      :;93.
         3.IJ,Q may- be lawful for 'the commiffioned officers 'frea(ur~rfor
              .    l       .                                fi 11.   r. 1       •  uch regiment,
         0t . e!l,C l regm1en~;. to meet on ·the·. flL Tue,,,ay                 Jn 10 be chofcr.. an ..
         Sept<imbcr annually,- :ind chufe,-by ballot, to b~. ta- .mn,uy.
         ken under the inq,edion of the. ficldofficcrs, or fuch
         of ·them as. attend, one rcpurnble freeholder to be
         Tr~n.forer to Cuch .regiment for .the year thence next
         eniutng.                                       .
                SECT. I 6. .A,~d he it further e11aE1ed, Th.at the. Trea- To cive bonll.
         furcr of each regiment, before he enters on the du-
         ties by this act required of bim,, {hall give bond,to
         the Lieutenant Colonel Commandant of the fame, in
         iuch fom and with fuch fureties as he 01all approve
         of; conditioned· for ·the. faithful. ·performanc~ of :the
         ~utics· hereby enjoined him,:and fuaH pay ove~ a}l
         tuch ful'ns of money as fhall come to.his bands; in
         putfuance of this.act •. in manner herein dired:cd 1 . and
         at· the expiration of the year for which. he was chofen,
         !Ii.:111 render an account (k) to the State .Treafurer of lll Shall account
          monies that' have come into bis. hands as l'reaforer of :"Ith th c 5tiu:
          .r.. 'd
         1a1          '
                  regiment,     .and. m· what manner I1e I1atI1 d'11po    r. fced r,ca(urcr.
         of the fame; and the balance remaining in his hands,
         if a~1y, flrn._11 be .paid over to t~e State Treafurcr, af.. His compenr.i. ..
         ter· deduchng Twcntj• Cents rn the Pound for lus c,on.
          trouble.            .      .. :·:~ ··: ::              .
                S_Ect·. 17. .A11d /Je. it f1trt/Jer e11acled, That the Trea.- Shalt r1111 for al~
          furer·is hereby impowercd:and required to fue for and finu,
          recover all fines and forfeitures incurred. by this act,(!).
          and if he .fuall ,,negle4 or refufe to fue for and l'eco-
           vcr all fines arid .forfeitures incu·rrcd by.this act, once
           in every. fix months, be ,ball forfeit and pay for the
                        . · ·. .       .                                  fir ft
                            .              .
          .+ Commanding Offi,er o! each company or tronp, :.nd hy him tnnCmittcd to the
          'rre~furcr of ~he rcgimrnt, and a duplic.ite thertaf ro 1lle Commilfary cf milit~r,
          ttorcs, once, in three 'mootha ·at the leafi, under the penalty of Twenty 0.:illars for
          every ntgtca.              '
            l4) And p:ly a,er to 1he Milit:sry Commifi"Jry or his county all (1&ms colletlcd,
          every (.lur!months, drdu8ing twelve Per Cent. for co\ld\inn, by fell, S, of faid chap,
          9i• c-all<I In feet. 1 s, the fald Military Commilfoy is to account annually with th,.
          Auditor of Accounts, rrt~ining four l'cr Ce1H.
               IJ) S:l' fell. 7, of foid chnp. 9~. c, 11 fummnrr mo,te of collcllion prdcribcd, vil,
          tlittrcfs and folc under a juftices · wmanr, :u i:i the c,1fe of co11nt1 rates and lhics.
          2!te alfo fci!t, 16 1 there,




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    C•ll.- -~ p; firft. offence :the'~ fhrii 'of°-.Eig}jt :' Doflars,'. and for. the
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          1 793·           Dolfars. : ·.          , ·. . ,. ·' , 1. , · · · ·                 .
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 .,pproprrnllnn o • 1· c. I." •
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 turcs.                 : :u~y,1.'rcafore_r,of a :regin1ent:i~_pl:irfu~nce ·of ~his act,,
                          Jhall. be appl~c<l ·:for- ,the: pu:i!olei:o_f.pur~hafing arm_s,·
                          :.1.ccoutremenrs· and ammunmon for the·ufo ot 'the· re-·  1


                      · gi·mcnr, as :the :G9yernor lliall ;or~ler -and direa:, and·
                          for purchafing Cuch drums, colours and fifes for, the
                      ·: fo\~ci·al companie's;': _an~ ~lfo: for. :i,aying ·' ttdjutants,.
                          <lrumn1crs and ·fifers; n~d m fuch:m~nner ·as the field ..·
                           officers thereof ·fhall froin · ti me :to time ·di reel:'. (ml · :
 Whcdhilllme ·. SECT~-19. ·11,u/:b~:itft1rther tllaEleiJ; That the 'Go·;
 ro_we! l~Clll the Vernor- fl1all ba\JC fuJl·:powcr and authorit}t, fo cafe of
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                          fuch: pnrt; of the militia~ by clatfes, as to him thilll
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                          .vernor of this :ftine .on· any. infurre8iom, 'reb~llion,: or
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                           mediately ncc~tthry;:t , . , ' ~ ;J ~:)i'iJ :                            'u'    • ",   I        •.,,',' •


  ).lilir.i-1 ncmpt- i :SECT. ·2'0.J._ A1}d :he it-fiwthere1)1aited, ,.rrhat ·no per:.:
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                           from, the place· of fuch:met!ring· oranuffer-br other mi'·
                           Jitn:rr dutyi ;but every foch·ar~Cl:··lhau:~be·. void;~:and
                           the officer making·:t11e fame iliall':be· lh1blc··.to 1an:·ao.1
                           tiot1 ·of tre.fpafs fcir faJfc jmprifonmcnt at. the fuit' of
                           the party fo m:rcfl:cµ, and he 111:ill be forthwith for nt
                           !ilJerty u~~d dil~h.iu:ge(~. from 'tl(c ·c~~o~·\y)of. fuc:}1',~.fl;f
                           ce1\ by ordcr·of ·any one Judgc:or,J ufl.acc·)of t·he .Pence
                           of the ~ounty where ft.i'<.:h ancfl. is made, o'i· '<Jf' 't'lic
                           Capmin 9f tlJc·· ·cQJ'ilP:\ny ~o whi~h. 'fuch pcrfot'i"\_dbth
                         i)i_:}Q!Jg •. '.           I   '   '•,.          '    •I       • • , , ... •             •       .-::.        , :


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                       : O .J/ : D E L A \V A .R E-. ·
                                    ·,
         · . SECT. 21/ Aud be it further ejzaflcd,. That the rules                     C II AP •
         of d11c1p                                . d b~y Congre 1·s·,
               •r. • 1·me. approve d an d e'{l ablilhe                                 ~XXXVI.
                                                                                             -
         in. their refolution of the twcmy .. ninth of March, One                            ' 793 •
          Thoufand Seven 1--Iundrcd and Seventy-nine, tlrnl} be ,yh~t !ule, pf
        ·th~ rules ,of difcipli~e to be _ob_fervcd by the ·n:ilitin of ~~c!t~~;:ct·~~.
         tlus, ftate, except iuch dcvzauons from the fuid rules t:,e mill1i~. .
         as .mny be rendered nccetfary bv the rcquifitions of nn                          .
         act of Congrefs,          intitled, All     a8  more ~lfet?wzlly-to pro-
         "•:ide for the 11a1ia11al defence, by eflablijhillg an tmiform
         militia thrortg·hout the United States, or by fame other
         unavoidable circumfi:ances: It 01all be the duty of
         the commanding officer at every mufter, whether by
         regiment, battalion, or finglc company, to caufo the
         militia to be cxcrcited and trained ngreeablc to the
         fa.id rule~ of dUciplin_e.            · .
             SEc'r. 22. •• A11d be it fi11"1hcr e11a8ed, That if any per- Ptrfons,liC.,h1~a
         fon,
          •
                whether ·officer or foldier, •
                                                        bclono·ing
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                                                                     to the mi~                   0 1
                                                                                   flld\l he fup1, ~.
                                                                               • • t'd ~t the pub;1~
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         htia, nnd called out into fervicc, be wounded or <l,1- upcnfe,
         ablcd while in icrvice, he (foill be taken c:irc of, -and                          -.
         provided for, at the puqlic expcnfe: That the Bri- Hoift;ofli~l:r.
         gad<.- Infi>ecl:or, an<l two rcnutablc freeholders, fhaH horCe!'!rn 10 r.c
         appra,te•• t l1c 1101'le• of eac 11pcrlon
                                                 i.-    r .
                                                        1crvrng     •         r appr:ulcJ,
                                                                as )1ght-hor1c-
        . men, immediately before the time of going into ac~
          tual fcrvicc, and enter the fame in a book; Jtnd ic ,nJ if l:i!lcJ,
          cafo fuch horfo (hall be killed, die, or taken by the ~-:~tltteto br.
          enemy, othc:rwile tlmn by ncglcf.l, he (hall be paid
          the fu'll value of his hork.
                SECT. 23. And be it furtb1.'t CJ111Eltd, Tlin.t tl1c militia or~rlil:~ .. c,:'
          of tf1is ftnte fhi\ll be fubjet'l to .fuch anicl:s <lf" war, a·~ ~;t:·~~i~~i~.Li "
                                                                                                       1



          may be c:fial>l1fhed by the· Oenernl Aikmbly; aw..l
          th.it they firnll be tried by their own officers only:                .
                SEc1'. 24 . .AJI(/ b11 it furthi1r e11,1{tecl 1 That the mili" w~rn ,,') :-: ....
          ti:.1. in.this H:uc fhall be cxcrcil,!tl tWtl intlrullcd in :; :'i~,~ u :,im-  1

           compj,nics, in the months of ..\prll, June arid S:p- · '
           rcmber annu~1lly, m fuch time and 1~lacc us the: Cnp~
           rain or Commanding Oflicer {hall din.:ct, hr. givin~
           notice thereof by nd\'crtilt•mcnts at 1hr~e ut' tht.: nwi1:
           public pbces in his diflricl', nt kalt ti\'C Jays 1,ct·l'l',:
           the day of muil:er; and ia regiments as follnw;:;: 'f h·: mi h ~~;:.
           lirrc regiment on the focond l\riotHhy in Odobcr in ntriti.
           C\'l'.f)' ycttr, the fccond regiment on lhc Tut~ltla.y f1)l.
           iowing, and the third regiment on the \V cdrn:lc.lav.
           ;~111.l t\ on, ticcording t~> their 11'.l!IH:dcal rank,                on
                                                                           t'\"Li'/




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                              '                                                     '     .
    C H ·A. P~
   . XXXVt.             e~ety ·day i~ the- week, Saturdays-a~d Sundays ex.i
      ~                 ceptc.d, unul the, whole .·n1tn1ber- of regiments Chall
          1 19.F
                     . have ,muftcred· and exerdted :in the aforefaid man~
        '       .         .
                        ner: ·.'·1,1)    '
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    Moniet paid in.. S:£c-T •. 2.5~"Ai1d he it fitrlher e11ac}ed,-,Tha.t all monies
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    tiy virtue of thit pa ffimg·. ·llltO t·h e trca1ury,
   to the trufuryi                                 r. ·                                 •
                                                                    • · Of t h·e. d~uecbons
                                                              bYVirtue
   ·~·41 ho"I appro- of. tbis att, tball be appropriated a.s a fund ;for the.
   tt' ""'             purp·ofe· of fopporting·the necetfary .officers for carry ..
                       ing this law into effcd:, and of equipping and f\lr"·
                      .nilhing the milithl. with every neceffary apparatus 'fa(
                       the defence and -focurity of the ftate, the furplus, if
                       any, to be appl'Opria.tcd in tuch manner, and to fudi
                       ufes; as the General Affembly (hall from time to t imc
                       direct and appoint-; a.ml- the State Trea_furer Oiall keep
                       allihe monies arifing from fines f?y tbe militi:1. law, fc ..
                       parate from all ·other. monies,. and keep. a feparate
                       book of the fame, nnd the expenditures thereof pur-
                     . fuant to the diretHons of this aa. (o)
   1'he Covernor         ' SECT. 2.6. 411d he it further e1JaEled, That the Go-
   ~:]~:: ~iot~~-
   rat,
                       ve1·n~r Qiall _ap pointbnn A~jftut.ant General in ~1c £b.tc,
                       who,e duty 1~ f11all 1c to d1 ribute all 01·ders 1ron1 die
                      Commander in Chief of the ftate to the foveral corps 11
                       to nttcnd all .public reviews, when the ·c01nma.ndcr
                       in Chi~f fhall 1·eview the militia, or any part thereof~
   Hu duty,            to obey all orders from him relative to carrying into
                       execution and perfecting the lyftems ~f military diici-
                       pline eftabliChed by this acl:, to furrtith blank forms
                       of difttrcnt returns that may be required, and to· ex--
                       plain the principles on which they fuould be made,
                       to receive from the fovera.l officers of the different
                       corps throughout the ilate returns of the militia l.lll·
                       der their comma.ml, reporting the a.frual fituation of
                       their anns, accoutrements and ammunition, and
                       every other thing which relates .to the general ad-
                       vancement of good order and difciplinc ; all which
                       the fo,·crnl officers of brigades,' regiments and batta~
                       lions nl'C hereby required and directe,l to make in the
                                                                 ·                   uiual
                       f •} See rcll, S• of chap, •H• c. the fortgoin; time; nltercd, to wit, ef eicrc\(e in
                     toinpnnlc1 once in the month~ of Asiril, .lugu1t and November-in battalJous in the
                     JJMl,h of Mo1y-and in te1;ime11hin \he m,nth of Jute 11nnu;itly,

                        ( , 1 Sec nlfo fct.h, IOt I I I of chap, 9$• C, fome altmtlOnl 11mll\ with more C)tll
                     1ifit apgro,rriltlons,




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                        0 ·F D ·E L A. W A R E~.
                                                                     A l'.
       u(uaJ manner• .fo .tha~ the Adjutant Gen~ral may be CH    xxxvr.
      ·.duly furnilhed thel'ewith; from all which returns he ~~
                                                                  J7~J·
       {hall ·make proper excracb, and lay the fame a·ooually
       before the· Gover.nor or Commander in Chief of the
       ftate, and tranfmit a duplicate ·of the fame to .the Pre•
       fident of the United State~; (p)      · ·· ·      ·

          · Pajed Jmze ~8, ~79.3•


                      C H             A P.       XXXVII. c.
       A1t ACT to e11a/;/e Amra .Adams and Joh,z Brown oj Kmt                             1793•    1

         cou,zty, to hring from 'the fiate of Maryia11d into this
         jlate, two Negrofla_ves.         . ·· .
           . Pa.ffed Jmrt 18,' 1793.-Private afr.


                      C H A P.                   XXXVIII. c.
       -,dn ACT to vefl the title of a lraB of lmul i11 Phcb~                             o 9J.
           Snow, Jane IJ'ilfa11, a11d Robert Rees.
             Paj]'t:d June 18, 179.3.-Private net.



                        C. I-I A P.               XXXIX. c.
       /lii ACT for· the better regulatio11 of diflr~ffes jot ,·e111,
        ·      and Jot other putpoj'i!s thel'ein mcllliOJ~ed.
      · 'WHEREAS for want of due regulation of di{: Prea:nb!e,
                   , treiies for rent muc;h injury hath been fuf.
        fcrcd,
           SECTION 1, BE lt th,,1refore ena1,':'/e,I by the Se11ate aJI(!
        Ifoufe of Reprefeutativcs of the jlate of Delm.varc fo Gt-
        ncral AJ]i!mbly met, That from and after the publication
            Vot. 11.                                3Y                                   of
          (p J See fell, u, of chap, 95• c, a repeal of lo m1cf> 41f thi1 a6 aa it ch ere 'altcd
       :.nil :nncnd.:d, or othmva)'s ,rovidcd,
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•                                                              This edition contains the rare
                                                               "Ye.zoo laws"         to be found on
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                                                                   p.304    no. 296
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                     i,tatt of ~torgta.
      FROM ITS FIRST ESTABLISHMENT .AS .A BRITISH PROYINCE DOWN
                     TO THE rE.AR 1798, INCLUSIVE~
                                                    AND THE

                     PRINCIPAL ACTS OF· 1799:
                                                    IN WHICH
       It comprehended the declaratlon or lnd,pendencc I the State Connituticma or 11'7 and 1789, with the·
                                       alterations aod amendment• in 1794,                 ,.
                                                   ALSO THE

                                    Coriftitution ef 1798.
                                                  IT CONTAINS
      A, well all tru, Law, in force, •• thofc which are deemed ufcfu\ and netelfary, or which are explanatorr
                                       of exin:ing Law,: .togfflaicr, wit.h the

        TITLES OF ALL THE OBSOLETE AND OTHER ACTS,
                                               AND CONCLUDES
      WITH AH APrEIU>1•    containing the original Charters arid other Documents, afcertaining and defining the
        J.imitt and Bound>ly or the State1 all tbu Treaties with the foutbem tribce of Indian,; the orticle, or
        Confederation aad perpetual union; tho Con!litution of the Unhcd State,, and a few A~h of Congref,.

                       Together with a copious Index to the whole.

                                                        JJT
                            ROBERT & GEORGE WATKINS.




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                                                 ADDRESS'.

                                        TO THE PUBLIC.


                               TH.E follo'll!ing 'Work is offered to the public und;r a con-
                   oittion ef its utility. Not incited t.o the arduous undertaking, by
                    ambition for literary fame, or with a view ef having their namr11
                    cnr()/led in tbe catalogue qf contemporary authors, tbe "o(JtJJpilers claim
                  ,no merit but from their zealous assiduity and labor in the compilation.
                   Having witnessed the numerous advantages resulting_ from tbe suc-
                   eess of similar exertions, in other States, they determined to pursue
                   die example and collect the whole of the State laws into one view.
                   Such a work bad been long called for by the public, and bad been-
                   contemplated by others at an earlier period; but, either from the dif-
                   ficulty <if the undertaking, or the want ef legislative s<111ction, every
                    attempt, in tbis State, bas bitbrrtafaikd of success. Notwithstand-
                   ing these difficulties, the present compilers observing witb much con-
                   cern tbe great uncertainty 'in the municipal regulations of tbe State,
                   ttnd tbe embarrassments thereby introduced into every department' of
                   tb_e government, but particularly in the cour~ efjustice, whither one
                   ef them was led by:professional duty, they determined tbougb, strange
                   to relate, not without opposition, to mcounter the task uj1on the cre-
                    dit of their own fortunes, and hazard its success on their own indi-
                  'IJidual reputations.
                                    I

                           In a State wlx>se government' bas been the theatre ofpoliti-
                  cal agitations, in wbicb the reciprocal &truggles ofjarring·andopjJos- '
                  ing intere.st:s, bm,e produced tbe alternate adgption and abrogation qf
                                                                                 opposite..




                                                                                    -,.   'ltt,.

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                                   [   iv    J
  r;pposite measures, the civil polity c(lm1?t but he subject to frequent
   and variagated changes: This tmfort1111ately bas been too much the
   ca~e with the State whose legislative acts are here 'presented to the
  public,· and this too, bas added much to the labor and perplexity q/
  the undertaking. Jlfauy ef the laws _have never been published, some
  ·are e11tir,•{v losf 01· destroyed, others in a tattered and mutilated con-
   dition,· and, the mass fi·om whence this collection .is 111({clc, bas bi-
  tb~rto been, almost, as much out <JI the public reach as the law/ qf
   Callgula. The compilers, however, have exercised their utmost. as-
   siduity, in r.JIMecting all the laws i11 force, _pa~~ed s&ice tbe first .set.
   tlement ef the State as a British prov{nce, together with such '!f tbt,,
   repealed or obso!l'te acts as rivere deemed useful and necessary, as go-,,
   verning the transa·ctions 1mder them, while in force: These they bacoe
   arranged 1.vith the titles qf all the other laws to be found, in the Of-
  der ef time in which they were passed, •with such marg.inal notes and
  references as were deemed_necessary to e.lucidate the objects ef suce-€ed-
  ing legislatures, ·To which is subjoined the fundamental r_egulations
  under which they were en.acted. . The crmstitution ef the State as re-
  'Vised and amended at dijferent periods, the articles qf cotifederation
  and perpetual union, and the constitution ef the United States, They
  have. also added, tb_e prigtnal charters and other documents, a.seer~
  taining and defining the limits and boundary ef the . State; all the
  treaties ~vitb the_ southern tribes ef Indians, and a .fer.v acts_         ef
  wngress,

            lYbilst the compilers have zealously endeavoured to fulfil
  their engagements, they have to regret the unexpected delay ef the
  J;ublication. It is, however, to he .hoped the r:auses will not be over- .
  looked. Soon qfter· their c.ommenceinent, measures ·were taken an.d
  pursued for a change in .the constitution. Thi~ was too importanl.
                                                                       not




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                                                          [
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       not to •wait t/Je issue and i11corftorate the result. They /Jave not OJI•
       ly ·done tbis, 041./ tbe delay bas enabled them to add tbe laws of seve-
      .ral years more than ol'iginally intended; and the •whole code .bas
      ,recently rmdergoue a thorough revision. In strfrt conformity with
       those e11gagements~ a guide for justices of tbe peace should /ik{."(vise
       have been amze.,:ed: hut the new matte1· already added, it is-jJresumed,
      'f.tJi/l .bc deemed more than adequate. Indeed it bas hee11 considered that

      the guide will be more useful, by being published in a small jJortable
       volume. This •will he done as soon as possible. The manuscrijJt b<l§
       been long prepared, but the many alterations in the constitution a~d
      laws have rendered a revision ofthat too, indispensably necessary. Such
      ef the subscribers, however,.as may not haue occasionfor tbe present
      work, without the guide, •will be at liberty to withdrww their names.

          .    .dnotber cause of delay Jpay justly be a.scribed to. {be agitatio1_1
       of tbe public_ mind, during its proiress, and to an opposition, wbicb
       sought ta destt"oy tb~ effects and enj<>y the fruits ef .their labor, by
      an indelicate intetf'erence, and an illiberal comjJCtition.*
                                                                                                         . .Altbougb
           • During the 6t!Uetllon of the leglllature of 1799, when the digci\ wa• in ihc prd,, a candid reprefentatlou
        wu made to them refpe&ing It, progref,. 'fbcy took up the fubjec!l: and referred it to • large and rcfpcc!l:able
       joint commktce from•the two brauch11, Thie colllmittee rcponcd fp<cia!ly, and onanimouily rcooruoiended
       an appropriation 'of fifte<'n hundr<d dollar,, and added that they were the more Induced to recommend tho
       adoption oftho mcal"uro " from a coavi.!llod that the Md digell i, a work of ~cat labor and merlt and will be
       , • of Importance in forming a complete digcll, agreeably to the 8th fc&. of the 3d art. ~f the conllitution; and
      •• that the lliid Robert and George Watkin, arc ,entitled to a gcnorolll retribution for thelr labor.and cscttloo,.'•
       It wa, thereupon rofolvcd una•lmw,JI:; in the hour. of reprefcntatlvc,, " that the fom of fifteen hundred JoUor,,
       " be approprl•ted" a«ordingly, to their uli;. The fcnate concurred by a luge majority. During ito rrogrdu
      however, fome oppoOtion arofe in the fenate, 'rhis wa, at length ••plained by one qf the governor', particular
      fri•ndt who had the .,.;y1:,, openly, to move that an addition be made to the •PPropriatlon ac!l:, in the word,
      iullowhlg 1 " The fom of two thoufand dollars, fubjec!l: to the order of th.c !f•vernor, for the pur.,ofe of enabling
      u the ..ccotlve to promulgate the laws of the State, agreeably to the 8tn fo!l, of the 3d art, of the conlli-
      u totlon.'• Thi• was negatlved--yea1 4, nay, u, Aud hi, excellency wu dlrccled, by a lecood refolutioo,
      to pay the firll mentioned fum on demand "out of the contingent fund," Still unwilling to fubtnit to tho
      wUI of the legillature, hi, excellency ha, not only been pleated, u, .tbe reccf, of th.it body, to dlfapprove of
       s.he appropriation, hut has alto charged the leglil,turc with violating the conllitution in making whal he rail,
       a "grituity•' of the public money, and withhold, the amount,
          On thefc fa~h, the cotnJ>iler1 forbeu to commont,                                              ·




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                                             C vi __J
                     Although the at1tbo1·s ef' this work carmot boil$t of tbe p«tn,..
             11age of ALI, their rulers, they bave tbe consolation to believe, that in
             offering it to the public, they arc sanctwned by the aJiPrO'Ving voice of
             tbe 6est infottmed and most impartial characters ill the community..
             To tbe. indulgent eye of a·gtnerous public it is, therefore, d,eetfully
             submitted.

                       The want of age and e*rience in tbe comp,1ers, engaged in
              -an arduous profession, added to the circumstances already stated,
             forbid tbe hope of petfect correctness. Conscious, however, of tbe
              best intentions, they venture to.flatter themselves tbat tl?e errors will
              /Je .found neither numerous or important.

         a            Should a greater num'1er <if ropi-eJf·l,e ~ tiHJ.1N.t1•1MtftJ
             p,-inted, a second edition will be publisbed in octavo, in which all
             intermediate alterations in the laws, will'be duly noticed, and tbe ut-
             most care taken to correct and improve the.former.

                      In a representative government, it is qf thc utmost consequence
             to tbe/Jody oftbe nation, to be rightly informed ef tbou laws and re-
             gulations by wbieb their duties ar.e defitttd. an1 their rights secured.
              To promote this desirable object, as far as was in their power, bas
                            •
             l,een the leading motive qf tbe compilers. That it may answer the
             ends proposed, and advance tbe public good, is tbeir ardent wish~

                     ,AUGUST.A, l JuLY,     1799,




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w· -                            --------                                                     -- J




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r
              RAVING been frequently consulted by Mess. RollERT and
         GEORGE 'W ATKrns, during the progress of the following work, we
         do ,certify, that in our opinion, it is correct, will be of great



'
         utility, and merits the public attention.

                                                       GEORGE WALTON,
                                                       WILLIAM             STITH, Jun.
                                                       SEABORN JoNEs,
                                                       GEORGE \VALKER,
               Augusta, NO'V. 15, 1798.




              IN conformity to the all: of the Congrefs of the UNITED STATES, intitfod" An
         Acl: for the encouragement of Learning, by fecuring the Copies of Map3, Charts
         and }Jooks, to the Au~hors and Proprietors of Cuch copies during the times therein
         mentioned."




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    458                                                DIGEST            OF THE
                                                                                                            .
,   A, D. 1792.        An .AB to re.vift and amend the militiia /(IIW of thi State, and to ndaP,t .
                         the-fhme to the n8 ef. h-e crmgrefs ef the llnjted States,. ptif[ed th6
      Nu, ½68.

                         eighth day of A!ay, one lhoufa nd ".feven hundrtd a,nd ninety-two,
                         entitled ~0 An a[J more ef/ellua./ly to p rovide for the national
                         defence h1 ejlabtifl!i,i/, ,m imifonn militia lhrough-0111 tbe U nite,d
                         Sta-t u/''                                                               ·
    ln cOnfnrmiry
    tn all or con-
    grcf~, the mili•
                       I.   BE       it tJJnEled by th, Jenni, and houfi of repref,11tati'flt1 of t!N- Stat, of Ceorgia, in
                                    vneral a..ffembly met, That in or~er to comply a~ nearly as may be convenient
    iia bid off into   with the ale of congrefs of the United States, pa/fed .at Philadelphia, on the eighth
    divifi.001, &.c, '
                       day of May, in the yea r of our Lord, one thoufand feven hond red and ninety-two,
                       entitled "An ale more elfeleually to pro"ide for the national defence, by e!tabli!h-
                       ing an uniform militia throughout the United StatEs ;"-the militia of this State !hall
                       be laid off and apponioned into divifions, brigades, regiments, battalions and compa-
                       nies, in the manner herein after particularly expreffed.
    Bri,:sd,a and di -     II. And b, it further enaEltd. That the counties of Camden, Glynn, Liberty and
    Tifion, dcfi.&,d,
                       Chatham• fhall compofe a brigade, to be known as the firft brigade of the fir!!: di~-
                       vilion ; and the counties of Effingham and Burket as the fecond brigade of the faid
                       divilion ·; and the faid two feveral brigades !hall compofe the fir!t divilion of the
                       militia of this State; and the counties of Richmond and Columbia !hall compofe a
                       brigade, to be known as the fir!!: brigade of the fecond di.vifion; and the counties of
                       W a{hington and Greene as the fecond brigade of th.e faid divilion ; and the faid two .
                       fcveral brigades lhall compofe the fecond divilion of th~ faid militia; and the county.
                       of Wilkest /hall compofe a brigade, · to be know!l as the fir!!: brigade of the . third
                       di\·ilion; and .the counties of Franklin and Elbert§ as the fecond · brigade of the third
                       divilion, and the fa id two feveral brigade11 lhall coni.pofe the third divifion of the faicl..
                       militia.
    A major general        III. And be it further enal'led, That each divilion of the faid militia lltall be YRdert
    to commaod
    each divifioo .    the direclion of, and be commanded by a major general, and each brigade lhall be
    A brigadic• gc- under the direction of, and be commanded by a brigadier general ; and lhere Jikewife
    ncnl, each bri~
    gade.               /hall be appointed an adjutant general, to have the ·rank of lieutenant--colonel: All
    .Ailjatan.t gene• which faid officers /hall be appointed and commiffioned .by the commander in chief 0£
    n), rank of
    lieut, col,        this State, under the regulations an·d re!triclions herein after pointed out.
    ~~ij~:dtoiobe theIV.          And 6, it further taaE/ed, That within two months after the p:lffing of this act
                             fa id feveral brigades {hall be fob-divided into regiments, battalions and companies
    :!fi:::d,~~:
    panic,.
                       as nearly as may be, in conformity to the aforementioned all: 0£ the congrefs of the:
    Provi1o.           United States, hy the executive department of this State. Pr1XJided, That the refpec-
                        tive counties be kept di!lincl from, and unblended with any other county in fuch
                       fub-divifion, unlefs alterations in fuch counties iliould hereafter by law take place •.
                                                                                                                                 v.
                            • Efliogham , J\,l'lntoOi, and Bryan, added .         ~
                            t Montgom.cry , Scriven, Bullock, andjcffcrfoo, added, See ad, of , 795 , No.• $J4, and 1 79 6, ?:lo, sh,
                            J W.uren and Lincoln, aridcd. ·
                            S Ogl«hurpe and Jukfon, added.




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                                             LAWS OF GEORGIA,                                                                4S9
    , · V, A11d hit J11rth1r mafltd, Tha( the officers of companies fhall be nominated A, D. 1792,
     by elecHon of the citizens liable to bear arms in each company di!lricl:, and be ap- Cnmpan)'      No, 468,
                                                                                                               offictr,,
                                                                                                                                     •
     pointed agreeably to the connitutiou by the governor of this State; under th~ follow- ho• appqlot«'J,
    ing rules and rell:rictions, that is to fay, the free white inhabitants fo liable to do
     militia duty fh«II, within ten days after fuch coiµpany dinricl: (hall have been defined
    by the executive, alfemble at a place to be appointed therein by any two or more ma-
     ginrates within fuch company dinricl:, or if there fhould not be two ref,ding magir-
     trates witijin fuch dill:rill:, by any two or more magill:rates of the county fuch .com-
     pany may be in, ten days public notice ~ing fir!l: given by fuch magi!lrates of fuch
     meeting and the intention thereof I and the. free white inhabitants liable to do duty
     therein, and fo convened, /hall proceed to nominate, by ballot, one fit and proper
     perfon to fill each refpecl:ive commiffion of captain, lieutenant and enfign of fuch
     company I the elelHon fo h~ld, and the names of the perfom1 fo nominated for each
     commiffion as aforefaid, fhail be certified" under the hands and feals of the faid ma-
     gi!l:rates, and be by them fent, within fifteen days fo c~rtified, to his e;xcellency_
     the governor, who fhall within five days after the receipt thereof1 appoint and com-
     miffion the perfons Co nominated for the re(pecl:ive commiffions of captain, lieutenant
     or en!ign, as the cafe may be, and in cafe of the neglecl: or refufal of the inhabitanu
     of any company dinricl: to meet, and by ballot to nominate the perfons aforefaid
     withih the time herein before pointed out for fuch meeting l the executive department
   . {hall proceed to a,ppoint :the officers of !uch compa11y diftticl: without MY ri{ch no-
     mination,
         VI, .dnd l,e it further tnaEl,d, That the captains and fubalterns of companies fo, Li~ut. col,, and
     »ominated and appointed !hall, within twenty days after the notifica~ion of their                            ;;;t~~·;rbbc ~t;
     appointments by his excellency the governor has taken .place, meet and affemble at ''"""""" 0 :il':,r..
     fome conyenient place within the battalion or regimenta,l dillricl:, as the cafe may be,
     t~ which fuch officers belong, under the direct.ion of any two or ·more of the captailli
     fo appointed, not being candidates, ten days notice being .given of the meeting and
     its inl'ention ·by-themJ and when fo riet, ·the {a!d officers fhall proceed to nominate,
     by ballot, ,one lit .and proper perfon for each commiffion of lieutenant colonel of the
     regiment or major commandant of the battalion, as the cafe may be. Provid,d, That Provifo,
      where the lieutenant colonel, when appoin.ted, will command a regiment, conlining
     of .two battalions, the officers of companies of both batt~lions /hall alfemble together
      in like manner at a conevl)ient place for each battalion, under the, direcHon of two or
• more captains, one of which at lea!l: belonging to each refpcctive battalion; and the
     captains fo alfcmbling, the faid officers fhall, within ten days after fui:h nomination,
     certify the fame, and the names of the perfons fo nomiaated, and fend fuch certifi-
      cate .to the executi.ve department, which fhall within five day.s thereafter, appoint and
     commiillon the perfons fo nominated to fill fuch appointments 0£ lieutenant ,olonel
     or .major, as the cafe may be,                                                  .
 '       VII • .d.114 he it a!fa malltd, That 'Where a .country will not permit its being formed. c,,unrJ., not ,...
     •anto two
             ' batta l'10ns, ·the ,ame
                                    r:    /\. 11 .com,r-e
                                          ma         -r. a regiment
                                                              •      to. be comman
                                                                              ·     ded by. a heu-
                                                                                               .   ulnlng rwo bat•
                                                                                                   ,,11011,, """ •• 1..
      wiant colonel commandant,t                                       ,                , · VIII, comman~od.
     • See aa of 1793 1 No, 494,, .r.,a:s, .pointing out the-mannor or ~crtifying and returning fuolnl..!lion•,
     t To be commaodcd by a 01,jor if a county"-• aot more than 4 compa!lic,, ·sec aa of 1795 1 No, SH•
                                '                                                    '




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     460                                                 DIGEST OF TH.E
     A. D. ·1792.             VIII . .Al/fl be it further rnnctrd, That where any officer now in commi-ffion Oiall
         No. 468.
     Offi .Tr1, hu,v to   b~ nominated an,I appointed to fill the fame commiflion he before held, he lhall tali.e
     l-1,i,,C n,nk .
                          rankt from the date of the commiffion he fo before held, any thing herein con-
                          tained to the contrary notwithnanding, and the officers in commiffion at the time of
                          paffing this all /hall continue to acl: until the nomination or appointment of fome
                          other per:on to fill the fa.me.
._   J:·nn!u nen11, ho"'
     h.1~m1rle-,
                              IX. A11J be it n1afl,d, That the comm>,nding officer of e.1ch company of· i:,, iliti,1
     Pcrfons liable to ffiall enroll th e nam~s of all the male inhabi tants ({bves excepted) above the age o
     duty.                eighteen and undtr the age of forty-five years, who {hall hne refidtd therein. for
                          the fpace of ten day s, and fhall caufe the perfons fo enrokd to l,e fommoned and
                          duly noticed by a proper uon-commiffione,1 officer, to appear at fuch times and places
                          ;ys fie !hall appoint for company mullers ; am\ the perlons fo enrolled, fhall be from
                          tl'ienceforth deemed and held to belong to fuel, company, and liable to appear at all'
                          its muners, whether batta lion or company, and 011 all other necelfa.ry occdion,-,
                          and to peifor m the wlt o!e duty 0£ a militia m.m withou.t a-ny ·forthe r notice wha.t_!o-
                          ~ver.
     Accoutrcmcnu.            X. Antil8 it furthtr -,,,acttd, That e~ery perfon fo enrolled /hall proYide bimrdf.
                          agreeably to the all: of congref,i, with a mulket or 6relock, a fufficient bayonet and
                          belt, two fpare flints, and a knapfack, a pouch with a box therein, to confain not
                          lefs than twenty-four cartridges, fuited to the bore of his muflet or firclodc, each
                          cartridge to contain a proper . quantity of powder and ball ; or with a good rifl-e,.
                         _lrnapfack, fhot pouch and powder horn, twenty balls fuited to the bore of his rifle,
                          and a quarter of a pound of powder, and fhall appear fo armed, aecoutred and
                          provided, when called out to exercife or into fervice; eJtcept that wflen .calted out to
                          nercife . nly on company days, he may appear without a lmapf;tt:k, And if any
     }'inc! of private, perfon fo enrolled lhall negfea to prcivide himfelf, or {ih all appear at muftcrs not pro-
     for dcficiencie,
     and non--&ttcnd· perly ac coutn:d as before Ul;lrdJe , or fhall neglecl: or rcfufe to apptar at filiililhttal-
      &nee.               ion or company muners, or on any other neceffiiry occa!ion, at any time "•ithin nine
                          months after the palling of this acl:, !hall be lined in a furn not exceeding two do);.
                          Jars for every fuch offence ; and for every fuch n~lecl: after that time, the furn not.
                          exceeding fix dollars if a battalion mufler, and four dollars if a company muller.
     Field and com-            XI: And h, it furthrr rnnrt,d, That every commi!Iioned officer of the rank of
     pany officrn         captain   and unde.r, fhall provide himfelf with a fword or hatiger, an efpontoon, anti
     uniform, fubjcd
     to fine for defi- a complete fuit of uniform, to be determined on by the officer commanding the
      ciencies & nou-
     attcnd;mce.          brigade be belongs to, and in cafe of any fuch officer appearing at mufters, or on
                          other necelfury occafions, not fo provided, at any time within nine months after his
                          appointment, every fuch officer fo offending, or who fhall neglect or refufe to appear
                          at fuch mufters !hall be lined, if a captain, in a fum not exceeding thirty dollars;
                          if a lieutenant, not exceeding twenty dollars; and if an tnlign, rrot e1ceeding fif.
                          teen dollars. And every general and field officer fhall in like manner appear, wllen
                          on duty, in a complete uniform, and arme<\ with a fword or hanger ;--the uniform
                          of the general officers to be determined by the commandet: in chief, and the uniform
                                                                                                                   ·ef
                          t Sec all of 1793, No. 494, fi:61:. 6, rcfpe<!tint the An\ or. licutcDanlrcoloAclt,




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                                        LAWS O 1'' . GEO R GI A.
 or' the field officers, by the officer commanding the brigade; a·nd in cafe of tl1eir A, D, 179111
   nppearing at mufier, or on other nece!fary occafi~ns 1 not fo provided, every fuch                  ~u. 468.
   officer {hall forfeit and pay, if a major-general, a fum not exceeding two hundred
   and fifty dollars ; if a brigadier, a Cum not exceeding two hundred dollars ; ar.d if
  a field officer, a fum not exceeding one hundred dollars.
      XII, .And lr it f11rthM' ,n11cftd1 'fhat the faid militia !hall exercife in battalion Battalion or,..
   twicc.i9I each year, and in companies four times in every year j and in cafe of neg• r:~;~atal ;snuf•
  !eel thereof, if a battalion or regimental mufier, the commanding oflicer of fuch
   regiment or battalio11 !hall be fined in ;\ furn not exceeding one hundred dollars, to be
   impofed by a court m~rtial, to be ordered by the officer commanding the brigade ;
   and if a company mufier, the officer commanding and fo neglecting lhaU be fined
   for c1·ery fuch neglect in a furn not exceeding thirty dollars, to be impofed by a
   court martial,_ to be ordered by the officer commanding the·rtgiment or battalion to
   which fireh company !hall belong, and due notice fhall be given of Cuch regimental,
   battalion or company mufiers, by the officers commanding the fame.                             ·
      XIII. .Lind bt it further mafled, 'fhat every officer commandi"ng a company- !hall) Company n:ut-
  ·on tl,,e days appointed to exercife his men by company, have the fame formed under tm.
  ·arms by eleven o'clock in the forenoon,, by which hour every: perfon liable to militia
   duty in fuch company (hall attend, and the faid officer !hall then have his roll calle,L
   over, and· mark. all defaulters, and !hall proceed to infirucl: and exercife his men in..
   the eyolutions and manila! exercife pointed out and required by the before m~ntioned. ·
 ·na of congrefs, and in· cafe of neglecl:of fuch inll:rucl:ing and e1ercHing, the officer
 'fo  commanding !hall be liable to a penalty not exceeding thirty dollars for every fuch.
   neglect.
       XIV. .And· h it further enaE!ed, Thnt if any perfon liable to bear arms, at any OfficcN 111d pri.
   exercife or train'ing, hereby appointed, !hall behave in a contemptuous or unfoldier- VJti.:Uo           be fined
                                                                                                   or calbkr.d by
 'like manner, at either battalion or company murlers whilfi under.arms, or !hall infult court nnrtial,
                                                                                                   for mifbchavior
   or threaten his field, company or"other ofli.cC'l' commanding, after his difcharge, for "rdilbahedit:nc.i;
   or on account of fuch officer's performing the duty hereby required of him whiHl: uf orders.
   fuch Pf!rfon was under arms, every fuch perfon lhall for every fuch offence forfeit· and
   pay a fum not eitceeding four dollars: And if fuch offender !hall be a commiffioned
   officer, and !hall be guilty of contemptuous or unfoldierlike behavior whil!l. on duty,
   or !hall, after his difch:rrgc from fuch duty, threaten or infu!J: his fuperior officer for or
   on account of the duty required of fuch officer by this alt, every fuch commiffioned
   officer fo offendfog fhall for every fuch offi:nce forfeit and pay a fum not exceeding
   twenty dollars or be cafhiemt, at· the option of a court martial,
      XV • .d11d he it farthtr mat:ted, That any perfon interrupting the military exercifes Pcrl"oll3 intcr-
   required by thi~ aa, may be committed by the officer commanding the body of militia rupring             miHtary
                                                                                                   c:u:rdfo ntol)' -It..:
   fo interrupted, to the nearefi common gaol,. for a fpace of time not exceeding five conuniued to
, ·dJiys for every fuch offence,                                                                   g•uL

       XVI. And be it further maflcd, That every mafier or ether perfon who hath the M•ner, or in•
   command, govhnment ot power over any indented man fervant, liable to do militia dented                   fcrvant,
                                                                                                    tu equip .tht:m,
   duty by this act, fhall 1 at hi& or her own proper colts and charge furnilh and provide &c, anJ fuhj,ct
                                                                                                   to fine fur D<g•
                                                                                            every 1.~. ,




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                                           DIGEST OF THE
A, D. 179z, 1:very fuch indented man fcrvant during his fervitude, with the arms, ammunition
    No. ~68,          and accoutrements direc.led by this acl, and every fuch mailer or other perfon lhall
                      fend fuc,h indented fervant completely armed and furnifi1ed as is herein req_uirnd, to
                      all battalion, regim'ental or company mull:ers, and on all other necelfary occafions,
                      which fuch indented fervant would have been liable to attend were he not a bondfman;
                      and in cafe fuch indented fervant fiiall not app1:ar thereat, or on appearance fhall be
                      defecl. ive in arms or accoutrements hereby required, fuch mailer or ·othei.,perfon
                      fhall \,e liable to all the fines, penalties and forfeitures it'l1pofed in like cafes on other
                   ' perfons liable to bear arms by this all:.
Fines and for-             XVII. And be it fiirthtr maEled, That the · fever.al fines, penalties and forfeitures
fcitum, how to to be in,fliB:ed by this acl on' perfons liable to attend at company muflers, may be im•
be in1pnfcd b{.
cour11 ruartla, pofed by a court confill:ing of a m~jority of the commiffioned offic~rs of fuch com-
                      ,pany; or in cafe of v.acancies of two commiffioned officers of the regiment or bat-
                      talion fuch companies belong to. Provided, one of the faid officers be an officer of
                    ' Cuch company, And the fevetal lines, penalties and forfeitures to be inllifud on
                      perfons liable to attend battalion or regimental mull:ers, lhall be impofed by a court,
                      .to con fill: of at lea!I: feven commiffioned .officers of Cuch battalion or regiment; and
                       it is hereby made the duty of the officers appointed members·of fuch courts martial,
                      -on being duly notiied thereof, to attend the fame; and in•cafe of neglell: or-rcfu.
                       fal of any fuch commiffioned officer to attend, he Oiall be iiablc to the penalties herein
                      JJOinted out for non-appeatancc at regimental or bnttalion orders ; aqd ten days notice
                      .at leafl, fa writing, fhall be given dcfaul!ers and olfenders to \;e tried at fuch com-
                       pany, 'battalion or regimental courts martial, under the hand of the commanding
                       oh\cer .of the company fuch olfender or defaulter belongs to, who fliall be fcrved
                       with the fame perfonally, or be otherwife notified by a non-commiffioned oa\:er
                       thereof, by Cuch non-commiffioned officer's leaving the fame at Cuch defaulter's or
                       offender's ufual place of abode, and proof of fuch fervice fuall be, made to fuch
                       court, on oath, previous to its proceeding to the . trial of Cuch olfender or defaulter,          ··:
wamnts;there- . XVIII. And he it further mucl~d, That all warrants for fines, penalties er for-
 '10r, ho:, ,to bde feitures .inflic\ed by this all: fhall, if in confequcnce of the fontence of a cpmpany
c r-.iwn '-"' ,ervc ·                •                                                   •
                       ,court martial, be under the hand and feal of the commanding officer of the com-
                       pany I and if in .confequence of the fentence of a regimental or battalion court
                        martial, under the hand and feal of the commanding officer of fuch regiment or
                        battalion.; and every fuch warrant lhal! clearly cxprefs the offence, and recite the
                       fentencc of .the .court, and. lhall be dircll:ed to, and executed by a ferjeant of th~
                        company the offender belongs to, .or be dire8ed to, and executed by any lawful con-
                        llable of fuch di!l:rill: ; and fuch non-commiffioned officer or conllable fhall make
                       return of fuch warrant within .thirty days after his receivin.g the fam~ ; and if on
                       fuch return it fiiall happen that fueh offender or defaulter has not wherewithal to be
                       levied to fatisfy the forfeiture or fine impofed by Cuch court, it fhall be the duty of
                      ,fuch officer commanding, to renew tl1e warrant, and thereby to commit the off'ender •
                      ,or defaulter to the common gaol of the county, or the ncarcll: gaol thereto, if there
                      Jhall be no fuch county gaol, for the fpace of one '1ay foi: each dollar contained in
                                                                                                                'focl1




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                                     LAWS OF GEORGIA.
(uch fine or forfdture; and it is hereby made the duty of the keeper of fuch gaol to A, D, 1792-
receivc fuch offender or defaulter, and to keep him in clofe cufl:ody for the term in             No, 468.
fuch warrant exprelfed, without bail or mainprize, and untiHuch offender or defaulter
Oia-11 have fatisfied Cuch keeper for his fees on fuch confinement, Provided, That no-
gaoler fball detain fuch perfon or perfons more than three da-ys for his fees: .dnd
provided.._ That where this acl: admits of perfons being committed to gaol in the fir(l;
infl:ance, no return or renewal of fuch warrant !hall be neC\!lfary,                     •
    XIK. .d11d 6e it furthtr mac?ed, That the non-commH!ioncd officers of the refpec- Non-commiffi-
tive companies fhall be appointed in the following
                                               .
                                                           manner, that is to fay, the names· on,edt tffi,crs, in-
                                                                                                w 1a manner tu,
of all pcrfons liable to bear arms in each company di!lric\- lhall be placed in a box to be a~pointcrl-
be kept in th.i cuftody of the commanding ~f!icer of fuch company and have two par-                 ~;.~~h!~clvo
titions, to be known by the numbers one and two, and the names in the firll: inllance·
fhall be put in the petition number one, and within one month after the refpecl:ive
companies !hall be organized, it {hall be the duty of the commilf10n'ed officers thereof 1
to alfemble an~ draw from the faid. partition 111,mber one, the names of eigh~ perfons
which £hall be thrown into the partition numbc.-r two> and the eight perfons fo drawn·
flmll be the nbn-commiffioncd officers of the company and are hereby declared liable to·                ,.
execute and perform all the d1tties of fuch ll:ation, and they lhaH ferve as fuch for the·
fpace of twelve months, and {hall not be liable to ferve again in that capacity until·
all the names £hell be drawn from the partition number one; and in l:afe of refufal to Suhj,d to fine
all: in fuch appointment, or to procure fome fit and proper perfon, to be-approved, of (~ ofrcrui.l   :'J~
by the officer commanding the company, to do the duty of a non-commiffioned offi.
cer in his £lead, fuch perfon fo' drawn- and refufing to acl! or to procure· fuch· fit and
propfr perfon, fhall forfeit and pay the furn of ten dollars, to be recovt'retl by war-
rant of the officer commanding the company fuch perfon fhall belong to, and thc-
faid 'commiffioned officers £hall prooeed to draw another perfon to fiH the office of
fuch pe~fon fo refu/ing until the number of non-commiffioned· officers fhaH be com-
pleted I and the four fir fr pc.-rfons fo drawn as aforefaid, {hall be the fer jean ts, and the       .
Jan four   fo  drawn, the corporals of fuch company. Pr~vided IIM.otrthelifs, That if Provifo,
fit and proper perfons for non-commiffioned officers fhould be procured by the com-
111iffioned officers of ftich company, the mode of drawing in this claufe contained
may be difpenfed with;· but after Cuch fit and proper perfons have accept~d fuch offi-
ees, th6y £hall be liable to ferve in foch-fl:ation, at leall: for the term of twelve months,
M is herein before e;prelfed for pei'fons drawn to ferye in the fame; and in confidera-
tion of the duties in thia a&· affigned to them, one half of the fines of fuch company
ihall be fet apart as a fund for defraying the expence of executl11g Cuch duty, and,
 be .divided to and among fuch non-commiffioned officers; but if any non-commiffion-
 ed officer after actepting fuch office, £halt neglecl: or refuf, to do the duty required
'lly this atl, ho fhall for e¥-cry fuch- ofi'ence,. forfeit and pnt, a fum not. exceeding five.
 dollars,
     XX, And ht itfurth,r maEled, That it £hall be the particular duty of tl\e officers Thepotrot ll.,~
 £01'1,lmanding companies, to pay a dtie attention that the law for cftablilhing and re-            t:.;,J\b~:,
 ,ulating patrols in force in this State, palfed the eightee.1111) day of November, In the iuiUtia. Y
                                                                                             l,CU                    .


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                                                    DIGEST OF THE
A, D, 1792, year of our Lord, one thoufand feven hundred and lixty five, under the then pro,.
    No, 468,       vince cf Georgia, be ftrictly executed, and in cnfe of neglect or default of fuch exe.
                   cution, every ofiker commanding the company defaulting, and not punilhing the
                   defaulters .i,grccable to the faid act, {hall be fubjel\ to a line not exceeding fifty dollars
                   or be cafbicred, at the option.of a court martial.
l\,~1rn•, , 0 whnm    XXI. .dnd bt it furthtr tnaE11d, That the officers commanding regiments or battal-
             10
~~~k·~hell        be   lions, {hall once iti every year, make proper and complete returns o( their regin1ent
                    or battalion as the cafe may be, to the officer commanding the brigade to which ther
                    refpeaivcly belong; and the officers commanding brigades, {hall in like manner, make
                    proper and complete returns of their brigades, to the officers commanding the divilion
Ordm how to to which they refpcctively belong, and the officers commanding divifions, fhall re•
be dillributcd
by the officers, ceivc aml diftribute all fuch orders to the brigades of.their divifioll6 as may from time
                    to time be i!fued from the commander in chief, or .by his dirceHon, from the adju-
                  • tant general; and the officers commanc\ing brigades, fuall in like manner, receive and
                    dillribute to and among the refpeaive regiments and battalions of .,their refpettive
                     brigades, all fuch orders as may from time to time be i!fued to them by the officer&
                     commanding divilions, by the commander in chief, or from his direcUons by the ad-
           "'       jutant general, and the officers commanding reginunts or battalions fuall caufe to be
                     diftributed to, and executed by the refpecHve colt)panies under their command all
                     fuch orders as they may from time to time receive from officers commanding divifiona
 S•bj,cll to fine and brigades, or from the commander in chief, or the adjutant general ; .and in cafe
·or may be nfh- of ncgletl: or refufal to perform.fuch duty, every officer fo offending iliall, if a major
 icrcd, at dif, re•
 tion of court       general, be fined in a furn not exceeding five hundred dollars, if a brigadier, in -a
 marthil.            furn not exceeding three hundred dollars, and.if a field officer, in a furn not exceed-
                     ing two hundred dollars or be cailiiered at the, option of a court martial to be or.
                     dered, if on a major general by the commander in chief, .if on a brigadier hy the
                     officer commanding the divifion, and if a field officer by the officer. commanding the
                     brigade, Pro11idtd, That nothing in this clattfe contained, ·iliall be confirued to debar
                    .the commander in chief from arrefting and ordering courts martial f!)r the trial of
                     any officer of the militia of this State, or to debar any officer commanding a- divifion,
                     brigade, regiment or battalion from arrefting -and ordering courts marLial for the trial
                    ,of any officer belonging to his divifion, brigade, regiment or battalion.
 -Courts marrinl         XXII. A11J I, it further maEJ,d, That a court• martial for the trial of a major~
  for the trial of general iliall confift of at leafi one major-general, three brigadier generals and
 ;!i'n1t~,;;,w        five field officers; and for the trial of a brigadier general the court lhall conlift of at
                     lealt. two brigadier genuals and ,fcven ,field officers; and for the-trial of a fic'd
                      officer it, fhall confifi of at .Jeaft one brigadiei:, three field officers, and five captains,
                     or of fo11r field officers, and five captainsi and a court martial for the trial of a cap-
                      tain or fuhaltern /hall co11fift of at leaft feven commiffioned officers, the prefident
  'l'hcir fcntcnte thereof to be of fuperior rank to the officer tried; and every fentence of a <'ourt mar~
  (uhjcol to the .
   rleul\ire of the tial 1 where the officer iliall be cafhiered, fball b11 tranfmitted. by the prefident of the
   <ommandcr in .court through the adjutant-general to the commander in chief, who may a,pprorc
 ...:bier,
                     :of, mitigate the fentcmce or.pardon the offender as he may fee fit: and in cafe of fen~
                            ;                                         '                                                   ~«
                         • ·.See a.!!. of t 793, No, 414, foci, J1 profcriblng the manner ,of arpointing cQ11tt1 martM,




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                                      LAWS OF GEORGI.A.
~nr.es merely pecuniary, the officer ordeiing the court may approve, difapprove or A, D, 1792,
mitigate the fame,·                                                                                No. 468.
    XX!II. 4nd be itfurth~r enaf11d, That from and after the organiZlltion of the mi• Vacande,, how
           r
litia at be,ore    •
                pomtec\  out, w henever any vacancy {hall happen in any captain's dillricl:, to be filled,
battalion, regiment, brigade or divifion, by death, refignation or otherwife, the va-
c:ancies !hall be filled up by nominating a perfon or pe~fons to fill fuch vacancy er
vacancies in the fame manner as before pointed out by this .all:.
    XXIV, And bt it further enaf/ed, That his _excellency the governor be, and he ,i's The govcmor
                                                                                               may embody.
hereby empowered to affemble and embody fuch part of the militia of the State as he the              militia,·
may from time to time think necctfary, to repel any invafion, infurrellion or rebellion
which may happen ,within the fame, and to order fuch officers to command the faid
militia as he,thall fee fit, PrMJidtd, That the officers. of one company thall not be
placed to command another company, unlefs where the death, relignatiou or inabi-
lity of fuch officer !hall make it neceffary, And proTJidtd, That nothing in this claufe
contained !hall prevent part offuch company from being detached, or piquet or othei:-
wife under any officer,
    XXV, A11d ht it fr,rthtr em,Eled, '!'hat whete volunteer corps of artillery, horfe MemDcrs ofvo...
                                                                                              lunt.tcr 'torps or·
or infantrr !hall be formed in purfuance of the aforementioned all: of congrefs l the artitl<ry           ,horrellc.
volunteers compofing the fame !hall not be permitted to leave fuch corps until.he or infantry, not to.
                                                                                               leave the fame
they lhall have given two weeks notice of fuch intention, and lhall have. produced a without notice.
certificate from under the hand of the commanding officer of the company di!hicl. he and certificate,
belongs to, that his name is enrolled therein; and until the expiration of fuch notice
£uch pe?fon thall be liable to continue to,do duty in fuch volunteer corps; and. in cafe Militia men not
                                                                                              tn remove out
of removal of refidence of any perfon liable to do militia duty from one dilhicl to of            any diflri&
another, five days notice lhall be given to the officer of the company fuch perfon in- whhout notice•
                                                                                              and like ccnl6.,.
tends to remove from 1, anJ !hall produce a certificate fi;om the officer, of the company cat.e,
he intends to remove to, that his name is therein enrolled; and until fuch notice and
certificate, fuch perfon {hall be liable to do militia duty in fuch company from whicli-
be fo intends to remove,.
    XXVI, A11d be it Jrirther tllaElrd, That any officer acting in an infamous or fcan- Alt improper
dalous manner unbecoming the officer, and which is.likely to bring the militia fen-ice ccriJ, couducl of ufli•.
                                                                                                      difordcn
into difrepute, may be arreO:ed by orcler of the commander in chief, or the commancl- and neglec'i of
ing officer of a divifion or brigade, on fullicient grounds appearing to them of fuch duty,            to be no-
                                                                                              ticed by court ..
conducl, and 011 convicHon,thereof by a court martial, fuch officer may be ca{hiered: · martial.
And all diforders and neg'le«'.ls whilfi. on duty, or under orders which officcr.s or pri--
vatea may be guilty of to the prejudice of good order and difcipline, though not herein
particularly provided f.or, may be noticed by a general, regimental or battalion court.
martial,· and be puniilied by fine or forfeiture, not exceeding the P.enalties herein
apportioned for other offences according to the rank of the offender,             '
    XXVH. And be it further enaEled,. That all fines* and forfeitures accruing by virtue fine, and for-
                                                                                                   1
of this all: lh11II, if arifing front default at regimental or battalion multers• be paici 1tch     ."d''. huw,
                                                                                                pp1IC ••
ii1to the hands of the major of fuch regiment or battalion for the exprefs purpofe of
                                         N n n                                   P,rocurini-,
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                                          DI GEST          OF THE

A. D, r79z, procuring regimental and company colours: and all fines and forfeitures arillng from
    · .No, 468.     defaults at company mufl:ers (except as herein excepted) fhall be lodged in the hands
                    of the captain thereof, to be appli~d in the purchafe of drums and fifes I and fuch
                    captain, after fuch purpofe is attained, £hall yearly account with, and pay to the
                    major of Cuch regiment or battalion, the overplus of fuch fines and forfeitures, who
                    i11Jll, after the expcnce of colours is dedulled therefrom, pay the overplus of fuch
                    regimental, battalion or company forfeitures into the public treafury, where all fines
                    on g1111c1·al officers fhall alfo be paid,
 Comm•n.tinl(            XXVIII. And bt it J11rth1r mal'lfd, That the commanding officer of regiments ilia II
 officers or rcgi• have the fole appointment of the regimental fiaff as pointed out by the aforefaid acl:
 mcnt& have the
 folt: uproint•     of congrefs, and that for the better ·underll:amling of this faw a~ it has reference to
 tntnt o the re- the faid acl:, the executive be empowered to direll: a
 gimental 11.aff,                                                                       fufficient number of copies- of
                    that all to be fl ruck off with this law, to be tlill:ributed one to each company of mi- ·
 Thcmilhialaw,. litia within this State, and one to each lield and general ollicer within the fame : And
·to dhc publicly it is declared to be the duty of each .company officer to have the faid acl:, together
 rca
 nic,, to   comp•· wit
         "!'iimcni,     ' I1 tIus, Iaw, pu bl'1c l y rea d over at 1ea"" twice
                                                                           , Ill
                                                                               , eac1I year to'h'1s comp~nf wh'lfl:
                                                                                                               I    un-
 or bottahon,, der arms ; and it iliall be the duty of the field offi~ers to have the fame once in every
                     year, read to the rcfpective regiments or battalions whilft under arms, to which they
                     may refpcll:ively belong: And the executive department i5 alfo further empowered
                     and required to have a liJrn number of c,lpies of the rules and articles of war, in force
                     with the troops of the United States, to be.diflributed in like manner, that the militia
                     he not ignorant thereof when calbl into actual forvice.
 M•jor general,,          XXIX• .A11d.ht .itf11rtho· m11EJ,d, That the major generals, brigadier generals, and
  brigadier, and adjutant general created by this all:, {hall be nominated in the following manner:
  adjutant gene•
 ral, how up•        The fenate; ail(I houfo of reprefontatives lhall ,oticur in the nomination of one perfon
 .fointcd,           as major general for the firll: divifion ; one other perfon as major ge~eral for the .
                     fecond divifion; and one mper perfon for the major general for the third divifion of
                     the militia of this State ; and fhall alfo concur in the nomination of one other perfon
                     for the brigadier general of the firll: brigade of the firll: divifion I one other perfon for
                    the brig~dier general for the fecond brigade of ,the faid divifion; one other perfon for
                     the brigadier general of the firlt brigade of the fecond divifion; one other perfon for
                     the brigadier general for th.e feconcl brigade of the faid )n{l; mentioned divifion ; one
                     other perfon for the brigadier general for. the firll: brigade of the third divifion; and
                     one other perfon as a brigadier general for the fecond brigade for the third and Jail
                      clivilion; and fi1all alfo concur in the nomination of one -Other fit and prnper perfon
                      as adjutant general; and a lifl of the names of fuch perfons as flrnll be nominated as
                      aforefaid, {hall be figned by t~e .prefident of the fenate an<l fpeater of the houfe of
                     uprefema1ives, and tranfmitted to the governor within two days after fuch nomina-
                      tion, for the purpofe of appointing and commiffioning each and every of fuch nomi-
                     nated perfons within ten days after he fi1all receivt: fuch lifls of names as 11fortfai<I.
  1rmncic,byre- 'XXX, .And be it furthtr ma."/ed, That in cafe any officer {hall remove out of the
  .,,oval.           clill:rill:, battalion or regimeht for which he !hall be appointed, then and in that cafe
                     his commiffion fhall be void; and all officers of divifions, brigades, regiments, bat-
                      talions an<l companies fi1all be refidcnts 'of the divifions, brigades, regiments, battalions
                     .and C<>1;lJpanies to which they feverally belong.                                        XXXI.




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                                                                                               ,.
                                            LAWS OF G EOR GI'A,
      XXXI, .And be it fu~ther maBtd, That the people called quakers, on· producing a A J?.: !Z?,1•
   certificate from a quaker meeting of their being bo11a fide quakers, !hall be exempt W~~,.~11i;i:1~.
   from all militia duty required by this acl:, and {hall pay an exti:a tax of twenty-five              01 •              ~~.r.r.w;~·.
   per untum in addition to their general tax. Provided, That this acl: fhall. not extend l'rovifo,
   to affecl: perfons nor their ellates who are herein. exempt either fr-0m years, appoint- '
   ments or imbecilit.y.                                                          ,
      XXXII. • And 6e it further maEled, That the members of the legiflature for the Certain other ,
   time being, and their o~cers, all judicll\l and e,cecutive officers, ~II minifters in or-                              !:J°d~r;~~';,',h~re
   ders, practition·ers of phyfic, all public printers, all ferrymen, millers, all tutors and mcntionefd hin
                  , .
   ftudents, all 1uft1ces                    ,,,_
                          of the peace, reg1uers   of probates,. the trea,urer$,
                                                                         ~     · the fiurveyor the u& o t e
                                                                                               United Stam,.
   general and county furveyors, the fecretary of the State, invalills, poft riders, mad-
   men and ideots,t !hall be and they are exempted from any of the duties required by                 ·
   this aa,; in addition to. thofe exempted therefrom by. the acl: of the United States.·
                            WILLIAM GIBBONS, Speaktr of the Houfe of Repre.fantativu-.
 1                          BENJAMIN TALIAFERRO, Prif,dent of the Senate.-·
   EDWARD TELFAIR, G'oY.BRNOR,
             December 14, 179.2.
     • Sn much of thi, feet. as •••mets t~c "'i'cveral'otliceto•'' named, anJ nll'militia laws prior to this a.!l', re,
  11ealcd by a& of 1793, No, 49.4, feel.- IS,                                                •
    t See other e1cmption1 by a&s of 1794, No, su, and 1795, No. 534, .


    . An AEI for the more effeclua!ly p-rcventiizg and pu11ifhi11g forgery.
• I,   BE     it enafled by the Jenatt and houfa of r1prrfmtative1 of tht Stale of Georgia in
             general affembly met, That from and after the paffing of this acl:, if any perfon To r"')l• audit-·
  or perfons !hall falfeJy. make, forge, alter or, counterfeit, cir caufe or procure to be ,d cm,ficat1'·
                                                                    ,..                          ~ovcrnor::1 rrc...                   1
  falfely made, forged, altered or counterfeited, or willingly acl: or allifi in the falfely fidcm, or f;-eak-·
  making, forging, altering or counterfeiting any audited certificate, i!lued by the au-                                  &;,"&;'.auu,
  ditor general, or any order or warrant ilfoed by his excellency the governor, or the
  ~onorable the prelldent of the fonate, or fpeakt:r of the houfe of reprefontatives of
  this State, on the freafurcr thereof, for any money or other thing, or any warrant for
  land ilf11cd_by the juftices of any hmd court within this State, or any certificate, draft, ·
  warrant or. order from any of the public officers of this State, ilfued under or by
  virtue of any acl: or. refolvc of the general allcmbly, any dee~, will, tellament, bond,
  writing obligatory, bill of exchange, promill'ory note, or order for money or goods1.
  or acquittance, or~eceipt for money or goods, or any endorfement or affignment·
  of any bond, writing obligatory, bill of exchange, promilfory note, or order for money.
  or goods, with intent to defraud any perfon or pcrfons whatfoever, or {hall utter or Orto utter·or
  publi{h as true, any falfc, forged, altered or counterfeited audited certificate, go• publilhthef,me-·
                                                                                                 a, true.
  v.ernors, prelidcnts, fpeakers or other public officer'& certificate, draft, warrant or
  o.rder, fo as aforefoiil ilfuell urnler or by virtue of any all, or refolve of the general
  aJfombly_ of this State,.or any, deed, will,.teHament bond, writing obligatory, bill of
                                                                                     exchang_~,,



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                                                                                       EXHIBIT 5
                                                                                         00106
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           EXHIBIT "6"




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          , "," Maryland - General Assembly, November Session : [xxix]-[xxxv]

          OSCOLA 4th ed.
          , " 1793 [xxix]

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          TH OM AS- SIM L E E, EsQYIRE,                                            GovERNOR,    NOVEMBER.              1793.
    afcertninment of fuch valuation or damages, and before they (hall proceccl to all'ccl the lands an(l te-       C H A P.
    nements ef the perfon or perfona concerned; provided, that the foill road firnll not go through any             XLVlll,
    houfcs, gan\ens, meu(lows or orchards, unlcls with the confont of the ownet· thereof.
                                            C I·l      A P,           XLIX.
    An ACT to autl1orife the rcgifter of the lan(l-office to iflue a patent to Salathiel Fitchett for lot P:1rrc,I ~8th 0£
     number fix in Nanticoke manor, Lib. JG. No, :,,, fol. 55. A Priv;1tc .Ac\.               ,           Dec, 1793·
                                               C H A P.                  L.
    An ACT to fettle and pay the ci\•il Im and other expencc:i of civil goyernment,            Lib. JG. No, 2 .
     fol. 55·
                                              C H A P.                  LI.
    An ACT for the fupport of Rebecca Fowler.                                            Lib. JG. No. 2 .
    . fol. 56.
    W HEREAS            Juliana Fowler, of Queen-Anne's county, by her petition to this general a!fombly Pr~amt.t~.
           hath fct forth, that fi1e has, amongll other children, a dai1ghter, who is now a young woman,
    who is blind, anc.l alfo much uffiiHed with convulfion fits, which lrns in a great meafurc tkprivecl her
    of her fcnfcs, and that fi1e, the faid Juliana Fowler, mother of the faid Rebecca, is not able to
    maintain her, and prays that an ac\ may pafs to proYic.le for the fupport of her foid daughter, out of
    the poor-houfc; and the focls ftatecl in the faid petition. appearing true,

      II. BE IT ENACTED, hy thr General A.ffembly of l"1t11J'la11d, That the juflices of Queen-Anne's coun- Jun.ices to levy
    tv fi1all aml they are hereby empowered, at their levy courts annually, fo long as they may !'cc caufe, money, ~c.
    to alfefs and levy on faid county a fum of money, not exceeding twenty pounds, for the fupport and
    maintenance of the fuid Rebecca Fowler.
                                             C H A P.                   LII.
    A Supplement to an acl:,   * entitled, An act ~o prev~nt the .exportation of flou1·, lhvcs and fi1ingles, • 77 ,, ch. : o.
      not merchantnble 1 from the town of Baltimore, m Baltunore county, and to regulate the weight
                                                                                                                   1


    . of hay and meafure of grain, falt, flax-feed and lircwood, within the fai<l town, anJ to prevent
    · the exportation of flour, not mei-chantablt:, from Fell's Point, in the faid county. Lib. JG.
      No. :z. fol. Si·
                                           Sec the note under the original :ifi.

                                            C H A P.                   Llll.
    ~n ACT to regulate and difcipline the militia of this ftate. Lib. JG.
      No. 2. fol. 57,
                                         A Suppleriu:nt 179S, di. 100.                                   .
          HEREAS the congrefa of the Unitecl States, by their :icl., entitled, An acl: more elfccl.ually l'reamlllc.
   W       to provide for the national defence, by clhiblifi1ing an uniform militia throughout the U nitcd
   States, have enacled as follows, to wit: " Be it enacl.ed, by the ft:natc and houl'c of re1>rc!'cnt:itivcs
   of the United States of America in co11grel's affcmbled, That each and every free ablc bodied white
    n:de citizen , f the vcfpcc\ive £btcs, rcltlicnt therdn, ·w ho is or fhall he of t he age of eighteen years,
   and under the age of forty.five years, (e~cept as is herein after exceptctl,} U1aU fo ,•erall y anJ rc-
   tj,cebivcly be enrolled in tin: militia, by the captain or commanding olliccr of the company within
   whofe bounds t'uch citizen lhall relide, uncl that within twelve months after the paffing of this act,
   And it fi1all at all times hereafter be the duty of every fuch captain 01· commanding ofiicc:r of a com-
   p,rny, to enrol every filch citizen as aforcfaid, and :1ll"o thofo who llrnll, from time to time, arri,·c at
   the age of eighteen years, or being of the age of eighteen years and under the :1ge of forty-live
   years, (except as before excepted,) !hall come to ref1de within his bounds; a~d fitall, without delay,
   nntify fuch citizen of the faid enrolment, by a proper non-commilfioned officer of the company, by
   whom fuch notice may be proved. That every citizen fo enrolled and notified, l11all, within fix
   months thereafter, provide himfclf with a good muiket or firelock, a fufiicient bayonet :11u! belt, two
   fpare flin:s, and a knapf:ick; a pouch with a box therein, to contain not lefs than twenty.four car-
   tridges fuited to the bore of his mulket or firclock, each c;u·tridge to contain .i pr11per quantity of
   powder ;111d ball; or with a good rifle, kn,q1fack, fi1ot-pouch and powder-horn, twenty balls fuited
   to the bore of his rifle, and a quarter of n pountl of powller, and firnll appear fo armed, accoutred
   nnd provided, when called out to e:.:crcife 01· into fervice, except that when callec.l out on company
   days to exercifc onlr, he may :1ppear withaut a knapi'ack. That the commi!fioncd ofiicers llmll fcve-
                                                                                                           rally




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      1793.      NovEMBER,                      L A W S o F M A R Y L A. N D.
     c H A 11• rnlly be nrmecl with n rwor,\ or hnnger, nml crpontoon 1 :llld thnt from nntl nftci· five yenrs from the
       1.m.    pnll111g of this n&, nll mulkets for nl'll1ing the milith1 nu herein 1·equil'ctl, thnll he of bot•es fo0icie 11 t
                 for bulls of the eighteenth pnrt of n pnund; nn,l evel'y citi2un fo en1•01led 1 nnd providing himfelf
                 with the :\l'ms, ammunition 11nd nccout1·u111ents 1 required ns nfo1·cfoid 1 fhull hold the famu ex~·mptetl
                 from nil fuits, dillrclfes, executions or l'ules, fot• dt:L>t, or fu1• the payment of tuxes, Ami he it fur.
                 thet' enncled, 1'hnt the vicc-prelidcnt ol' the United Stntcs, the tilliccn, jll<licial and executive, of
                 the government of the Unitc,l Stutes, tho members uf both hou!'cs of c9ng1·1:l's, and their 1·clj1ec\ive
                 otlicel's, all cull:om-houl'o olliccrs 1 with their clerks, nil pol\;.otlicera, nml Hnge ch-Ivers who u1·e etl\•
                 ployc,l in thu cure und conveyunce of the ~IHl!l of the _Poll:-oflicc of t}1c United Sti1tes, 111_1 ferrymen
                 employed at nny fct'l'y on the poll-1·0:1<\ 1 nil mlpc&ors of exports, nll pilots, :Iii 111tu·11u:ra uchrnlly 0111 •
                 ployed in the l'c:t fervice of nny citizcm or n11.:rchnnt within the U lllti.:d St:1tca, and nil pcrli>11s who
                 now are 01• may h~r?~fter be cxemp_ted by ~he law~ of ~he rolilcclh•c Hales, f_lrnll be und urc hereby
                 excmptccl from m1lit111 duty, notwithftundmg then· bcmg :1bovc thu ugc of cnghteen, um.l un,lcr the
                 nge of fol'ty-five yeu1·s, And be it l'm•thor cnn&e<l, That withm anti yca1• after the pulling of this
                 ud, the milt tin of the refpec\ivc !lutes fhnll be 11n·ungetl into divilions, bl'ig:tdcs, rur,imcnts, lmttuliuns
                 and compllnics, us tho lcgillnture of ouch 11:itc lhall dircc1; nnd cuch divition, bl'ignclo and regiment,
                 1111111 ho nmnbored at ~he fornrntion thcreut\ :md u 1•ec11l'd made uf fuch 11umb1::1·s in the utljutnllt-
                 gcncr;1l's ollice in the Hate, nnd when in tho fiuld, or in flll'viee in the !lute, each divifiou, bdg:Hlc
                 nn,l regiment, 011111 t·cfpcclivoly take rank according to their numbel's, reckoning the lidl or lo~velt
                 numbc1· highc{I; in rank. That if the fame be convenient, cnch brigade lhall conlill: of !'our regiments,
                 cnch regiment of two battalions, cnch battalion of fivo companies, each company of iixty-lour pri-
                 v,1tcs, That the fahl 111illti11 Ornll be ollicel'ed by the rcrpe&ivo ftutcs ns follows: To ouch divilion,
                 one mnjo\·.gcnernl, anu two aids-de-camp with the nmk of major; to cnch brigade, one brigndier-
                 general, with one bl'igadc infpcclor, to l'crve ull'o :ts brigade-major, with the rank ot' n major ; to
                 each regiment, one licutem111t-colonel comm:mdnnt; anu to each battalion, one mnjor ;- to e1\ch com-
                 pany, one captain, one lic1,1.te11.int 1 one cnl1gn, four forgeunts, fou1· coqrnrnls, one dt·ummcr, uml
                 one lifer 01· bugler. That there fhnll be a r1:1~hmmtnl lhdl, to confilt of one 11djutant nnd one qunrtcr-
                 nrnlter, to 1·:rnk ns lieutenants; one paymnfier, one l'urgeon, and one fur?.con's mnte; one fe1·gcnnt-
                 mnjor, one drum-mnjor, nncl one fife-m11jor. And bo it further·enucl:ed, !'hnt ottt of thu militia en-
                 rollc,l ns is he1·cin dircc\ed, there fhall be foi·me,1 for ouch battalion at leaft one company of gren,,-
                 diers1 light infantry or riflemen; und thnt to each divilion thct•e flmll be, at len{\:1 one· compuny of
                 nrtillcry, and one troop of hot·fe: There fhnll be to each company of nrti1101•y one cnptnin, two
                 lieute1rnnts, four i'crgennts, four co1·po1·:ils 1 fix gunners, fix bomburdie1·s, one dmmmer, nnd one fifer.
                 The oflice1·s to be nrmc<l with n i\vonl 01· hanger, n fufce, bayonet 11ml belt, with a cnrtri<lge box to
                 cont:iin twelve cnrtl'idgcs; and each pl'iv:tte or mntroi's lhnll furnilh himl'elf with all the equipments
                 of tL private ii~ the lnfantr,y, unt_il prop~~- ,ordnance and field nl'tille1·y is }ll'ovidctl. Thore lhnll be to
                 each troop a! horfe, one <:nptam, two heutenunts, one cornet, foul' fo~gc:rnts, four corpMnls, one
                  foddlcr, one furl'icr 1 1md one tr11mpetc1•, ·Tho commiffioncd of!icers to furnilh thcrn1fch•us with goud
                  hol'liis, of 11t led1: fourteen hands und nn hl\lf high, and to_ be armed with a 1\vol'<l and pair ol' piilols,
                 the hoHlcrs of which to be 1:ovcrcd with bourlkin · cuvii, E;ich dragoon to furnilh himfclf with a.
                  ,feniccuble horl'c, at leafi foul'tccn hands nnd 11n half high, n goo,l faddlc, bricllc, mail pillion and
                  vnlifc, holll:crs, und n breaftphttc and crupper, :1 pair of boots nnd l'purs, a pair of pinols, a fohrc,
                  11ml a cartouch Lox to contain twcln• c:u·tl'i<l~~i:s £~1· pillols. Tlrnt endi company of nrtillcry nml
                  troop of hol'lc tlmll be formetl of volunteers from the brigade, at the d1foi-etion of the commnnder in
                  chief of the 11:lte, not ei.cc~ding ono comj1uny of each to u regiment, nor more in number than one
                  elc\'Clllh part of the Infantry, :tllll !hnll be uniformly cloulhed in r1:gimcntals, to be furnilhcd :1t their
                  •Jwn t:xpcncc; the colour antl fnfhion to be determined by the brigadier crJmmanding tho bl'igJcle LO
                 which tlH:y belong. J\ ntl be i~ further cnacl:ed, 'l'lrnt each b:1tt111io11 and regiment Ornll be provided
                 with the !late uml regimental colours by the ficlcl-olliccrs, :1m\ each company with n drum and fifu 01·
                 l.,ugle-hom, hy the commillioncd ollicers of tho comptmy, in fuch manner us the legilluture of the re-
                 ii1uclive fl.1tcn 11111ll dil'cc\. And be it further cnn&cd, That there flrnll bo an ac\jutatlt-gencrnl 11p-
                 pointc.-:d · in cnch fbtc 1 whofi.i duty it 01:ill be to dilhibutc ull 01·dors from tho commander in chief of
                 the (htc to lhe l'cvcl'al corps; to atten(l nil public reviews, when the comm:tridcr in chief of tho ftate
                 ilmll review the militia, or nny part thc1·eof; to obey nll ordt:ra from him relative to crirrying into
                 execution nntl perfc&ing the IYllem of military difripline efinbli01ed by this ncl:; to fur11ifi1 blnnk
                 fo!'ms ol' dillcM1t 1·cturns tlmt nrny he required, and to explain the principles on which they f11ould
                 lie nmle ; to receive from the fcvcr11l officers of the different corps throughout the ftatc 1 nitu1·ns of
                 thu militia under their comnrnncl, tcporting the nctual tituation of theh• 11rms 1 nccoutrcrncuts un<l
                 :unnrnnition, their dclinc1ucncics, nnd every other thing which relates to the gencral udv:mcemcm. of
                 good order nnd difciplinc; nil which the fovcral officers of the divifions, brigades, regiments nnd
                 liattnlions 11r.c hereby rec1uired to mnkc in the ufunl munne1·, fo that !!he foid ndjutunt•gencrnl mny be
                                                                                                                               duly




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          THOM AS SI I\ll..., LEE, · EsqyrnE, Gov1mNon.                                                 NovEMBEU •
  c\uly Fm·niChed therewith I fl'om all which returns ho fh:111 make proper ab0.ra6l;s, nml Illy tho foine CH Al',
  annually before the comnrnndur in chief of the llttte, Anet be it furthcl' cna6h:d1 That tho rules of'               1.111,
  difciplihe approved 1111(\ 01l:11blil11etl by congrefs ln tho 1·efolution of tbc twcnly-t1i11th of March,
  one thoul'nnd fcven humkcd nnd l'e,•onty-nine, {hall be the rules of ~Ufoiplinc to be obfcr\'etl by the
  militia throughout the Unitod Stntcs, except l'uch dovintions from the fnid rules as may be 1·endcrcd
  noceni,ry by the 1•equilition11 of this nl:}, or by ibme othe1• unnvoidtiblc circumUances, lt {hall be the
  duty of the commanding ollicer 11t every mn!l:ur, whother by bntt11lion,. regiment 01· tingle comrnny,
  to cnufo the militi11 lo be exercil'od am\ t1·ainc1l agreeably to the faid rules of difcipline. Auel ho it
  f111·thcr e1111c\ed, '!'hat all ·commillionecl oJlicers lhall tnkc 1•1111k according to the date of theil· r.ommi!'-
  fions; and when two of the fame grade ue11r nn equ11l date, then thch· 1·nnk' to be detcnnined by lot,
  to be drawn by them before the comm11ntll11g oJlicer of the brigade, l'ogiment, bntt11\io11 1 compuny or
  detnchm4.lnt, And be it furthe1• ennc\11d, Tlrnt if 11ny perl'on, whether officer or l'oldic1·, bclongin~
  to the militia ol' :my llnte, nntl cnlle<l out into the fol'vicc of tho Unitccl States, be wounded 01· tlil-
  nblccl while in nc\u11l l'ci·vicc, he {hall be t11kc11 c111·0 of nml pl'ovidecl for at the public expcncc, An1l
  be it further enacled, '!'hat it {hnll be the duty of the brig:1de infpecl:or to 11ttcnd the regimontal an<l
  battalion meeting of the militia compoling thoir l'uverul hrigu<lcs, during the time of thch• heing
  unde1· arms, to inl'pe& thei1· a1•ms, nn1111m11tion 1111(l 11ccoutr..:munts, fopcl'intt:111\ their o:-.ordl'o 1111d
  mnnrouvrcs, aml introduce tho tylh:m oF militury dil'cipl!nu bcl'oi·u dufcrib~d throughout tho b1·igndo,
  agrt:enblc to h\W and ruch orde1·s as they lhall, 1rom t1m1; to tune, receive from the commnndcr in
  chiof of  .t!•~ llnte; to n_rnkc 1•eturn~ to the ,u.ljut1111t-gunu~nl of the, llnte 1 nt lea~ on~c in every yeur,
  of tlrn nuhtrn of tho br1gadu to which ho bolongs, rcportmg thcrcm thu ulitunl lttuntwn qf the nl'll1s,
   accoutrements nn,<l nmmunilion 1 of thll fovcl'ill corps, 1111d every other thing which,, !n his j)1~l~111.ent,
  1n:1y l'clnte to then• government 11ml the g1mc1·al 1Hlva11ccmcnt of good 01'llu1• 1111d 1111htnry lhfo1phnc;
   nncl the 11djutant-gcneral Ornll make a 1·eturn of nil thc militia of the llate to thu comnrnnllcr in chief
   of tho foid llntc, a nil a duplicate of the l'ame to thu p1·t:111\ent of the U nitcd Stutes, And, whcrcua
   fun~\ry corps of m·ti\lcry, cnvall'y 11111\ l11fontry 1 now exill in fcvc,·nl of the faid ltntcs, which, by the
   lnws, cull:oms, or ufoges the1·eot', have not bucn lncoqio1·11tcd with 01· fubjc& to the general 1•cgula~
   tions of the militia, lie it further cnncl:ed, Tlmt fuch corps t'et,lin theil' :1ccullomccl privileges, 'rub-
  jccl:, neve1·thclcfs, to nll othe1• duties 1·ectuil'c<l hy this nc\, in like mnnnc1· with the uthc1· militiu. 11
   Wht:1•efo1·e, and to c:irry the l'aid 11& into u{l't:ct,
    II. llv. IT RN.ACTED, by the Gmcl'«I lfjfimb6• ~f Mal'yla11d, 'fhnt fit :ind proper pcrl'ons in each county l'trfons to be
  of this 11:ntc be appointed by the governor :ind council to m:,ke true and exact lilbi of the nnmes of nil 111'1'llintlld, &c,
  nble bodied white male citii:cns bctwccm eighteen an,l forty.five yenrs ot' ugc, (except us in the befo1·e.
  recitcll net nncl ns herein after excepted,) di!Hnguifhing in the faid Hits the <1u11kcrs, mcnonifts and
  tunkers, and perfons confoientioully l'crupulous or bc:,l'ing um1s, and the npprcntii:cs und their ti•ude,
  and the nnmo of the ma!l:e1· to whom they nr..: t1ppre11tke1l, ,ind c11ufo the faid lifts to be complotd
  on or before the tenth day of April next, nn<l lhnll return the fume to the commillioners of thu
  tax of the fc\'eral nm\ rolilecl.ivo counties of this ftute, on 01• befo1·:i the faicl tenth duy of April
  next.
     III. AND RF. l'l' ENACTtn, Thnt every pc1·fo11, lo appointc1l t<> take the lias of names in tho Who nmll lie
  fcve1·al counties nf01·efaitl, lhull be :illowccl fu1· his tl'Oulilc at th-: rate of two dollurs und two thirds :i.llowcil, «<:,
                                                lo
  of a doll11r for cvcl'y hundred pct-fons linccl, which fums fhall bu paid by the t1·cuforcr of tho 11101·0
  whoro thcv rclido, un<l the ~ovc1·no1· and the council muy, in their clil'cretion, ud1I to tho fum to be
  allowccl tn'thc pcrl'ons to be uppoiuted in Allegany county, :illll di111inin1 it in cafor. of appointments
  in llaltimorc-town, l\S they may think juft nnll 11cce(fo1·y, fo 11s to make the co111pcnfotion cc1mll to
  tho forvice performed us neal'ly 11s IIH1y be,
     JV. ANn im 1·r RNAf'r1m, Thnt if a,,y ft·ec malo white ~itizen, of the ,:ige of cighte~11 ycn1·a und l'.~•!nlty.fnr 1101
  under the 11,rrc of fo1·tv-hvedicurs, when c:allc1l on by any. ol the pcrlm1s 1o to he nppu111ti:d bv the gi\·m~ m
  govcrnM and' th? co1111c1                   ' III
                          . 'l , 111 11 .not g!ve                      1. 01 l , ''
                                                  ' I'us 1urn1c l? be I'll                                       ... '
                                                                                 11 unknown to t I10 purfon rcc1u11·1111I UtllllC!J ' &.\· '

  it, he {hull forfeit 11n1l puy the Jum ol ten dollars for every luch olfonco,
    V. AND mi 1•r F.NACTt.D 1 Thut if any foch pcrfon, of tho nge of eighteen yc:il's n11d upwnrds, ~nrt.fnrnolln,
  when called on as t1fo1•of:ihl 1 arnll not inform the pcrlon l'o lo be nppointctl, thnt he is of thu ngc uf lnrmmg, e~"·
  cH1tccn yc;1rs nncl upw111·ds, and if 11ny fuch pe1·fo11, under the ugc oi fol'ty-fivo ycnrs, when called
  OJf as :1forcfoi<l, llrnll inform the pcrfon l'o lo be uppointcd, thnt ht: is of the nge uf forty-five ycnrs
  or upw:irds, c,•ery f'uch pel'fon, fo offending, flrnll fol'fcit and pny tho fom of ten dollars for cvcrr
  fuch offence,
                                                               L 11                                              VI. AND




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           J 79,3.    NovEMUER.                           L A W S aF                     M A R Y L A N D.
      CH A·l 1,       VI. Aim nE 1-r :r.NAC'run, Thnt no free white mnlc citir.cn, of the age of eighteen nn<l under
       Lllt.        the ngu of t'urty-fivo yc111·s, flrnll be excul'cc\ from militi11 duty on nccount of innbility, unlcl's he fhull
   No free cltiict1
   to be c1m1li:tl, obtni;1 from the furgcon of the regiment to which he fltall belong, 01· l'omc repntnble phylicit\11 in hia
   le,              ncighbourhootl, :1 c.crtificntc tl111t he is not of fullicicnt nbility lo perform mihtin duty.

   l'crlbns np•           VII, AND n& JT EN/ic'l'Im, 'fhnt ns foon ns 11111y be, nn<l wlthin fifteen dnys nfter the uforeftti<I
   pnintc<I, to       tenth tiny of April next, nil the pcl'l'ons l'u to be :1ppoi11tccl by the go,·01·11111• nml council ln 0111:h uud
   nmkc rc1L11·11s,   e,·cry county of this ftntc, who {hnll :1cc~·pt l'uch appoinltnc:nt, 11111II nrnku u·uu und cx:1cl: rctu1·11s of
   i-,,.              1111 the free white mule citi!ll'ns by them 1·dbrnvcly litkd :1s uforefoi<l to the govcrnot· 11ml r.01111cil,
                      ,m<lc1• the pcnnltv of forty dullan1 fo1· every m·glcct; uud the go,•e1·nor und council llrnll forthwith
                      proceed to appoii,t thu p1·opcl' olliccrs thereto, 11grce11Lly lo the provilions of the before 1•cdtecl 11 1':l;
                      thnt thereupon e:tch untl u,·cry free white m:ihi citiien, who llrnll be of the agt! of eightec,11 yours untt
                      ~111dc1· the ugc uf fo\'t)'-fi\'e )'Ernrs, (c:,c,:pt as before exc·cptccl,) lh:1II fcvcrnlly uncl 1·el'pec\1vcly be en•
                      1·11llcd in the 111ilith1 l1y the c.1pt:,i11 01· co111n11nuling ollicc1· ol thll cump:my within whofo hounds foch
                      citii:cn llrnll rclhle, um\cr tln: <lit·cclion of the brigt1dicr-gc11c1·:1l of the hrigaclc, .t11d thnt on 01· l,c.
                      fore the twc1niclh 1hy ()f Jun\! nuxt I nn<l it !hall :1t all timus lwruaftcr Le the duty of uvcry foch
                      captain or comm:1111\ing o!liccl' ol' 11 eomp:11\)'1 to enrol every l'ud, citiic::n us":1forefoid 1 :ind ,1ll'o thofc
                      who fh:dl, from time to tim 1~, 11rrivc !It the n[tJ <>f eighteen yc:1rs, 01· being of the ugc of cight\!r;tl
                      rcaro :ind u11dc1· the ni;o of fol'tr-fivc vca1·s, (1.!1:cq1t as before excepted,) firnll come to rclklc within
                                                               0


                      hi~ boumLi, aml !hall: without 1lday,' nutil)' fuch citiv.cn of the foid enrolment, by II prope1· 11011-
                      ~·om111illlo111.:ll ollk1.:1· of the comp:111y, by wh1,m fuch notice mny be lll'ovcd.

   (lovcrnr,r, t.c.      VIH. A:m 1n: l'l' r:x.\c'l'r.n, Thul on 01· bcfo1•c the twentieth day of June next, the governot• 11ml
   tu ,1rmn11c the    counc:il Ornll :1rnrngc the militi:1 of thti ft:itc into diviliuns, brigades, regiments, bntt.tllons 1111cl com.
   militl~, t:.c,     p:rnics 1 :iml 11rnll 11umLcl' each divif10n 1 bl'igaclc nm\ regiment, :1t the formation thcroof, nnd II record
                      ihnll b:i made of l'uch 1111111bcrs in the :1tljut:111t-gc11crnl1~ ofiicc; that if the fttme be co1wenic11t, each
                      brigade {hall coniilt of fuur regiments, e:ich regiment of two buttulio11s 1 c:,ch h,\ttitlion of five com-
                      punics, each companv ut' lixty-fou1· privates, four fcrgeunts, fou1· corpot·:ilu 1 one dru111me1• um\ one
                      iifer 01· bugler.

   Gren:ulim tn     IX, Atm nt: IT 1:N AC:Tr.n, That out of the militiu cnrollctl ns ufol'cfnid, there 01nll be formed for
   be formed, &c, cnch b:1tt11lio11 ttt h:al\ l:itc company of grenadiers, lh~ht infantry 01· l'ifhm1cn; that to c:1d1 di\'ilion
                      there !hall be u co111puny of artillory and one ti·oop of horfc, limnctl t1nd oOiccrctl according to the
                      <lireaions_ of the bcforc 1·:::citcd net.

   Officern tn:mn     X. Axn 11r. l'r I:NACTim, That nil commiffioned officers, who 01nll he t1ppointctl us nfo1•cfoicl by
   thcmfolvcs, &<:, the gl)vcrnot· 1111d council, t1nd who thall ncccpt l'uch nppointmcrnt, flrnll, on or before the tc,,nth day
                      of July next, t11·111, 11ccoutrc :t11tl provide thcmluh·cs, in the 111111111c1· by the foid hcforc recited :1cl:
                      dircclcd 1 undc1· the pennlty or twcnLy <loll.11·s for li1d1 ncglccl; nnd t•nch non-commifiioncd (n) 00icc1•
                      nnd mut1·01's in thu 11r1illt:1 y, :111d e:,ch 11011,commifiioncd ollicc1· nml drngoon in the companies of horfo,
                      ilrnll, u11 or before the !Ml day of Aup;ull ni:::l, ur111 1 uct:uutrc un<l p1·0\'idc himfclf, in like mnnncr,
                      11111.lcr t\1u penalty c1f filt <loll:\l's current money fo1· l'uch 11<:glcct,            ··
                           (I\) Dy 17~8, ch, 100, the rapmius 1,r ~on1111nudh13 ofiiccrs of com111\11lt11 tll'c to nppoint the non-commitlioncll oflken.

   Minificrs c::.         XI. J\im 1m I'r 1:N,\c•1•rm, That all minilhn·u ur the gol'pcl, regularly ordained or licenfod by nny
   CIIIJll,           l'cligiotw focicty, Omll be and :tl'e h1J1·chy cxcmptcll from militia duty,                 ·       •
   Officm to tl\J;c      xrr. ,\ Sil l\f: l'I' r~AC'l'I-:n, Th:,t c~ch :md e\'Cl'Y oflicel', :q1pointcd and commillionc,,cl by virtue
   an ot1th.          nf this :tN, {\rnll, prc;dou~ to thdr c;11krini:~ on the execution of theh· rel'pcclivc ofliccs, t:11:e the
                      follow in:,~ u:,th, ~il' al1irn1:1 t ion: " I , , - - - , clo l\ve:ir, 01· ullirm, (us the cufo 111:,y he,) th:it I will
                      "hi,: tt·ue and fotthful to the !l.tte ot i\Inryh\11,l,"

   Colnim, t,c. 10        XIII, Am> in: l'l' 1:NACTAu, That the !late :111d regiment~! .colours ~rnll be pl'ovide{~ by the field.
   1,u 11rovit.!,d,   onkcrs, and the drums and Jue~, or buglc,hurns, hy thu com1111ll1nnetl ufhc:t!l'H of compt1n1i:.rn, who £hull
   ~~.                c:o;nri!rntu t(, thu fame in prnpurtion tu tho pny they wm11tl reljicclivc:ly be entitled to receive if now
                      callct\ into ni~lttal ft:rvico; :rntl ir the 1':thl colours, clrnms, fifos or bugle-horns, Hrnll not be j)I'<>·
                      ,·iclccl on 01· hdcn·c the lirn cl:1y of Augull next, in thu 111111mc1· herein dirc&cd, cvcl'y ollice1· who
                      {hall l1.11·e 1w:i:lcclcc\ tn c<•ntrihute hi~ proportion flrnll fort'cit t111d pay one thil'd of n month's pay to ·
                      which fud1 ofliccrs rdi>ccl.ively :il'e entitled when cnllccl iulo :1ch1ttl fo!'vicc.


                                                                                                                                               XIV, .1\No




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            T HO MAS .s IM LE E,                                           ESQJJIRE,              GOVERNOR,
                                                                                                         NovEMBEll. 1793.
                          .                          -                                        '
         XIV. ANO UE IT F.NACT1m, Thnt the whole of the militia, fo cnl'ollctl as nfcll'cfohl, llrnll, nftcr O It A P,
     the lir!l: duy of June next, bu cxcrcil'ed undc1• their n:rpu&ive olliccrs, 11s followcth; that is to ray-; lltill 11\                                      !·
    in companies on fomc day in Augull 11ml Novcmbc1•, 11ml in batt:1lio11 on fomo.day in Oclohcl', nftct• ~xe~i~~c, ,1c4
    the tcmth d:1y thcrcor I nnd 11ftcr the year fovcntecn humlrcd un<l ninct,·-four, U1e f,1itl mililit1 fhnll           ' 11'
    bo o:<orcifcd as aforcfaid, in co\ll()tinics on fomu <l.iy in the months of ,\pril 1111d November, iii b;1t•
    talion on fomo day in Augun, and in rtJgimcnt on fume duy in O&qbcr, nlh:r tho tenth dny thcrool';
    thnt the <:nptulns (11) of companies fi1all nppoint tho days und pluccs of mcctinr, in c<1mna11k•s, the
    majors (h) lhull appoint tho dnys nncl plnccs of meeting in lrnttnlion 1 nncl tho licutcn,i'nt-coloncls
    fhall nppoint tho d11ys and places of mcor.ing in 1•t:gimc11t; on cnch of which dnys every militia-m1111
    fo enrolled lfu,ll d11I)' 11ttc11d with his arms nntl 1tcco11t1·cmcnts in gootl 01•der 1 (i:) antl lhc c:1ptnin or
    commnndit11~ oflicct· of cuch company is l'U<[uit·c:tl to uppoint II fit 11111\ \lto(ltll' pct·lon, who thall, at the
    end of one hour nfter tho time 11ppointctl f1~1· the 1~1ceti11g of the .companr, battalion 01' reginwnt,
    c:111 over tho mu!l.er-l'oll of the comp:rny, noting thole who 111·e ablent, n1\C on th11t clay lliall nrnku
    1·ct111·n in writing to the captuin 01· commnn<ling ollice1· tht•n prcti:nt, of l'uch :1bfont1:ca; :tntl ull the
    pct-Cons l'o ahfont ;1t tho time of calling over the t'OII, 01· who {hall <lcpal't from the pnl':lllll bcfo1·0
    duly dil'chargod, lhnll be li,1blo to the fines hercnftcr menlionud.
          (n) nr 1790, ch. 100, the cn11tt1h10 1 C;c, nrc tu give notku ol' cv~ry munc1· day to the 11011,comminlonctl officers, ,,Im urc tQ
      JJivu notice to the tiri\'atcs,
          (b) lly 17y81 ch, 1co 1 die lirlt;t1tli~1·-gcnc1•;1I is tu llppoint tha da:,~ of mc~tin~ of c;ich rcsimcnt, ~.\U~lio11 nn,l c:.t,·.\
      b,llt~ll011.
          (c) lly 17(18, ch, 100, 11011-comminlon~d ortccrs or Jll'iv.i.tcu, ,, lw 11.i.vu mulkcts 01· i;nns, ~nd nppe.11· whhout them, n1·c rulijt,'\
     to Ile llncu,

       XV. Aim nr. 1-r F.N ACT1m, That if uny r:ommillioncd ofiicur fi1nl\ rcful'c 01• t\cglc& to nttcnd on J1c11nlty on om,
    nnr of thu dap which {hall lie 11ppointcd fol' cxcn:il'c, uccout1·.:d 111Hl equipped ns nl'cm:foid, (unlcl's ccn, l<.c. fur
    prevented U)' liclrne[s, 01' fomc othCl' \lllllVOilhtblc nccidt:nt,) fuch COllllllillio11cd otilccl' llrnll furfoit IIIHl ~ot lllt~m\lng,
    pav a fu111 not ei.ccediug Iii- dollau per day; (d) ,intl any 11on.1:om111Hlioned ofliccr 01· 111at1·0\'s in tho c,
    ,n·til!cr,-, and nuy 1101M:ommillioned officcl' or 1h·ugoon 1 who {hall ro refufo or IIC[\lccl to nttcnd on
    anv of 'the faid days, iu·mcd nnd 11ccout1·c<l ns afol'el:1id, (cxcupt ns bcl'ot·e excepted,) ll1nll fol'foit :\
   fu(r. not uxcecding two thirds of n dolla1· pe1· dny; nml 1111 othc1• non-cmnmillinncd o!licel's 11nd pl'i-
   vnt1.:s, wl11> {hull fo rct'ufo 01· ncgl1:lil to nttcnd, n1·mcd und 11ccoutrctl ns herein hefu1·1.1 dil'cc1ctl, {ex-
   cept 11s hefore excepted,) lhnll fo1·foit nnd \>UY one cent per day, unlcfs ei.cufod for appe:11-ing without
   nrms nnd .1cco11trc1nents hy the commanding ofli.ce1· of thcil' l'ul'pccl:ivc companies fur the day; nJHl
   if they !hall n•>t nttuml on tho fovcrill days of mocting, tll bu nppuintcd 11s :11'urcl'uhl, cnch nnd cvQry
   pcl'!on fo ncglecl.iug {hull forfeit and pay half U cloli.11· }lel' day, Ut1lcls Jll'U\'Clltud by Jickne(s, or
   othur unn\'oiilal.ilc nccitlent; the names and furmunes 01' all which pcrfons, fo incul'l'ing t.hi: fnitl
   fines nnd penalties, (ci.:ccpt fuch :is m11y h:wc 1mid the fame i11to tho h:inds of the cupt:1in or com-
   mnnding ollicct· of the company,) fi~nll lie duly 1111\l Fo1·th~vi~h ,1·ut11r:1ctl by the captuin or. i:omtnnmling
   officer of 011d1 company, undel' l11s lrnml, togctllt'r with luch lines as he hus 1·cce1vc<l 1 to thu
   Jieutcnant-coloncl of the l'cgimcnt to whkh he llrnll belong, who {hall, im111c1liatcly after the fahl
   ruturns al'c urndc to him, c,111fo the li11nc to be 1•::l'pcclively 1·ccoveru1\ hcforc fnmo jutllcc 1,f thC!
   peace living uenr the plllct: where the <lclinqucnts 1·cli>ccl.h·cly 1·clldc, ns in tlw cufo or' l'ma\l rlehts ;
   aud thu foicl licutc11:1nt-coloncl Chull, twice in every yc11r, 111:cr>Ullt with the t1;c:ili1l'cl' of his {horu fot·
   1111 tnonics l'o ruceivc1l, :11ul puy tho fame ovcl' to t'uch tru:,rurcr, tu be ful~ccl: to tho futul'u :ipplic:t•
   tion of tli:: general affemhly.
         (cl) Dy 1798 1 ch. 100, offic~ru, non•tommi!Uoued ofikcrs :ind pri\'atca, m~y be llnccl for n<J11•;1,tto11d:111co b)' co11rt11 mnrtlal, na
     tltcreln direl\cd.

     XVI. ANn m: IT F.t:,\c:1•1m 1 Thnt n cluplic:itc of nll returns made to the licntcnant-coloncls as A 11 ,ncate 111
                                                                                                                          111
   nforefuid 1 nntl nn :1t:count of ull monuy paid to them, lhull bc :111n11.1lly lndt~ccl hy the rcljiecli\'c pe1•. bu l0tg,:cl, &c,
   fons 111:,king fu.ch 1·etu1·ns 01' payments with the t1·c.1l'urcr of' th::it· 1·cfpcclive !h,m:s.

      XVII. ANn, whct·cns the rcnrnto ~,m\ d1lt11chcd fituation                              or
                                                                             thnt part of the militin of Q.!1ccn-
   Annc's county who ndido on l~ont .Iaand, rcnJurs it impl',1c1icahle for thum to meet in battalion 01·
   rciriment off tho foid ill.ind; thercfo1·c, lh: I'l' 1m AG't't:ll, 'l'lrnt the militia l'cHding on Kent itla111l Mill1lc1 on JC,
   !lu~ll not be compelled to mcct in battulion 01• reghncnt 1 but that the com)lnniL·s com)lot'c<l of the ltlan~ not com•
   militia on fahl iflnncl 11111\l ncvcrthclors ho fuhj<"a to bu cnllccl togcthc1· to c:.ci·cifo twice n yc:11• on         10 meet,                      t~'"'
   faitl illand cxclufivc of company meetings, 11t l'nch times .at11l at l'uch plac:e ns the comm,mding •
   officer of the bnttnlion to which they hclonp; llrnll tlire8, nntl lhnll Le fuhjeH to the lame finca fot•
   not nppearing nt faid meutings ns athol'a a1·u for not meeting in battalion 01· regiment, any thing in
   this 11cl. to the cont1·n1·y notwithlblncling.         .               ,
                                                                         L I t ~.                                                XVIII, ANn




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                                                                     0113
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                                                             L AW S                   o1        M A R Y L A N D.
        0 ll AP,             XVIII. Ai.:o nr. 1·1• £NAC 1·1-:o, That 1.\11 thofu po1·rons cnlled Q.\1t1kc1•11, Menoni!ls nml 1\mkersr
                                                                   1

             I.Ill.      1111<\ ull otht.:l' pcd'o111i conl'cicntioully !'crupulous of bc111'ing: n1·111s, llrnU be excufotl from mllitin duty,
      Q)1akcrs, (~c.
      O\l:Cllf~J, 8-c,   (except when cnlle1l into nchrnl fon,ice,) on the p:1y11wnt ol' two 1lollul'S c,1ch or1 the firll <lny of Scp-
                         Mnbcr 11n11ually, to the licutontll\t•colond of the regiment to which they !hall 1·el)1eclivc\y belong;
                         whh:h fohl l'ums !l1:ill be collcH1al in 11rnnnc1· al'orofohl, nml be accountc,\ fo1· n1111u:1lly, on 01• bcforo
                         the Cira tlnv of Ifocc111bc1·, nm! pni1t to the t1·cnfurcr of the e;1l\cr11 111111 wcllcl'll 1\101·e11 1·ul'pcctivl.lly,
                         fuhji:& to th<: futm·u difpofition o~ the genoral .ifii:mbly.
                               'l'hls rc.nla11 Is 1·~11ualc1\ \iy 17~0, ~11. 1()0, whkh 1,rovhles tl1~t l'udt 11cr(u11s fu 1·cf11li11g lb:ill 1my thrco rlollurs anmmll)',

      1'fanfu, g_ll,       XIX, A:m n& 11· BNAC't'r.u, Tlrnt the ma!k1• or rnHlrcfs of uny app1•c11ticc, nnd the father, 01·
      IICCOIII\U1\ilc,   ninth.ii' or gu:ll'llhm of 11ny 111it1<J1' 1 not 11 nrnu·Jfs 01· tl1·u1~11<111, who !hull rcflll'c or neglect to 11tte111l 11s
      f\c,               nfon•foid, being iu the fo1·vicc of liia fallwr, 01· 111othc1· or guan\\nn, m:1!1:c1• or mith'cl'u, llrnll bt:
                         nccount11hlu for thu line or li111Js fo i111:un•cd. hy fuch mi1rnr 01· appn.mticc.

      Any pcrron            XX. A:rn ne n• 1m Ac·rnu, That when nny 1rn1·t or parts of the 111itith1 {hall l.11: drnughtcd, or
      <1rnughtc,1 m:,,y callee\ out of the itatc i11w 11Nual l'c1·\'icc, cvci·y pc1·fon cnrollctt :1s :1fo1'..:l\11d, who is
      !ind a l\1!11li-                                                                                                             not u co11un\f-
      1ut~, &~.         lioncd ul1icc1·,· !hall h;wc it In his choice, cith~•· to 1'.:1·,·e in p~rl\i11, or to l\11\l :1 li11licicnt pcl'l'on for n
                         fobflitnte, which fohl fohllitut<: llrnll he ;q1pl'ovc(\ ot' by tlw lh•uten:111t-colo11cl, or com111amli11~ ol1iccr
                         of the battalion to whkh he llrnll b11!011g; Lut if nny pcl'fon, not Ldng difahletl hy lickncl's, !hull
                         IIC'f~lcct 01· l'l.'fufu to forvc, ur fin,l fuch futiich.:nt fubllitutc in hiu pl11cc within ten days 11ft1:1· notice·
                         1•h-cn to him, tho liuutc~1:111t,coloncl, 01· comm:rnding oflicm· of tlic b11tt;1\icm to which l\ich tlclin-
                         1juc11t bdongs, flll\11 1 und he is lwreby rcquin:1l to prnvhle, hil•o 01• JWOC\ll'c, on I.\S 1·cul'onaLle te1·ms
                                        n
                         :1s may Le, l'uhllit\\te 101· fuch purfon fo 1·0.:fuling ol' 1wglcc1i11g1 anll to clrnrgc l'nch fum or foms,
                         to{•cthcr with rc;ll~urnblu cxpenceu for 11ro::ud11g the fomr, to fuch <lr.:litH111cnt, to be recovered bv
                         <llltrefs, an<l folo of his i~ooll~ and chuucls, land:, 01· tc:.·ncmcnts, hy wan·,wt undel' the h:rncls 1m~t
                         fo;tls of anv two ju!liccs of tho pc11ce ot' the county whcN fuch pcrl'on roih\es ; am\ in 1111 cal'cs
                         where it !hall be nccelfat')' to 1·ccover ;my fine 01• f01·fdture, 01· othcL' money wherewith anv pcr!'on
                         01· pl:l'l'ous 111:1y bccomo clrnrgcuhlc 11111h:L' nnd by virtue· ot' this t1cl, by c\Hhd's :rn1\ folc, 01· ex'ecution?
                         of the pro\1crty Cit' l'uch pcu'l'un or pcrfons, it is hci•e;:by clcchu·c<l to be th(.l duty of the !hcrilf, 01· pei·-
                         fon cxccutrng for the fo111<.!, to tnk..: foch pr<>pcrty us II.mil be ulfol'cd or (hewn to foch !hcri/1; CII' pu1·-
                         fot\ cxucuting, :tmounting to l'uch 1h1bt :1n<l coll:, nm\ if no pl'openy 111~11 be {hewn 01· offered, fuch
                         !hcl'iff, 01· pcl'lclll cx-;:cutin;;, 111:\!l not t11kc in execution nny ncgro, 01· other \'Uluablc prnpcrty, to
                         fntisfy :1 fmnll or trlfiinti line or !'um, if property of {inull vuluc c11n be found, but he lhall tnkc luch
                         propet·ty, if ;111y l'uch c1111 liu fou11d, 11s will pay the l'um due, with tho co!~ of levying the fame, a1ul no
                         111orc, ns 11c.1rly as nrny he; amt any pc1-fon olfcnding hcl'cin t1mll fo1·feit :rnd pay trc:blc the fum fa
                         levied, to be rcco,·ul'cll by thc pnrty grieved hy im\iclnn:nt or nc'tion of t\ebt in tlui county where
                         t hc ofli.:nce !hall happen ; provided, th:1t no lieutcnunt-coloncl, 01· comm11ntli11g oflicc\' of n bnt•
                         t;1lion 1 Hrnll be oltlig1,;ll to p1·ovi<lc II fubflitutc fo,· nn} delinquent, unlel'a he is of 011inion t h11t Cuch
                         ilclinqucnt has l'ui1icient p1·01H:1·ty to pay the expeuccs of procurini~ 11 l\1bllitutc; am\ if fuch lieutc-
                         1rnnt-coloncl 01· Cl1mnrn111li111{ ollh:01• !hall be of opinion, tlrnt :rny delinquent hns not fofiicient p1:upcrly
                         to pny the eX\Nl\ccs of procuring a fobftitutc, bc flrnll ni:1l:c a\1plic:1tion to n jultico of the pe:icc of
                         the county whel'c fuch delincp1c11t rclitlcs, who, upon fnch 11pph1:t1tion, {hl.\ll iffuc his WaL'l'ant to the
                         fhcriff ot' the county to 11r1·c!1: the dclinqucnt, nn(l impri!'on hiin in tho common gaol, thc1·e to rcnrnit1
                         for II cc1·t:1i11 time, to be i'pccitict\ in the wnmrnt, not exccclling twenty cluya, nml the 01eriff {h111l
                         be obligud to kccp fuch delinquent in the 1:11111111011 gnol, :1g1•cc:1blc to the comm:111d of tho fni<l wnr~
                         1•:111t, unlt:fa he flinll nirc<: to i'i.:rvc, or find a fuffichmt i'uhl\itutc in his place; provide<\ nll'o, thnt
                         11<.> milith-mnn, hnving pcd'onully or by l'ub{litute fcrvctl in the militi11 1 flmll be obliged to fcn•o
                         :1gni11 umil by 1·ou1tion it comes to his tmn,
     lci·fon~ ~A'·            X:S.J. A~D llf: n· r.i-Ac'I'r.n, 'l'hnt if nny pcrfon or 11crfons flrnll think him, her 01• thcmfcl\'es ng-
     c1·i~vell n1;1y      gricv1:d in tho fohrnrc of his, her or theil· goods nml chattels, lnntls 01• tenements, 01· by the exe-
     a1111~;il, ta:,
                          cuting his, her or their pcrfon 01· pct'!'ons, he, fllll or thuy, 111.iy entc\' 1111 11ppcnl before the ju!Hccs of
                          the ncs.t county cou1·t, untl on tho party's giving f1.10icic11t l'ccurity within fix tl:iys next nfter :my
                         gno:ln or cl111ttds, lands or tenements, lhull bo l'ci11eu <ll' ditlrninetl us 11fo1•ei'aid1 01• his, her 01· thei1'
                         p1:1·1'on ot• perfons cxccuti:d as l.\forel'aid, to proli:c11tc foch appeal with e{focl;, the jufiiccs {hnll 1·cccive
                          thll fomc, and fiay further rocefs I l.\ntl the i't1\tl Julliccs lh11ll 1•etu1·11 every i'uch uppeul on the fccoml
                                                               1
                         clay of the nc·xt t.::nu, 11111 the· co111·t lhall direct II trinl by ju1·y of tho county, 11s in othc1• cnlcs of
                         dubt, whofe verdict ll1nll be final I.\IHl ccmclufivc, t1llll, except in extt·nordinnl'\' cnfes, or which the
                         i.•Jm't 1111111 bu judge, nil fuch ;1ppeuls llrnll be trice\ nt the te1·m to which fuch returns llrnll b11 matlc,
                         :.i11y lt1w, cn!lom or ufoge 1 to the contrnry notwith(h111tli11~;.

                                                                                                                                                              XXII, AND:




                                                                   EXHIBIT 6
                                                                     0114
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              TH b MAS SIM LEE, EsQ..YIRE, Govxmt-toR,                                                NovF.MBER.            179 3,
          XXll, A-1m BE I'l' ENAC'l'Jm 1 That no 111ilitia~man flinll le:wc the company ~o which he bclong11 c Ji A 1.1,
                                                                                                                        1
      11111.l join 1\1\Y other, under thu lle11ulty of ten tlol111rs, unlufs by conl\mt of tho cuptnin, or co111m11nd-       LJU,
      ing officer of the COlllr,any, or in c11l'i.l or l'CII\OVillg to l'omu othcl' di{lrict Witl1in this or 1111y Other r,mlht:tmall
      flntc 1 l\tlll in fuch cafo 10 llrnll apply to the comm11nc.kr of l'uch company, who {h11ll gh•c him n ccrti- c~~;!~r' Bio,
      lk11to of his being difchnrged, under the penalty ot' ten tlollnrs, t1nd if lhc faill milititt-1111111 lrnc.l been        '
      ln aHu:11 fvrvico, {hull 11110 certify the'timo theruof, t1ml how long he lrnc.\ continued thc.n·cin, unuer
      the Jik;i penalty;
        XXIII, AN» ni t'l' F.NAC'l'l:1> 1 That no perfon, fcL'\•ing ns a f\tbllitute for anothc1·, fi1nll thc1·elty S111in11111e·s not
      be c:11:ufod from ii.:1·vi11g in his turn,                                          ·                         c:..culcd, &c,

         XX.IV. A~n tlF. 1'1' 1,NAC'l'tm, 'I'hi1t no oflice1· or pl'ivntc of the militin llrnll he fubjc& t(l nny 111·. Officm, &c,.
      rel~, either on tnol'uc prncclii ur cxcc11tiu11 1 or· it1 nny othc1· mnnnc1·, fur any civil m11lter 1 in his nt· not liih,it:a to
      tcndnrn:c nt, going to, or rctul'ning from, mullet•.                                                              arrcn, &c,
          XXV, .AN» BE rr ENAC'ftm, That if any fuit or fuits {hall be b1•011ght or·commcnccll ngainO: nny Allion 10 he
      11erl'un 01· p111'fons for uny thing done in pu1•fuuncc of this ncl, th.: aclion lhull be luid in the co1111ty lahl in 1hu
      whc1·c the caufo ol' cnul'cs of fuch nclion did nril'c, nnll not clli:wlw1·c, n11c\ thll dcf~·111l:111t m• th:fcn. mmty, &c,
      d,rnts m:,y pleat\ tho genc1•:1l iffuc 1 anu give this act nml th1.1 l'pochtl 1m1ttc1• in evidence; i1ml if the
      j1u•y llu1ll find for tho tlofondnnt or defoudnnta in l'uch action or ac1iuns, ur if tho ph1i11tifl:' or plaint iii's
      ilrnll be nonfuitecl, or c.\il'cu11tim1c his or lheh· action or :16'\:ions, 11ftcl' the dct'-:mlnnt m• c.lct'clllh\llt\l
      :lhall lmvu app!.rnt·cu, or if upon demuncr judgm1.1nt llrnll b1.1 givc.rn :1g:1i11{l the plnintiff m· plajntiffs, the
      <lcfench111t 01· llefonc.lnnts fimll lrnve tl'ublc colts, and hnvc the like 1·u111cdy for the i':tml• us nny tlcfon.
      d:mt 01· dcl'c1Hlnnts hath 01· h:wu in othc1· ci1fl:o to rccovc1• co{ls by h1w.
          XXVI. ANn, whereas fumh'y companies u£ n1·tille1·y, c:wnlry :md inf:rnll')', now cxill, or mn~· c:,:.       .
      Hl:, i,n tho town.of Baltimore, pruviuus to the twentieth day _ot' .May ncx~,. lh: 1·1· t!'IAC'l'1m, l"h:1t Companfo~
      11ll luch comp:1111cs now fol'mcd, or thnt m:1y bc Fo1·mcd p1·cv1ous to tho foul twcntt..:th dny of 1\foy comhm~d, ~a.
                                                                                                         0



      next, tlrnll be nml 111·c hc1·clty comitmc(l nnd conlirmetl, i'uhjcct ncvcl'lhdcl's to llll Llutics, lines aml
      11c1rnltics, to which tho ·1·c!t uf the militia nrc: li1bjuc1ctl by thill ncl i p1·ovhlcll, that the govcrno1·,
      with the ntlvicc llnd confo11t of the council, lhnll havci the :1ppointmc11t 1111<l commillionit,g of the
      <1fliccrs of the fah\ compnnies.
        XX.VU. A~n 1m 1·1· I\NACTl'.D, That this net flmU continue nnd be in fm·c1.1 fnt· nn1l during the n1m1tion.-.
      co11tinuancc-of tho l.icfot·c rccitell net of coug1·efs,
                                         '!'ho 11fl or ~ongrcl's Is 11ot \h11ittc1\ h1 Its t\urn\ion,
                                                    C I-1 A· P,                   LIV.
     An ACT to open and lay out roads from Denton, the feat of jufHce l'~lfo1l 181h or
       in Caroline county, to different parts of faid county, and the fame, Dec, 1793,
       when opened and laid out, to be the public roads of fa.id county.
       Lib. JG. No. 2. fol. _67.
     W       HEREAS the inlrnhitnnts of Cut·oline county e:<pc1•icnco con(itlct·nblc inconvenience f<1l' Lhe
              want of public roads lc1111ing from Denton, thch· l'c11t of juflice, to dillimrnt pal'tn of fohl
     county, nm\ as it is right :ind propel' they {houlc.l lut\'tJ tho fome fo1• thch· cal'c :1n1l convc11i(;t1cu;
     the1·et'orc,
        II, Ilr,: lT F.NA<:TEO, hy the Gmtral 4ffembb• of 1vli11') /t111(f, Thnt Hent·y Downen, Jolcph ll\ch;11·c.lro11, Commlffir,nrnJ
                                                                           0



      Chrinophel' Driv1ir, \Villhun Robinfon ttncl lfobc1·t I-lul'dca{tlc, be nm! thcy :11·e hcl'Chy appointc1l nwoiutcd, f(c,
      commillionc1·s to opcn nnd l:1y out the following l'Oa<ln in Gnroline county nl'urci':\id, to wit: A roatl
     from the well: tidci of Chopt:rnk river, op\1olhc to Denton, to intcd'ccl the 1·0:tll from Tuckuhoc Bridge
     to Price's Lnnc.ling ;. nnothcn•o1\tl from t 10 wdl: lido of C.:hopt.111k rivc1• 1 oppnlito to Denton, to Tuck.
      ahm: !Mdge l nnothe1· ro11il from the wc!t lido of Choptunk river, oppor1te to Denton, Lo intcl'l'cfil tlio
     roacl from Grecn!borough to Tucknhoo Bridge nt 01• near tho Deep Urnnchcs; n 1·on1l f1·om Denton,
     down Choptnnk l'ivcc, to inte1·fecl; tho road lending from Orcenlho1·011gh to Dover ferry between
     H.hotles's ptn11t11tiol\ nnc.l the mill commonly cnllctl nll(l known by the 11nme of Pottc1·10 Mill; 11nothe1·
     roacl fi·om Dcntott to intcrfcct the roncl from Greenlbo1·ough to Dover ferry between the Old Chapel.
     and tho Th1:eo lMdges; nnd ono othet· ron,l from Denton, up Ghoptnnk rive1• 1 to i11tc1·fect the ro~d
·•   from Groenlborough to Dover. fc1·ry 11t 01· nenr Mntthew Dl'ivc1· 1s law mill; 1111d the l':tkt con11uillio11-




                                                         EXHIBIT 6
                                                           0115
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           EXHIBIT "7"




                                EXHIBIT 7
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                                                EXHIBIT 7
                                                  0117
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                          ln, the Year if.our LORD, r-793L
                                                   Militia ..




                      Acts and Laws,
              PaiTed by the GENERAL COURT of
                           Ma achufrtt1 :
              Begun and held at BosTON, in the Cou.n ty of SuF-
                FOLK, on Wednefday the Twenty-ninth Day of
                MAY, ANNO Dol\nNI, 1793.


                                        C H      A P.        I.

              An Ad: for regulating and governing the Militia
                  of the Commonwealth of M affaclrnfetts, and for
                 .repealing all L aws heretofore made for that Pur-
                  p ofe ; excepting an AB:, in.titled " An Acl: for
                  eftablifhi ng Rules and Articles for governing the
                  Trnops fibtioncd in Forts and Garrifons, within
                  this Common:wea1th, and .ilfo the Militia, when
                  called into actual erv.ice."
               TJ ?HEREAS the Laws.for regulating and governing tbe Mi'!i-
              Y//    tia ef this Co111111onwe11lth, have become too complicated for Pre, mbl,
              praclical ufe, by reajon of the flv eral alterations wbicb have from             ·
              time to time bem madt! thenin :               Therefore,
                 1:  BE it enafled by the SENATE a11d HousE if REPRESEN -
               TA TI.V ES in General Cot1rt a/jt'IIJbled, and by tbe authority ef .the Lnw, repe•led,
              Jame, That the fever:il Laws 'heretofore made for governing and
                                                                          regulating




                                              EXHIBIT 7
                                                0118
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                      --- - ---- Yedr ifMilitia.
                                         our LORD, I 793·
                                      In the


                                        regulating the Militin, be, and hereby are repealed, except an Acl:,
                                        intitled " An Acl: for efiabli!hing Rules and Articles for govern-
                                        ing the Troops fiationed in Forts and Garrifons within this Com-
                                        monwealth, and alfo the Militia when called into actual.fervice."
                                           Provided neverthe/eji, That all oifa:ers acl~ally in tommiffion,
                    , P,ovjfo,          agreeably to the laws which are hereby repealed, and in grades
                                        which are efiabli{hed by this Acl:, !hall continue in cornmifiion in
                                        the fame manner, and in the fame authority they would, in cafe the
                                       .faid laws were !l:ill in force; and all acl:ions depending in any Court
                                        by force of faid laws, !hall, and may be .profecuted to final judg-
                                       ·ment and execution.
                         ,         h . ·II.· A nd be it e1wclt!d /Jy the nut/Jority a orefaid, That eadi and
                      Pcrions to c
                     enrolled                  C.
                                in the every ,ree,   a ble- bod1e
                                                               • d w Iute       . • . of th 1's, or any other of
                                                                       . ma )c c1t1zen,
                     Militi,.           the Un ited States, refiding within this Commonwealth, who is,
                                        or lhaU be of the age of eightee" years, and under the age of forty ..
                                        Jive years (except as is herein after excepted) {hall feverally and
                                        refpecl:ively be .fubjecl:to the requifitions of this Aift, and .!hall be
                                        enrolled-in the Militia, by the Captain or Commanding Officer
                                        of the company, within whofe bounds fuch citizens !hall refide,
                                        within three months from and after the palling th\s Act : And it
                                      ·fl1all be at all times hereafter the duty of the Commanding Officer
                                        of every fuch company;to enroll every fuch citizen as aforefaid :;
                                        and alfo thofe, who !hall from time to time arrive at the age of
                                        eighteen years, or being of the ~ge of eighteen years, .and under the
                                       -age of forty-fiveyears, and not herein after excepted, /hall come to
                                 ·r, refide within .his bounds; and !hall without delay notify fuch citi- ·
                                        zen of the enrollment, by a non-comm1ffioned   ·       ofli1ccr or other
                     To bc not, icd ,

                                        perfon, duly authorized.for that purpofe, by whom fuch notice may
                                        be proved; and in all cafes of doubt refpetl:ing the age of any per-
                                      .fan enrolled, or intended to be enrolled, the par.ty quell:ioned, !hall
                                      _prove his age to the fatisfatlion of the Commanding Officer of the
                                       company within whofe bounds he may refide.
                                           lll. .And be it further enacled by the .authority nforefaid, That
                                     ·the Vice-Prefident of the United States; Members ofGongrefs, of
                    Perfon, i! l•
                                     .both Houfes, with their rdipeaive Officers; Lieutenant-Governor;
                    empted from Members of the Council, Senate andHoufe of Reprefentatives, with
                    m iuing,         ·their Officers ; Secretary and Treafurer of the Commonwealth;
                                     'Officers, Judicial and Executive, of the Government of the Uriited
                                       States ; Jull:ices of the Supreme Judicial Court; Jufiices of the
                                       Courts of Common Pleas; Judges of Probate; Regifiers of Pro-
                                       bate ; County Regill:ers ; Jufiices of the Peace ; Sheriffs ; De-
                                       puty-Sheriffs .; Coroners ; Confl:ables; Selectmen ; Minifiers of
                                       the Gofpel ; Elders ar.d Deacons of Churches ; ' Church War-
                                       dens, and thofe of the religious denominations of ~akers and Sha-
                                       kers ; Mall:ers of Arts; Officers and Students at any College ; alfo
                                       fuch Phyficians, Surgeons, fi.ited School-Mall:ers, Ferrymen and
                                       Miller~, as the Selecl:men of the towns to which they!hall fevera_lly
                                     :belong, <hall by a writing under.their hands, fignify the expediency
                                                                                                               of




                                          EXHIBIT 7
                                            0119
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                           In the rear if our ".LORD, r793.
                                       Militia.
           of exempting,; perfons who have by commiffion under any govern-
          ,ment or Congrefs, 01· by election in purfuance of the orders of
           n'ny Congrefs of the United States, or either of them, held. the of-
          lice of a Subaltern or, office of higher rank ; and all Mariners ac-
          .tually employed in any fea-fervice of any citizen within the United
           States, in· ariy velfel of more thnn thirty toils burthen ; Cull:om-
           Houfe-Oflicers ; all Poil:-Officer-s · Stage-Drivers; actually em-
          .ployed in the care and conveyancet>f the Mail ; and .fuch perfons
           as did attain to the age of forty .year-s·before the eighth day•of May,
          .one thoufand Ccven hundred and ninety-three;. ~nd alfo all fuch'
           Manufacturers as are by any fpecial law-of the Commonwealth
          -now exempted, !hall be, and .hereby are exempted .from the faid
           enrollment.                    ·
                 IV. And be it jurther macfed by-the authority qfarefaid, That
          ·th e Govemor, by an. d wit                • of the Counc1:] , be, an d of
                                      . ' h the acl vice                            Arrangen1en1
                                                                                      1hc Milhia,
            hereby is authorized and empowered to fom1 and arrange the Mili-
            tia into divifions, brigades, regiments and companies; and from
           .time to time to make fucu alterations therein as !hall be necelfary ;
           and if the fame be convenient, each brigade !hall confi!l:of four re-
           giments, each regiment of ten companies, and each company of
           :fixty-four effecl:ive privates : Provided notwitijlanding, That the P .,.,,
           -prefent arrangement of the Militia !hall continue as it now•is, un- rov,
            til the Governor, with the advice of.Council, {hall otherwife or-
            der ; and each new divifion, brigade and r.egiment {hall be· num-
            bered ,at the formation thereof, and a record made of fuch number
           'in .the Adjutant-General's office, and when in the· field or in fer~
            vice, each divifion, brigade and regiment !hall refpecl:hrely -take
            rank accocding to :its number. .
                 -V. And he it fzirther cnacled by ihe authority efore.fat'd, 'That
            .the Militia !hall be officered, as follows-: To each divifioo, one Monn r I om,
             Major-General.and two Aids-de-Camp, with the rank,of Majon c,orin1/1h~ Mi·
            To each brigade, one Brigadier-General,with one·Brigade-Infpec- htta.
            cl:or, to.ferve alfo as Brigade-Major, with the rank of Major: To
            each regiment, one Colonel, one Lieutenant-Colonel, one Major.
            Pr.ovt'dcd neverthclefi, where any vacancy of Colonel now is, or
            lhall hereafter happen, then the field-officers of each regiment to
            con(i(l: of a Lieutenant-Colonel-Con,1mandant, and·two Majors·:
            To each company of infantry, one Captain, one Lieutenant, and
             one Enfign, four Serjeants, four Corporals, one Drummer, one
             Fifer or Bugler: That there !hall be a.Regimental Stuff, .to con~
             :lift of one.Adjutant, one Qgarter-MaO:er, to rank as Lieutenants,
             one Surgeon, and- one Surgeon's Mate, to be ar,pointed by the Com-
             manding-Officer of the:regiment, and comm1ffioned by the Gover-
             nor, oneSerjeant-Major one Q!!arter-Mafier-Se1jeant, one Drnm-
             Major, and one Fife-Major : That each company of artill.'ery
          . lhall confill: of one Captain, two Lieutenants, .four Serjeants, four
             Corporals, fix Gunners, fix,Bombadiers, one Drummer, one Fifer,.
                                                                                 and




                                                 EXHIBIT 7
                                                   0120
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                                  lw the rear qf 01w LORD~ 1,793·•.
                                               Militia..
                              and thirty~two I>rivates or Matroifes : And each· troop of cavalry:
                              {hall confi{I; of one Captain, two_ Lieutenants, and one Cornet, foul:'"
                              Sc1jeants, four Corporals, one Sacldler, one Farrier,. one Trum-·
                              peter, and thirty-t,vo Privates:. And there !hall be one Adjutant-
                              Gei1eral and one ~arter.. Ma!l:cr-General for the whole Militia, to
                              be appointed by the Governor.             .
                                 VI. .dnd be itfurtber enaf/ed by the authority aforifaid, That
                                     each and every Major-General be, and hereby is empowered, and
                  Major-General it fhall be his duty, to give all fuch orders, as (hail from time to.
                  cj~~wirct ~i time be nece!fary, confifient with the law for electing Brigadier-
                  ii:e,:.00 ° · Generals, Field-Officers, Captains and Subalterns, in brigades, re~.
                                     giments and companies, within his refpecl:ived~vifion, which have
                                     not been already comrniffioned, and for filling up vacancies of !uch
                                     officet·s or any· of them, where they now are or r.oay hereafter hap-
                                     pen, Provided always, That whenever a time {hall be appointed
                                     fo1· the e]ecl:ion of any Officer or Officers, the ele&ors £hall have
                   Provm,,           ten days notice thereof, at lcail: ; and all returns of elecl:ions, and
                                     neglects, or refufals to make choice of ('.)fficers, {hall be made to
                                     th.e Governor by the Major-Genernl, in whofe divifion the elec-
                                     tion fhall •beordered ; and all commiffions fi1aU pafs through the
                                     hands of the Major-Generals to die officers in their refpecl:ive divi-
                                     fions, for whom they fhall be made Ollt ; and every per(on who.
                                     ihall be elected to any office in the faid Militia, and fhall not with-
                                  . in ten days after he !hall have been notified of his elecl:ion, (except-
                                     ing aMajor-General, who !hall be allowed thirty days after he fi1all
                                      be notified by the Secretary of the Commonwealth) fignify his ac:.;
                                      ceptance thereof, !hall be confidered as declining to fcrve in fuch
                                      ofHce ; and orders !hall be fortl~with ifiued for a new choice,
                   .f\11 officer~ to     VII . .dnd be itfurther·enav"'led by the authority afori:faM, That
                   ru~~ribe th • every perfon who fi1all be lawfully intitled to be commiffioned to
                   oa •               any office in the Militia of this Commonwealth, !hall at the time
                                     of receiving his commiffion, take and fubfcribe the oaths and de-
                                     claration r.equired by the Conftitution, before fome Ju!l:ice of the
                                     Peace, or fome General or Field-Officer, who fhall have previouf-
                                     ly taken and fubfcribed them himfelf, and who are hereby autho-
                                      rized to admini{l;er the fame ; and a certificate thereof !hall be made
                                      on the back of every commiffion, by the JuO:ice of the Peace, or
                                      General or Field-Otliccr, before whom the faid 0aths and declara-
                                    . tion fl1allhave been taken and fubfcribed,
                                         VIII. .dnd be it further enacled by the authority eforefaid, That
                                      the Commanding Officer ofregiments, !hall appoint the non-com-
                    Ncn,commit'· miffioned Staff-Officers of their refpecl:ive regiments : The Com-
                    Boned Oflicera
                    by whom ap, manding Officers of Companies !hall appoint the non"commiffion-
                    11ointcd,         ed Officers, including the Clerks, of the refpeclive companies : All
                                      11011"commiffioned Staff-Officers andSergeants:lhall receive warrants,
                                       under the haud of the Commanding Officer of their refpeclive re-
                                       giments or corps :-And the Adjutant {hall !.:eep a reeord in a fuit-
                                                                                                          ablc-.




                                             EXHIBIT 7
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           _.....,   ______________________
                              if
                          in the rear
                                            _  our LORD, l793• -
                                             Militia.
          able book, to be kept for that purpofe, of all warrants which (hall
           be ifi'ued :_;And no non-commifli.oned Officer !hall be deemed to ~: 0t1:!~"';,:a
          have tefigned his office, until he £hall have done it in writing to wridn~.
         · the Commandihg Officer of the regiment or corps to which hebe-
           longed; and thall have obtained his dilcharge alfo in writing, from
          fuchCqmrrianding Offic:r :-And no non-commiffioned Officer or
           Private, fl1all be difenrolled'from the Militia for difability, without
          a certificate from ihe regi~ental Surgeon and Mate                        .
              IX. And 6e it furthdr enacled by the authority eforefiud,· That Clerk, cu be
          every company !hall have a Clerk, who !hall be alfo one of the Ser- •ppoiutcJ,
          geants, and he !hall be {worn to the faithful difcharge of his trun ; - 'their dutr,
           and it !hall be his duty al ways to keep a fair and exact roll of the
          company, togethe1· with the !late of tho arms and equipments be-
           longing to each man, which roll he !hall annually revile and correct
           in the month of May, as is herein after direcl:ed ; to regill:er aU
           orders and proceedings of the company in an orderly book, which
          1hall never be alienated from the company ; to k~ep exacl: details
          of all detach!llents; to call the roll whenevel' the company is aff'em*
           bled; to examine the equipments when .thereto required, and to
           note all delinquencies ; to fue for, recover and receini all fines and - cmpowmd
          forf~tures which are required by this Acl: tobe recovered, ono half to ru,.
         · to his own ufe for his trouble, and the other half to be paid to Appropriation,,
           the Comnianding Officer of the·company, in tru(l:', for the ufe of the
          company to whic:h he belongs, excepting foch cafes wherein other
           provifion is made by this Acl:> for the recovery and appropriation
          of fines and forfeitures.
              Prr;vided neverthe/eft, That all commiffioned Officers now in l'ro¥ifo,
           command in the Militia, in any grade not e!l:abli(hcd by this Act,
           .Chall be continued in their command; and the Clerks of coinpnnies,
           now in office, /hall be contiqued in fuch office.
              X. And ot! it Jurther enacled /;y the authority efortfaid, That ~on,,onm,H-
           whenever a company !hall  ' have neither commiffioned Officers nor""""~ ~~~
                                                                                       om,m
           non-commifiioned Officers, the Commat1ding Otlicer of the regi- to:c.
           ment or battalion to which· fuch company belongs, Ornll appoinf
           fuitable perfons within faid company to be non-commi!1ioned OffiH
           cers :md Clerk of the fame; and fuch non-commil1ioncd Officeru
           and Clerk~ fo appointed, (hall be authorized in the fame manner,and
            have the fame power, and authority, as if they had been appointed
            by a Captain duly qualified to command faid company.
              XI. And be it /urther enacled by th/! m,tbority q/()rffiu'tl) That Prohtbilloi:•.
            no Officer of the Militia !hall be difchal'ged excepting by thcCom-
            mandet· in Chief, on the requeft of.fuch Officer, in writing, or by
            the Commander in Chief on the add refs of both Hou(es of the Le~
           g'iilaturc; or by being diibanded by a law of the Commonwealth,
           or by a judgment of a Court-Martial, or by actual remov:11, (the
            Major-Geneml to be judge whether the difhmce is fo great that he
           cmrnot conveniently difcharge the duties of his office) or by twelve
                     .               B                                      months




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                                       J,i the rear if q11r LORD, 1-793;
                                                              Militia.
                                      months abfence, without leave of fuch Officer, from the diftrict
                                      of his command : And no Officer /hall confider himfelf exempted
                                      from the duties of his fiation, until he fl1all have been difcharged
                                      in one or other of the methods aforefaid: And if by the Comman-
                                      der in Chief, not until he {hall have received a certificate of fuch
                                      difcharge : No Officer a1all be ,allowed to refign his commiffion
                                      when under arreff ; and no General or Field .. Oflicer fl1all approve
                                      the 1·efignation of any other Officer, until fuch Officer /hall have.
                                      lodged in his hands all fochMilitia laws and orderly books as he
                                      iliall have been fumilhed with by the Government ; and fuch
                                      General or Field-Officer lhall deliver the laws and orderly books
                                      which he Q1all thus have received, to the next fucceeding Officer
                                      who· fl1all be commiffioned in the place of him who lhall have
                                      refigned.
                                          XII. And /;e it further mac!ed by the authority efot·eft.ua,
                                       That the Governor, with the advice o( Council, be and.hereby Js
                                      authorized to complete the cavalry in each brigade of the Militia,
                    Cavalry organ•"to two. fiu11 companies
                    i1,d,
                                                              • 01· troops ; an d t J1e cava1ry m
                                                                                                • eac_11 br1ga
                                                                                                             • de,
                                       when completed, !hull be formed into battalions or fquadrons;
                                       in thofe brigades where there ar~ or may he two or three troops,
                                       they /hall form fquadrons,..and each fquadro11 thall be commanded
                                       by a Mujor ; in thofe brigades where there are already _more than
                                       three troops, they ihall form battalions, and each battalion ihall.
                                       be entitled to aLi.eutenallt-Colonel, Major, Adjutant and ~artcr-
                                       Mafter: Provided a/wayt, That in thofc brigades where there are
                                       already two troops raifod, they /hall not be augmented ; and in
                     Proviro'e,        thofe brigides where there.are already more than two troops, they
                                        lhall not be reduced. Providetj a!Jo, That the companies of ca-
                                        valry which are by any former Acl:, annexed to any regiment, ihall
                                       continue to be fo attached to ~uch, regiment in which it is ra~fcd.
                                       TqF Officers of cavalry lhall furmfu themfclves with good horfes,
                                       at lea 0: fourteen hands and a half high ; and lhall be armed with
                     un·          1
                                       a pair of pill:ols, and a good fword, the holfl:crs of which lhall be
                     m,:'i~' ~-~~nilh covered with bear.(kin caps : Each horfeman lhall furnia1 himfelf
                     '.~~~~;;~'~vith with a ferviceable horfe, of at lcaft fourteen hands and a half high ;
                     h0 rr, .. n~cvcry a good faddle, bridle, mail pillion and valife; holfiers, a breafl:plate,
                     or 11cr cqu111-
                     mcnr,             an d crupper ; n pair . of boots an d 1purs,
                                                                             r.           • of. puco
                                                                                      u pair     •11. 1s ; a -1a
                                                                                                              r. b
                                                                                                                  re,
                                       and cartridge~box, to contain twelve cartridges for pifl:ols. No
                                       man fl1all be enlified into any· troop of cavalry, unlefs he !11all
                                       own and conlhtntly keep a fuitable horfe, and furniturr, for that
                                       forvice; and if anY, man who lhall belong to any troop of cavalry,
                                     · {hall be delHtute of a fuitable horfe and furniture, for more than
                                        three months at one time, he /hall be difcharged from Cuch corps,
                                        and enrolled in the fl:anding company in which he _l'efidcs. And
                                        whenever any draft or dc:tachment !hall be made from n troop of
                                        cavalry, for actual fervice, the men thus drafted or detached, ih:111
                                        mnrch with their own horfos ; and before they march, the horfes
                                                                                                                Jhall




                                           EXHIBIT 7
                                             0123
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                      In. the r~ar if our LORD, x793·
                                        Militia.
         ihall be appraifed, by three· indilterent ~en, to be appointed by
          the Brigadier of the brigade, from whi'~h fuch deta9hme11t {hall
          be made.
         · XIII . .And 1't it further enatled by the authority aforefaid, That
          the Governor with the advice of Council, be, and hereby is au-
         :thorized to com pleat the a1'tillery in each brigacje of the Militia, Artllleryor•
          to two full companies I and when thus com pleated, lhall form a g•niicd,
          battalion in each brigade, and be entitled to a Major, Adjutant and                  ·
          <ll!arter-Mafter. Provided nevertbe/ej's, That in thofe brigades,
          where there are already two companie's rai'fed, they lhall not be Pra,ir•.
          augmented J and in thofe brigades where there are already more
           than two companies, they lhall not be reduced, And each com-
          pany of artillery, {hall be pt·ovided with two good field~pieces, with
                •
          carriages    an d apparatus compIeat ; an ammumt1on    •• cart ; lOrty
                                                                             e:     ... tobepro,
                                                                                    videdwithcom•
           rou,1d fl10t, and forty rouncls of. canni!l:er O1ot.-The Governor plcte.uppmtui,
          ihall order to be ilfued to each company of artillery, annually, a
           quantity of powder, not- exceeding one hundred pounds, which
           G1all be expended on general mu(ler days, and in experimental
           gunnery. 4,nd the ~arter-Mafter-Oenen1l (hall provide for,
           and fupply the artillery companies with all thecarriages, tumbrils,
           hamefs apparatus, implements, larboratory and ordnance !lores, ~artt,r-M,n,r
           which may, from time tq time be neceff'ary for their equipment, 10 urn,n..
           The Officers of artillery lhall be armed with a fword or hanger ; .
           a · fufee, bayonet and'belt, with a cartridge-box to contain twelve
           cartridges : And each non-com1riiffioned Officer and Private or
           Matrofs, of thofe companies which are unprovided with fie)d ..
            pieces, /hall furniil1 himfelf with all the equipments of a Private
            in tl.1e infantry, until proper ordnance and .field artillery is pro~ 0c0mmmnnrlblng
            vided. An d tIie Comman ding    ' Q mcer
                                                  r.ll
                                                        of eacJ1 company of•art1'} - mou·otablo,
                                                                                        tear to •

            lery, lhall b.e accountable foe the careful prefervation of the pieces
            and apparatus, and .the proper expenditure of the ammunition
            fopplied by government, Each company of artillery_, and troop Artillery an,\
            of cavalry, lhall ·be formed of volunteers from the bngade ; and cavalry tu be
            together, they (hall not' exceed in number one eleventh part of the f~~~~~~.~r vo,
            infantry of fuch brigade J and they lhall be unifo1·mly cloathed in
            regimentals, to be furnilhed at their own ex pence.
                XIV. And be .it .further enal"led by tl.h· authority aforefi1id,
            That at all regimental mufters, the companies commanded by the
            two cldefi: Captains, /hall acl: as light-infantry companies, ex-         !~~;;;~~:~t,·t
             ccpt where light-infantry companies have nlready been raifed by
             voluntary enli!l:me"llt, and one or more Oiall be attached to fuch
             regiment,
              XV. And be t't further ena81ed by tbe autbority eforifoid,
          That if any non-commiffioned Officer or Private of cavalry,
          artillery, light..:infaritry, or other corps raifod at large, lhaU neglect P 1
          for the term of three months, to keep himfelf provided with an eno ' 1'
          uniform of the company to which he belongs, as is directed by
                                                                                this




                                                  EXHIBIT 7
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                    296 _........... .                        -Miiitia.
                                          this Act, he /hall be difcliarged fr~m fuel( corps, by the Brigadier
                                          commanding thebtigade;·an:denrolled in thefranding·company in
                                      b which he refides, And no .compaay of cavalry, artillery,· light~
                   ~fr!t'~: 'i:rg: infantry, or other corps which it may be lawful to raifc at large,
                   which will ,re· !hall be raifed within this Commonwealth, when any of thG
                   ~•n;ip•ntc• to a an mg companies 1a I e re uce t ere y, to a e1s num er
                   duce lland1ng ft d' .                           • {l l .· b    d d .h b                l .        b
                   ~:: •"- num• than fixty-four effective -Privates ; and no Officer of any fuch
                            1

                                          corps, !hall enlifl: any men belonging to a ftanding cc;impany, for
                                          the purpofe of forming or recruiting Cuch corps raifed at large,
                                          when by means thereof, fuch O:anding company would be reduced
                                          to a lefs number than fixty-four effecl:ive Privates. And if any
                                          fuoh corps, raifed at large, !hall at any time be deftitute of com-
                               ·-     b miffioned Officers, and !hall neglect to fill up fuch vac~ncies, for
                   ~ im.an~ one whole year after being ordered to elect them, or if any fuch
                   dcd ln cafc,           corps !hall be reduced under twenty privates, and remain' in that
                                          fituation for one whole year without doing duty as the law direch ;
                                          then in either cafe as aforefaid, fuch cor~s raifed at large !hall be
                                          deemed difbanded, :tnd the men which belonged to fuch delin ..
                   _              no~ 10 quent corps, iliall be enrolled in the ~anding company in which
                   mfinor ag,o•- the individuals thereof lhall refpecHvely refide : And no fuch corpt
                   tor 11un1bcrtha11
                   teg.t,                 raue, r. d                          • · bear a greater nutuber of men on
                                                     at 1·arge, {ha11 at any time
                                    · their rolls, than the law allows nece(fary to conftitute them J and
                                          the Commanding Officer of every fuch corps lhall annually, in
                                          the month of .April, make out a lift of all the men's names be.:.
                                          longing to his corps, and deliver the fame to the Commanding
                                           Officer of the regiment or battalion, in whofe diftricl: fuch corpa
                                          is or may be raifed ; aµd all fuch corps raifed at large, not annexed ·
                                          to any particular regiment, lhall be fubject to the orders of ,the
                                           Commanding Officer of the brigade in which they !hall refpee ..
                                           tively be raifed, and a1all make their elections and returns in the
                                          fame manner as other corps of the Militia,"
                    Ancient and                 And whereas the military company in Bqjlon, commonly called
                    1!1,1•1ery
                       0
                           • r abla Ar- the " Ancient and Honora6/e Arti/lt!r'II Co111"an11," being by anci-
                               0 ompa.i17                                              .F     r '.I.
                                          ent charter, cuO:om and ufage, exempted from the general reg1,1la-
                                          tions of the Militia: · '.Therefore,                              ·
                                                XVI. Be itj11rther mac/:ed by the authority a[orefaid, 'thafthc
                    -.- . !0 re- faid company, called the" .Ancient and Honorable .Artillery Com-
                    1,m priYilcgcs,
                                          pany,,,· {hall retain  ,. 1ts
                                                                    • accuaome
                                                                            n.    d pnv1
                                                                                       • 'leges, not b emg
                                                                                                         • incompa-
                                                                                                              '
                                           tible with the· ConO:itution, 'b\lt !hall be fubjecl: to all other duties
                                           required by this Acl:, in like manner as other ~ompaniesof Militia.
                                                XVII. .d11d 6e it Jurthtr enac/:ed by the authorit,v ._ ajor~/aid,
                    om,m
                    ho arm~dhowand     to Th at every comm1·m10ned Offi cer of.in1antry, r       wl10fce d,uty {ha11 re ..
                    unifurll\cd.           quire him to ferve on foot, £hall be armed with a fword and an cf-
                                           pontoon ; and every Officer whofe duty requires him to be
                                           n:iounted, !hall be armed with a fword and pair of piftols : And
                                           the uniform in every inC\:ance requit·ed by this Acl:, {hall be a dark
                                           blue cloth coat, cif fuch fa!hion, and with Cuch facings, and under-
                                           clothes, as the Major-Generals or Brigadiers !hall direcl: within
                                            their fevcral commands,                                                .dnd




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                           In the rear if our LORD, 1793.
                                       Militia.                                                   2   97
             XVIII. And be it further enacted by the authority 1forefald1
          That every non-commifiloned Officer and Private of the infantry
          lhall eonfiantly keep himfelf provided with a good mutket, with
          an iron or. fl:eel rod, a fufficient bayonet and belt; two fpare flints, a
          priming wire and brulh, and a knapfack; a cartridge-box, or pouch                             .
          w~th a box therein, to.contain not lefs than ~wenty-four _cartridges, Neccrfary mi•
         fmted to the bore of his mulket ; each cartridge to con tam a proper clc, or equip·
          quantity 'of powder and ball; or with a good rifle, knapfack, !hot- menu,
          pouch, powder-horn, twenty balls fuited to the bore of his rifle,
          and· a quarter of a pound of powder : And {hall appear fo armed,
          accoutred and provided, whenever c.alled out, except that when
         called out to·exercife only, he may appear without a knapfack, and
          without cartridges loaded with·ball. Provided always, that when-
         ever a man appears armed with a mufket, nil his equipments !hall Provir••
          be fuited to his mu!ket ; and whenever a man appears armed with
          a rifle, all his equipments !hall be fuited to his rifle : And that
         from and· after five years from the palling of this Ad:, all mufkets
         for arming the Militia, as herein required, !hall be of bores fuffici-
         ent for balls of the eighteenth part of a pound : And every citizen
         enrolled and providing himfelf with arms ammunition and accou- Arm, &:c, '" 1,c
          trements, required as aforeCaid, {hall hold the fame exempted from               r:~~pted
                                                                                                rr.. n,
          all fuits, diltre[es, executions or fales for debt, or for payment of
          taxes.
             XIX. And lie it.further enacted by the authority qfore/aid, That
          every non-commiffioned Officer or Private of the infantry, who
          !hall neglec\: to keep himfelf armed and equipped as aforefaid, or
          who !hall on a mu!l:er-day, or at any other time of examination, .
                 11.•
          be demtute        c                     '<l d • h tI1e arms an d eqmp-
                          01, or appear, unprovi e wit
                                                                                 . glee!,
                                                                                      F,ne fornc•

          ments herein direc\'ed (except as before excepted) Jhall pay a fine
          not exceeding twenty jhil/ings,in proportion to the articles of which
          he !hall be deficient, at the difcretion of the Jufiice of the Peace,
          before whom trial !hall be had : And all parents, mafiers and
          guardians !hall fur~ifh thofe of the faid Miiitia who !hall be under ;,:,•;;,~\~niiuip
          their care and command, with the arms and equipments afore- •'1clrchildrcn,\
                 •
          mentioned,      under the l'k          • fi
                                       1 e penalties or any neglccl: : And when-
                                                                                     fcrv,im,

          ever the Selecl:men of any- town 01all judge any inhabitant thereof,
          belonging to the Militia, unable to arm and equip himfelf in man-
          ner as aforefaid, they !hall at the expence of the town provide for
          and• furnifh fuch
                          .
                               inhabitant
                                 ,
                                           with the aforefaid arms and equipments1• P«fon,    011.•M~,
                                                                                      to be funufhi:d
          which lb~ll r~mam the property of the town at the expence of 1,1 the 1own,
          which they {hall be provided ; and if any foldier {hall embezzle
          or detlroy the arms and equipments with which he amll be furnia1-
          ed,he !hall, upon convicl:ion before fome Juf.l:ict1 of the Peace, be P 1 • ~
          adjudged to replace the article or a1·ticles, which Ornll by him be cna iy,,nu •·
         ·fo embezzled ·or defiroyed, and to pay the co(l: arifing from the pro-
          cefs againfl: him : And if he !hall not perform the fame within
          foutteen days after fuch adjudication, it !hall be in the power of
              .                              C                                         ~




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                                     In the rear if our LORD, I 793.
                                                           Militia.
                                     the Selectmen of.the town to which he fball-belong,-to .bind him
                                     out to fervice or labour, for fuch term of time as fball, at the dif-
                                     cretion of the faid Ju!l:ice, be fufficient to procure a furn of tnoney
                                     equal to the value of the article or articles fo embezzled or deftroy-
                                     ed, and pay coll: urifing as aforefaid.
                                         XX, And.flt' it furtht•r enaf/ed by the authority eforrfai'd, That
                                     every pcrfon liable to do military duty, who· being duly warned·
                                     {hall refofc or neglect to appear at the time and place appointed,
                   r,nnlty for not armed and equipped as by this act is directed, for any mufter,
                   ~.;fn:;•;i;y~." training, view of arms, or other military duty, !hall pay as a fine
                                     for fuch default, the fum of ten jhillt'ngs : And every perfon who
                                     ihall appear at any muller with his arms in an un'fit condition,
                                      !hall pay a fine of threeJhi/ling.r for each and every foch default :
                                      Provided neverthel':fl, It fhall be lawful for the Commanding
                   Pro,ifo,
                                      Officer of a company, at any time within eight days after any
                                     muller, training, view of arms or other duty, to excufe any perfon
                                     for non-appearance, on the delinquent's producing to him fatis-
                                     factory evidence cf his inability to appear as aforefaid ; and the
                                     Commanding Officer of the company fball pertify the fame to
                                      the Clerk within the time abovementioned, and the Clerk {hall not
                                     thereafter commence any profecution again!l: fuch delinquent for
                                      his fine for· non-appearance, as aforefaid.                ·             ·
                                         XXI. And be #Jurther enacled by the aut/Jority qfarejaid, That
                                      whenever the Commanding Officer {hall think proper to call his
                         .            company together, or (hall be ordered by his fuperior Officer to do
                                      it, he fhall ilfuc his orders therefor, to one or more of the non-
                                          . ·m10ned Offi cers, 1
                      L     •
                   cIor" to not,1y, comm1                        .f th.ere be any, 1'f not to one or more
                                                                                                        .    of
                                      the privates belonging to his company, directing him or them to
                                      notify and warn the faid company to appear at fuch time and place
                                      as illall b'e appointed ; and every fuch perfon or perfons, who {hall
                                      receive fuch orders, fllall give notice of die time and place ap-
                                      pointed for affembling faid company, to each. and every perfon he
                                      or they (hall be fo ordered to warn, either by verbal information,
                                      or by leaving a written or printed notification thereof, at the ufoa'1
                                      place of abode of the petfon thus to be notified and warned ; and
                    Manner
                    tifimion,of no•, no notice,    {haJI be deemc d 1ega} 1orC'.
                                                                                 muuers
                                                                                      fl
                                                                                           for
                                                                                            '
                                                                                               the purpo1er. of
                                      common and ordinary trainings, unlefs it fhall be given four days
                                      ai lenfi, previous to the time appointed therefor ; but in cafe of
                                      invalion, infurrecl:im1 or other emergency, any time fpecified in
                                      the orders fhall be confidered as legal ; and every. non-commif-
                                      fioned Officer, or other perfon, who !hall neglect to give the faici
                                      notice and warning, when, ordered thereto by the Commanding
                                      Officer of the company to which he belongs, fhall for fuch offence
                                      forfeit and pay as a fine, a fum not exceeding forty jhi//i11g.r, nor lefs
                    Pcnolty;
                                      than twelve jhi//ings, at the difcretion of the Ju!l:ice of the Peace
                                       before whom trial {liall be had ; and the tell:imony of any perfon
                                       under oath, who ll1all have 1·eceived orders agreeable to law, for
                                                                                                      notitying




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                                      Militia.
         notifying and warning any company, or part thereof, to appear
         at a time and place appointed for any mufl:er, view of arms, or other
         military duty, n1all be. fufficient to prove due notice was giv!;Jn to
          the party againfl: whom complaint may be made, unlc::fs fuch tefl:i"
          rnony {ball be invalidated by othe.r fufficient evidence: And when-
          ever a company lhall be defl:itute of commiffioned Officers, and co1r1p 301., def.
          the Commanding Officer of the regiment or battalion to which tit.um•• rd comm.      0


          fuc h company belongs, thal1· th•mk proper    · to cal l out fuc h com- m1   lone O ,.
                                                                                    m,,howwarn•
          pany, .he lhall direcl: his orders to one or more of the non-com- ed.
          millioned Officersoffaid c.ompany, who lhall have full power and
         authority to warn, affemble, lead, order, ei~rcife and govern faid
          company, conformably to the orders which he or they {hall thus
          receive from their fuperior Officers for that purpofe : Provided ProvJro.
          ahvays, When in regiment or battalion, it lhall be lawful for the
          Commanding Officer prefent, to order a commiffioned'Officer to
          command fuch company, while acting in conjunction with other
          corps. · .
               XXTI. And be itjurther enafled by the autbort'ty afore/aid, That
        . every non-commiffionecl Officer and Private of the Militia,, who I'cnalty for dir.
          iball be diforderly or difobedient, or guilty of unmilitary conduct oid•rly beha•
          on a mufier or training day, or at ~ny other time when on duty, :•ur,
          fuall be confined during the time of the faid mufl:er or training, at
          the difcretion of his Officers, and fhall,pay a fine not exceeding
         farty }hi/lings, nor lefs than twe/vefaillings; at the difcretion of the
          Ju!l:iceofthe Peace to whom complaint fhall be made.
               XXIII. And be it further enacled by the authon'ty eforefaid,
           That whenever any non-commifiioned Officer or Private in the
           Militia, {hall forfeit any furn of money, fet and affixed to any
           default, or offence, by this Act, of the fum of four pounds, or un" . h
           der, the fame lhall be recovered in the manner following ; th~t :~~:;;/w ,..
           is to fay: The Clerk of the company to which the offender be-
           longs·, lhall, after the expiration of eight days, and within fixty days
           after the offence lhall have been committed,make complnint there-
           of, and of nil matters of fubll:ance, and material circumfl:ances at-
           tendi_ng the fame, to fome Jull:ice of the Peace, in the county where
           fuch offender fliall live, who lhall make record thereof, and {hall
           iffi1e a· fnmmons to the party complained of, to be ferved feven days
           at leaft, before the time appointed for the trial, in the form follow-
           ing, mutatis mutandis•
         •
                                                                        --jj:
            ~~         'lO the Sber{ff qf the foM co1111ty, or l1is Deputy, or
          ( L. s,; either of the Co,ylables <?,/tbe IO'WII el                  qvitbin
           ·\~1' the Ji'tme county,                                 GREETING.
             In the• fl(I/Jlt! of'
                               '
                                   the Commonwealth or
                                                    '{I
                                                        M11ffacbttfetts,yort
                                                          ,!{'
                                                                             are here- rForm of th •
                                                                                        ummou,.
          by requrred to Ji1111111on C. D. ef              m the county qf                    '
          to aPf"'ar 6efor.· 11111 E. F, one if tbe Jujlices of tbe Pt•acefor tbe
                                                                                county




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                                     In th.e-' rear of our LORD, 1793.
                    300                              Militia.
                                county qforefaid; at             in             on        the
                                day ?l             at          ?l the clock, i'n the     noon, then and
                                there tojhew caufa, ff any he has, why a ~varrant efd!Jlrt!ft_jhallnot
                                ilfue aga,'nfl hi,p. [Here infertthe complaint.] Hereof/ail not,
                                and make dut' return of this writ, an_d qf your doings therein, unt(J
                                myfl!f, at, or before the [aid          day of
                                    Dated at        eforefaid, the         day of         in the year of
                                our LORD
                                                                        E. F. 'Jtiflice of the Peace.
                                  And when the faid party iliat\ by himfelf, or his Attorney appear
                                accordingly, he may plead the general ilfue and give any fpecial
                                matter in evidence ; and if the faid party iliall make default, or if
                                judgment iliatl be given againft him, and he lliall neglecl: for four
                                days thereafter, to fatisfy the fame with legal cofl:s, then the JuO:ice
                                of the Peace, before whon'l trial iliall be had, iliall ilfue his war-
                                rant of diftrefs, under his hand and feat, in the form fotlowing :

                                .-(JI'~              '.tO the Sheriff' o/ the faid county, or his Depu{ or
                                      ~ Seal,} any or either of the Conj}aoles of the town o/
                                       '",;"" within the fame county,                            GREETING,
                                         Whereas C. D. o/                 upon the           day ef             be-
                                     ing a private Soldiet·bi the '.train-Band, ( as the caft may be) efthe
                                     company of foot, commanded by                       in the regiment ef Mi-
                   "        r 1h litia, in the [aid county ef                  commanded by                    wa.r
                   w~~':'.n~ vr d1r. duly notified to appear upon the            .day o/               in the town
                   trcr,.            q/           i'n the county aforefaid, with hi.r arms and equipments, a.r
                                     the law oj this Commonwealth dit·ecls; and the.faid C. D. in 'IJio-
                                     lation qf the faid Law, did unnece!Jarily neg/eel to appear, (or did
                                     not appear armed and equipped, a.r the cqfa may be) whereby he !xzth
                                    forfeited, and ought to pay the.fam of              Jht'llings, to the ufes di-
                                     reeled by law; and thefaid C. D. having been dulyfummrJned to ap-
                                     pear b~fore me E. F. one ef the 'Juflice.r ef the Peace,far the'coun~
                                     ty eforffata, to jhew caufe, ff any he ha'd, why a warrant '?l dif-
                                     trefs jhou/d not be i!fued/or the.Jame/um, dt'dnot appear, (or ap-
                                     pearing, did not foew Julficient catffa, why the fame warrant jhou/d
                                     not be t/Jiled, as the cafo may be;) In the name of the Commonweqlth
                                     qf Majfachtifetts, you are therefore commanded forthwith, of the
                                    goods or chattles ef thefaid C. D. witht'n your precincl, to levy by
                                     diflrefi andfa!e thereof, the nfarefaid /um of                fhillings, with
                                              Jot· charges offait, being in the whole, theji11n of
                                     and to ptty the fame to                     Clerk '?f' the qfare{tzid com-
                                     pany ; and a!Jo o/ the goods or chattle.r of thefald C. D. to levy
                                                         far this writ, together with your own fies; and/or
                                     want oj'Juch goods or chattels of the faid C. D. to be by him jhewn
                                     to you, or found within your precintJ, you are commanded to take
                                                                                                              the




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                          In the 1,..ear if our LORD, 1793,
                                         Militia.
         the bo,~ qj the faid C. D. and him co11fmit to the common Gaol rit
          ·           in the county qforejaid; nnd the Kt,.'Per tbl'reof is hereby
         commanded to receive thr: jiu'd C, D. into thtfaid Gaol, and hii11
        /'!fely keep, until he /hall pay the fam qforeft1id, together with /,~~al
        fees nnd co/h,or imtr'/ he /hall be otherw!Je difi:harg,•d by ot'der ef!tiw;
         and you are to make return if thiJ 1.o.1rrant with your doings tbm1011,
         unto myft!f. within f7e1enty days next coming,Jor ,which thisjhtt/1 b,·
         your Jif!ficient wt1rra11t; hereqffail not.
          ,      Given uiider 1hy ha11d and jeal, t/.,e         d1ty of
         in the year 9f our Lo R JJ.                 .
                                               ·     H. F. 'Jt1/Jict' if the Peace,
              XXIV. And be it furth~r enacled by the authority aJohJaid
          That every' Captain or Commanding Officer of a company, {hall co~panlc,io
          call his company together three days in each year for company t~ 1~1.\"~;~~ r~
         difcipline ; and once on the firll: Tuefday of Ma), annually, fut· examination,
          the exprefs purpofe of examining ·and taking an exact account of
         ::,very man's arms and equipments; at which time every article re-
         quired by this act, {hall be brought to the place of examination; and
         it lhall be the duty of the Clerk, or in his abfence, of fome other
          perfon to be appointed on the occafion, for the time only, by
          the Commanding Officer, for that puq1ofe, to make out an exact
          roll of the company, and fet againil! cvet·y man's name, the f!•mmandlng
          arms and equipments which lhall belong to him : And every Com- ?~~ii,'' 10 kc•p
          mantling Officer of a company, /hall confhmtly keep bthim a roll,
          •fith the arms and equipments of every man annexed to his
          name, as aforefaid, from which all detachments friall be regu-
          larly detailed, and the annual return of the company.made: And
          the faid roll !hall be annually revifed, correcled, and completea, on
           the fir£l: Tuefday in Miry as aforefaid : And every perfon liable to do
           duty in the Militia, who Q1all be abfent at the examination or re-·                        .
           vie.w of arms, in the month of May,as aforefaid, and (hall not fend
           his arms and equipm·ents to be examined, at the time and place ap- Flncsirnr, or
           pointed, he lhall be fined. for every article required in this act, ncglci!l,
            not fo brought or font to be examined, as is herein before directed,
         , betides the furn of tm /hi/lings, for non-appearance, a9 aforefairl.
              XXV. A_nd be it jttrther ~nacled by the !llithority ajor4,1id, That C•Jmni,nding
           every Captain or Cornmandmg Officer of a company, !hall make omcmtomakc
                                         , company, com prehend'mg every mun rrgu ,ny.
           a return of t he fl:.ate of }11s                                                    ar return,
                                                                                       0111111
            belonging to faid company, with all the arms and eqnipments be-
            longing to them, to the Commanding Officer of the regiment, in
            the month of May, annually : Every Commanding Otlker of a
            regiment lhall make a return of the !l:ate of his regiment, to the
            Brigadier, in the month. of June, annually : And every Com-
            manding Officer of a brigade lhall make out duplicate returns of
            his brigade, one of which he lhall tranfmit to the Major-General
            of thedivifion to which he belongs, and the other to the Adjutant-
             General of the Commonwealth, in the month of 'July, annually.
                                       E                                            And




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                                       In the rear if our·LORD, 1793.
                                                    Militia.
                                              XXVI. And be'i'tfurther cnacled by the authority aforefaid,
                                          That the Adjutant-General fuall be.commi{µoned with the rank
                                          of Brigadier-General; and it fuall be his duty to di!l:ribute all or-
                    ,Rank          tlutr. d fi          I C
                             1;.,110,.. ers rom t 1e om man er rn
                      I Adj ,n,I                                       d · CJ11e  ' f of tI1e M'I'  · to tht; r.~evera1 •
                                                                                                1 1t1a,
                                          corps ; to attend all ·public reviews when the Commn11der in
                                          Chief llrnll review the Militia, or any part thereof; to obey all
                                          orders from him relative to carrying into execution and perfecting
                                          the fyfiem of Military Difcipline, eftablil11ed by this Act ; to fu-
                                          perintend the- annual infpcction of the Militia ; to furnifh blank
                                          forms of the different returns that may be required, and to
                                          explain the principles on which they {hould be made; to keep fuch
                                          rofl:ers and records as are proper to be kept in his office ; 'to receive
                                          from the fovcral Officers of the different corps throughout the
                                           State, returns of the Militia under their command, reporting the
                                          actual fituation of their corps, their arms, am1riunition ~nd ar.cou-
                                          trements, their delinquencies, and every other thing which relates
                                           to the genel'al advancement of good order and difcipline : All
                                        · which the fevcral Officers of the divifions, brigades, regiments,
                                          battalions and companies are hereby required t9 make in the ufual
                                          manner, or as the Commander in Chief {halt direct, fo that the Ad-
                                          jutant-General may bl, duly furnifhed therewith : From all which
                                           returns, he £hall make proper abHi'acts, and a general return of the
                                           whole Militia of the Commonwealth, nn,d lay the fume before the
                                           Governor or Commander in Chief and to forwal'd a duplicate
                                           thereof to the Prelident of the United States.               .
                             · · XXVII. And be it /i1rtber cnacled by t/Je authority aforiftzid,
                     nutyo£Origodc That it fl1all be the duty of the Brigade-Infpector to attend the
                     inrp,6\or,            regimental and battalion meetings of the Militia, compofiug the
                                           foveral brigades, to which they belong, duripg the time of their
                                           being imder arms; to infpect their arms and equipments ; tofu-
                                           perintend their cxercife and manccuvres, and introduce the fyfl:em
                                           of clifcipline, eftubli{hcd ~y this Acl ; to obey all orders they may
                                         . from. time to time receive from the Commander in Chief, or
                                           othero, their foperior Otlice1·s; to make returns ·~o the Adjutant~
                                            General, at leaft, oi:ice in a year, and at fuch other times as fl1nll
                                            be r~quired, of tbe Militia of the brigades to which they fcveral-
                                           1y belong, reporting therein the actual fituation of the corps, their
                                           arms, ammunition and accoutrements,atid ev!!ry other thing ''l'.hich
                                            they may be required to report ; or which in their judgment may
                                            relate to their govern~cnt, and the general advancement of good
                                            order and milita'ry difcipline.              .       ·                     .
                                               XXVIII. .llnd be itjia:ther enatfled by the authority qforyaid,
                                            That the rules of difcipline approved and e!l:abiiilied by Congrefs,
                                            in the refolutions of the twenty-ninth day of March, one thoufand
                      n,!1"' anti reg•!· feven hundred and feventy-nine,· ,lhall be the rules and regulations
                      :~i:~;; ~rth~Cc,, of difcipline,tobe obforved by the Militia of this Comqlonwelllth;
                           0
                      Militia,              except fuch deviations from faid rules, as may be ·nece!fary by the
                                                                                                          requifitions




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                     In the rear if our LORD, 1793.
                                      -Militia.
          requifitions of this Acl:,or fomeother unavoidable circum{bnces ;
          and every Officer receiving n commiffion in the Milith1, (hall im.:
          mediately provide himfelf with a book containing thofo rules.
               XXIX .. And 6e it fi1rther enacled l,y the a11tho ·ity a/orl!jt1id,
                                                                       1


          That every regiment of Militia of this Commonwealth, ilinll be
         alfembJed in r<;lgiment, OllCc! in tWO years, for l'eview, infpccl-ion Time and m •
         and difcipline, on fuch days as the Commanding Officers of the ucr f 11,1111,~~    11

         feveral divifions or brigades lhall order ; ( the Commanding Offi~ lug Militia,
          ccr.s of regiments to point out the place.) And the Militia of ev-
         ery town !hall be a(fombled together once in two years, (the year
         it is not muftered in regiment) at fuch time and place as the Com-
         manding Officer !hall order, and !hall be inftmcl:ed and difciplined
         under the direcl:ion of a Field-Officer. Provided ne~ertbe!t'fs,
         in new fcttlements, where thedifperfed fituation of a regiment may Provifo.
         oblige men to march twenty miles or more, to the place of parade,
        it lhall be at the difcretion of the Commanding Officer of t_he re-
         giment, to mufter the Militia in fuch fettlements, either by re-
        giment, by towns, or other convenieqt bodies. And every non-
        commiffioned Officer and Private lhall come to the place of pa-
         rade, With nece(Jary refre(hment for faid day, at his own expence.
         The cavalry and artillery, and other corps l'aifed at large, iliall alfo
        be reviewed and infpech:d, once in every year~ either with the
         regiments• and• battalions, or by themfelves, as•
                                                            the Mai'J or-Generals, v11R<1•iow~d r •.• •
                                                                                                 0
                                                                                         ry an art1 1•
         9r the Brigadiers fl1all order, and at fuch times and pl.ices as they terr,
         !hall di reel:.. And each ,Commanding Officer of a Corps. when on
        duty, (hall have full power and authority, to afcertain and fix certain
         nccelf~ry limits and bounds, to their r~fpecl:ive pa:ad~s, (n? road PoraJc, 10 1,~
        in which people ufually travel, to be mcluded) w1thm which no li01itcd .,,d
         fpecl:ator lhull 'have right to enter without liberty from faid Com- :!~~;:,d of fpcc-
         manding Officer ; and in cafe any perfon iliall fo intrude within
       · the lines of the parade, after being once forbidden, he {hall be fub-
        jecl: to be confined under guard, during the time of exercite, at the                         ·
            '/'. · Of thC COtnman d'tng O.ffiCCI'. A nd Whenever d'ff"
         dl1Cret10n                                                        I erent s,nior    Officer ·
                                                                                    to command.in
         corps iliall be alfembled together, the fenior Officer prefent, 01all c•fe-
         command without any regard to corps whatever. And all Otn-
         cers whc::n 011 duty, lhall take rank according to the dates of their
         commiffions ; and when two of the fame grade bear an equal date, omm, to rank
         and former pretenfions ,of fome commiffion do not decide, then frno1 1!m•1• or
         tI1e1r                         • d by Jot, to be drawn by them, before conm11 ton!,
                ' ran k {]1a11 be determme
         the Commanding Officer prefont; and when on Court-M,ll'tial
         before the Prelident thereof.
               XXX. And 6e it fi1rther (llla/iled oy the authority '!forej?tid,
         That every Captain or Commanding Officer of a company, who
          f11all neglect or refufe. to call out his company, us often as the law
         requires, for difcipline, and on the firfi: Tue{<lay of May, for a view
         of urms,' as directed by this Acl:, or at any other time, when thereto
          required, by his fuperior Officer; or who thall at any time excufe
                                                                               hill




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                                      /11 the Year if our ,LORD, 1793.
                                                              Militia.
                                         his 1nen, for unneceff'ary abfence, or deficiency, lhall be tried by a
                                        •Court-Martiul~·and if thereof ccnvW:ed, he fhall be reprimanded
                                         in orders, or removed from office, at the difcretion of faid Court,
                                              XXXI. And be it Ju,-ther enatled 6y the authority (ljoreji,id,
                         0
                     ~    ~~~,t~\c,how Th~t at any regim~ntal mull:er, the fever~l ~ompanies Q1all f<?rm ill
                                         regiment, according to the rank of t11e Officers, commanding
                                         them ; and the fame rule {hall apply whenever different corps are
                                         affe~bled together ; excepting fo far as by cull:om, ufage and ne-
                                         ce11ity, cavalry, artillery and light-troops, may be detached from
                                         the battalions.                                        .
                     ..        r              XXXII.
                                              h          And,
                                                               be itfiurther
                                                                      f h    enacled  by the authority·
                                                                                              .
                                                                                                          afareftlid,
                     rcna1ty or oo     I                                                                   . :/ •
                     mmhlng with T at whenever m cafc o t reatened or actually rnvafion, mfurrec-
                     d,tod,mcnt,,           •         h      b)'  d
                     when ordered. t10n, pr ot er pu Jc anger or emergency, t e           h  M'J'    ·
                                                                                                 1 1t1a, or any part
                                          thereof, !hall be ordered out or detached, if any perfon who /hall
                                          be ordered out or detached, in obedience to fuch orders, being duly
                                          notified thereof, and ordered to march to the place of rendezvous,
                                         !hall neglecl: .. or refufe to obey foch orders, or fhall not within
                                          twenty-four hours, after he 1hall have been notified as aforefaid,
                                         pay a fine of ten pounds, to the Commanding Officer of the com~
                                          pany to which he. ~elongs, or procure an able bodied man, in his
                                          fl:ead, fuch perfon fhall be conlidered as a foldier in fuch ·detach-
                      l'rovifo,           ment, and be dealt- with accordingly. Provided ahvay.r, That
                                          whenever a detachment is made, the 0f1icer$, non-commiffioncd
                                          Officers and Privates, being able of body, lhall be detailed from
                            ,             the roftet·s 01· mils which {hall be kept for that purpofe ; and any
                      :i:'/;~~di~;'. for perfon who by abfconding after being detached, as aforefaid, or by
                                          deferting from foch det~chment, 1hall attempt to evade the punifh-
                                          ment by law provided for defertion, he fhall pay a. fine of t1vefrt!
                                          po1,nd.r, to be fued for and recov~red by the Clerk of the company,
                                          to which fuch perfon belougs, any time within twelve months
                                          after the difcharge of fuch detachment ; faid fine to be difpofed of
                                          for the purpofe of paying fuch men as fl1all be hired or ·drafted
                       Delinquent om- into fervice : And any Officer liolding a commiffion in the Militia,
                      ed,.howpuuilh• who 01all neglect or refufe to execute any orders he ~ay receive
                       c'                  from his fuperior 0ffice1·, to make a detachment of the co.rps under
                                           his command, it fl1all be the duty of the Officer who -ifiued fuch
                                           orders, immediately to arre!l: fuch delinquent Officer, bring him
                                           to trial therefor, before a Court-Mnrtial, and fortln~ith give in ..
                                           formation thereof to the Comtnand;r in Chief; nnd the Officer
                                           who ilfoed the order which fl1all not have been executed, as afore~
                                           faid, !hall immediately after arrefi:ing the delinquent Officer, pro-
                                           ceed by himfelf or fome other Officer, under his comm1tnd, to
                                           make and, complete the detachment1ordered as aforefaid. And
                                            when any regiment or company lhall not be organized, the Officer
                                           Hfoing the orders for fuch detachment, {hall by himfelf, or foine
                                           other0fficer "under him, proceed to mnke and-complete the detach-
                                           ment from any part of the Militia, of fuch unorganized corps,
                                                                                                               .And




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                      In the rear ef our LORD, 1793.
                                      Militia.
             XXXIII. And be it.fi1rthl/r enacled by the authority qjor¢.Ja/d,                  ·
         That whenever the Militia, or any part thereof, of any town, .Chall l\1.!1111• 10 • pro-
         be ordere d to mare h 1orI'   I .         d' d I'        f h'           I VluC prov,nrns
                                      t 1e 1mme 1ate e1ence o t 1s State, enc 1 whcncoll•duur.
         Officer and Soldier lhall provide and take with him three days pro-
         vifion, unlefs otherwife ordered ; and the Selectmen of luch town f:)~ffhm;:,,\;c·
         lhall caufe carriages.to attend them with farther fupplies of pro-"'&,,
         vifion and camp utenfils,until notice !hall be given diem ta defift,
         by the Commanding Officer of the Militia detached : And the
         Selectmen lhall prefer their accounts for fuch fupplies to the General
         Court for allowance and payment : And whenever the Selectmen
         of any town or diftdfr, from which a detachment lhall be ordered,
         lhall be notified by any Officer duly authirized thereto, and ll1all
         neglect or refufe to furnilh fuch fupplies and utenfils, the. town or
         difl:t'icts to which fuch Selectmen belong, fhall pay a fine not ex-
         ct!edingfi/ty pounds, to be fued for and recovered by any perfon Penalty in car,.
         who lhall profecute for the fame ; one moiety to the pro{ecutor,
         and the other to the ufe of the Commonwealth ; and the Officer
          to whom fuch c11m'p utenfils lhall be delivered, lhall be accounta-
         ble for the. fame, unlefs broken or lo!l; by fome unavoidable acci-
         dent,. n..ot in his power to prevent. ·
           · XXXIV. Be it.further enaaled by the authority aforefar'a~ 'That
         if any Officer, non-comtniffioned Officer ot· Private of the Militia,
         lhall be killed or die of his wounds reGeived in the fervice of this
         Commonwealth, his widow, child or children, lhall be entitled ';;/,!0ws ?d
         to fimilar.relief, and under the fame regulations and reftrictions i~n, r~?h: t~;
         as is provided by law in foch cafes for the relief of widows and !:u~~~~~n ;;_
         orphans ·of perfons killed or dyin_g of wounds received in .the fer- tu•I. rcrvice to
         vice             . d s.rates ,. A nd 1'f any Offi cer, non-comm1·mJOned lion,
            . of the u nite                                                        r<CCIVC a pen•
         Officer or Private of the Militia, lhall be wounded or otherwifc
       · di{abled in the fervice of this Commonwealth, he ihall be entitled
         to fimilar relief, and under the fame regulations. and_refhictions,
         as is provided by law in fuch cafes for the relief of perfons wound-
         ed or di fabled in the fervice of the United States,                 ·
             XXXV. And be it further enatled by the authority qj-o,·efar"d,
         That the Governor or Commander in Chief,lhall appoint Courts-
         Martial fo, the trial of all Officers above the r!3nk of Captain :                  .
         That t~e Major-Generals or Commandin'g-Officers of divifions, cou11-Mort111
          each within his own divifion, !hall appoint Courts-Martial for the ~:dbi':/:'.~~
          trial of Captains and a\l Officers under thQt rank : And it ihall
          be the duty of everr Officer who lhall appoint a Court-Martiul,
          as aforefaid, to approve or difapprove of every fentence of Cuch
          Court-Martial by them appointtd : And no Officer who !hall
          appoint a Court-Martial, lhall be Prefid,nt thereof, nor .Chall nny
          fentence be put in execution until it lhall have been approved of
          as afotefaid : No Court-Martial ihall confift of a lefs number
          than thirteen commifiion<td Officers, the Prefident of which
          lhall not be under the rank of a Field Officer ; and no Field Of-
                                        F                                    fleer




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                                            ']11 the      rear rf ottr LORD, I 793·
                                                                      Militia.
                                              ficer lhall be tried by nny pe~fon under the oegrce of a Captain J
                                              and·all Officers '11all take rank by feniority of commi!lion, with-
                                              out regard to corps : Ann the Officer who !hall appuint a Court-
                              Igc Advoiotc M ' I (1 II
                         J11t
                         1ubta!'l'"in1«1           art1a, la at tIle 1ame     r.       •
                                                                                      time appoint     , bl e pe.r1on
                                                                                               ' a i.UJta            r.   j'or n
                         -       hi• duty. Judge~Advocate, whofo duty it {hall be impartially to O:ate the
                                              evidence, both for a11d againfi the Officer under trial ; to take ac-
                                               curate minutes of the evidence, and all the proceedings of the
                                               Court; ull of which he (hall tr.anfmit, with the judgment of the
                                               Court thereon, under fcal, to the O~ke1· whofo· duty it is to
                                              appt·ove or difapprove of fuch judgment. Every Officer to be
                       . ?mm, tu be tried.ihall huve ten days notice given him of the time and Jllace
                        tricJ,     to havu appomte
                        .tua uotice,                  '    d 1or
                                                              r:    • 1
                                                                  tna   : At; d every Offi cer to. be trte  • d {11;111 be put
                                               i11. arre!t, fo as to be ft.ifpended from the exercife of his office,
                        ~;;;,i'." he •r and !hall have a copy of the charges exhibited againll: him ten
                                               days befo1·e the fitting of faid Court ; and in cafo any Qfficer, for
                                               the trial of whom a Court-Martial {hall be appointed, {111111 neglect
                                              to appear and make defence, he fhall be deemed by faid Court
                                              guilty of the clmge, tmd {hall be tentenced accordingly: ln every
                          c!.~~\~~;'~.tti:i'. Court-Martial held for the trial of an Officer, not lefs than two-
                        --:---1,ow d,tor- thirds of the members mufl: agree in the fentence 01' judgment
                        111111
                               '"·            of faid Court, othenvile _the perfon charged ~1all be acquitted :
                                              A 11 proceedings and trials by Court-Martial. {h11ll be. carried on
                                                in the day time; and when the members (ball be required to
                                              give their votes on a lp1efl:ion or decifton, they {h:ill begin with
                                              the youngcft in commifiion, firfi: All perfons ihall be holden
                        P,_rron, 10 ~ivo to a11pcar and n-ivc cvirlcnce before any Court.,Martial under the
                       cv;,lcncc under                           b                .                               '
                        1•cn,ltlc,,          .fame penalties for neglect, as are by law provided for witneff't:s in
                                              other cafes, when thereunto fummoned by a Jull:ice of the Peace
                                              for fuch fon•ice : And all witne{fos {hall be iwol'll ~y the Judge-
                                              Advocate before they give theit· evidence to the Court. · Before
                                              any Court-Martial {hall proceed to the trbl of any Oflicer, the
                       Ju,lgc A<lvncatc Judge-Advocate !hall adminif\:er to the p reiident and e.ich of the
                       w uJullnincr
                                              members, thc fo. II owmg     , oat h, viz. ,
                        th • Oa th •               rou A. B. do/wear,' that yote will 1ve/l and truly try the caup
                                              no1u before yott bet'1.•~l'i!ll tht'.r Commmwe"/th, and tbe pcr/011 to 6e
                                             tried; and yott doJitrtber fwMr that you 'lvill not divulge the fi:n-
                                              tence qf tbis Court-Martial, until it ]hail be approved or d1/i1pprov-
                                              ed o/'; mu/ that you 1vill not on any etccount, at any t.me 'lo'hatever,
                                              dijcover the vote or opinion of any member, unJ~js required to give
                                              eviddice tbereq/; as a 'luitnttfa by a Court qf' .t u/iice, tn t1 due cou(P
                                             q/ law, ·                                            So help you GOD I
                                                   And the Prefident !hall adminifl:cr to the Judge-Advocate the
                                               followiug 01th, viz.
                       0>1th•·i'" 111iOer-
                       cd tn ll\clu•.lgc•
                                                    rou A • B• do jwl'llr ' tbt1t)IOU 'luil/ not' Oil anv:.t account' at fl/1'..I11
                       ;\<lvu,atc,            t•'mt1 whatcvt1r, divulge the vote or opiniow rg' any 11uwtbL r qf this
                                                                                                                    1


                                              C111rt"Mm·tial, zml,!fs· req11ired to giVl' evidenctJ thereof~ as awitmji,'
                                              by a Court of 'Jt!fiice, in a due cout:)i: qf lt1w.
                                                                                                 80 /Jdp you GOD !                .
                                                                                                                   .       A1td




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                               In thp rear of our 'LORD, 1793.
                                                      Militia.
               XXX:Vf. And bt• it .fitrtbl'r ,·naflt!d by tb.· authority qjrmjaid,
           ':flut every Officer holding a commifllon in the Militia, who fi1all
            be nccufod of any unmilitary conduct, neglecl: of duty or difobc- m · .1tyo 1
                ,        f                   ]                        d                          O 1CWg\11
           d~encc o orders ; or w 10 lliall w11en on uty, appear, or behave u111nilit·i1y '?""
            hirnfolf. in an un-ofiicer--like manne1·, or lhall wilfully injure thole ~~~c~:~t:~1~;~
            who are under his command, he !11all be liable to be tried by a 1i•I 1
            C.:ourt-M11rtial, and if found gllilty, to b~ fentenced · by faicl
            Court, to be reprimanded in orders, or to be. removed frotn Office :
            And whenever a Court-Martial fi1all fentence any Otlicer to be
            l'emo'ved from office, the Court (hall therein adjudge fuch Oflicer
          . incapable of holding any military commifiion under this Com-
            monwealth fo1· life, or for years, according to the nature and ag-
            gravation  . of )11s' offience ; nnc I {iuc )1 ientencc
                                                              r.             ' du1y approl'ed -,ml
                                                                         IJclllg                          removed
                                                                                                 from olficc,
            of by the Otlicer :ippointing fuch Court-Martial, (hall be pub-
             lii11ed and remain in full force, unlcfs reverfed, fo far as relpet.1:s
            difqualification, by the General Court.
                   XXXVH. And 611 it /itrtbi:r m11flt'd by ti.ii! tlutbort~y a(ol't'ji1iJ,
             TllUt every tOWll Wit         • t h'IS CornmonweaJt [1, !] l:t 11 be COlluant]y
                                       • J110                                          11.       Town be pro.
                                                                                                 vided with mi-
             provided with li,ay.-four         pounds      of good     gun-powder,  one    hun-   lltnry .rtkl,s,
           · dred pounds of mufket·balls, one hundred flints, and three tin or
             iron camp-kettles, for every fixty-four foldiers h1 the Militia of
             fuch town,.enrolled as aforcfaid; and the fame proportion of each
             ot the aforcfaid articles for a greater or leff'er number : And every
              town which {hall neglect to keep confiantly providt:d with the Prn•hy In c•fc
              iaid tirticles, !hall forfeit and pay, for the ufe of the Commonwealth, ur n,gi,a-
              for every iixty-fom: men in fuch town whh.:h ihall be unprovided
              with the faid articles, the fum of Ji:,,: po11ndt, to be recovered by how recovered,
              prefentment in the Court of General Sellions of the Peace, in the
              cnnnty to which foch town fl1all belong : And it ll1nll be the duty
                                                                                                              , "
              of the B1;igade-lnfpec1:or
                                , },                                  h b }the magazines of Br1ga,11c n,pcc,•
                                               , annually to, ]infpecl:
               tach town, Wit 1111 the bngade to wluc 1 e e ongs, and to make or to 111rp,tl,
               com•plaint to the Grand Jury of the county againfi all towns, &c.
               which lh:11'1 neglect to keep confi,111tly providt:d l1s aforefaid.
                   And whereits the good citizens of this Commonwealth nl'e often
               injured by the difrharge of linglt: guns on a mufieMlay, Therefore,
                   XXXVllI. Bt!it j11rther i 1acled by tbt' authority ,1jor, /i1id;
                                                      1                                        1


                That no non-commiflloned Otticer or Private, /hall unncc:elfori- rcnalty rar tir•
               ly fire a mulket or fingle ~un in anv public road, or near any ing on• o·uttcr
                                                                                      , me-
                                        }
                ]10ule· or near t ]1e pace               '
                                               of· ~·parade,   on ' any d. ay, or evenrng   r.      ,lay, without or•
                                                                                                    dm,
                ceeding the fame, on which any troop or company {hall be or-
               _dered to affemble for military duty, u_nlefs embodied un<lcr the
                 couunand of fome Officer ; and it any non-eom1nil1ioncd Ollicer
                01· Pl'ivate lh.1ll fire n mufket or gu,1, except as aforcfaid, on the
                faid day or evening fucceeding, without being embodied as afore~
                fi1iJ, hc!hall forfoit and pay U fine of jivl'Jhillti1gs, for each and (!1·e- how rcco•crcd
                 ry offi:nce aforefaid, to be fut1d for, rec,>vered and difpoL-d o.f in and drfpofcd or,
             · the fam1: manner a.s fines for no1H1ppcarance on a muikr-dJy, a,·,:
                 recovered und dilpofed of.                                                 .t111d




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                                   In the, rear of our LORD,                           1793.
                                                 Sal!fbury dividing line altered.

                                   XXXIX. And be it furthtr ena'cled by the authority afarejaid,
                    Certain officers That the Adiutant-General       the 0~uarter-Mafter-General ' Br"1-
                    to receive pay              ~              '
                                    · gade-lnCpecl:ors, and Adjutants of regiments, ihall receive a rea-
                                      fonable confideration for their fervices ; to. be allowed bv the
                                      General Court. And all Officers ferving onMilitary Boards,
                                      Courts of Inquiry, and Courts-Martial, ihall receive pay, while nc-
                                      cetTarily employed therein, at the fame rate as when in acl:ual fer-
                                      vice : And the Adjutant-General, or Brigade-Majors, as the caCe
                     f.iX b;;!~!0 ,t: may be, !hall make up pay-:-rolls, of fuch Military Boards, Courts
                     General court, of Inquiry, and Courts-Martial, and lay the fame before the Gene-
                                      ral Court, for allowance ; and they !hall receive payment at the
                                      Treafury, of the fums fo allowed, and pay the fame over to the
                                       Officers who performed the fervice.
                                                {This Acl: paffed 'June 22, 179 3.]

                                                           C H A P,              II-

                                An Ac\: for repealing one Claufe, and altering a di ...
                                  viding Line, defcribed in an Act, intitled, " An
                                  Act for dividing the Town of Sa/floury, in the
                                  County of Ejfex, into two Padfhes."
                                BE it enacled by the Senate and Houfe of Reprejentatives in Gentral
                                            Court affembled, and by the authority of the fame, That the follow~
                                       ing claufo, viz.. '' Excepting only that the contra& made by the.
                                       town, with the Minifrer of that part· thereof, which now co11tH•
                     ClaurcJ 0 • ro'i' tutes th.c Wefr-Parifh, fhall, fu far as it relates to his future fupport,
                     ~t •     repc, "be confidered as devolving and binding upon the Weft,ParUh only,
                                       and not upon the town," contained in an Act paffed the !aft feffion of
                                       the la!l: General Court, intitled, "An Act for dividing the town
                                       of Salifbury, in th,: county of Ej[ex, into two pal'ithes," be, anct the
                                       fame hereby is repealed.
                                           And be it further enacled, That the. firft dividing line mentioned
                                       in faid AB:, beginning at the oak fiump therein mentioned, " and
                                        thence running fouthcl'ly by the wefiern border of faid 'litcomb'a
                     Dividing line land to Merrimack River," be, and hueby is altered, and that faid
                     lltcrrd.           line fuall run from faid frump foutherly by the ~afiern, inftead of
                                        the wefiern bol'der of faid Ti/comb's land, to (aid Merrimack-River,
                                        fo as to include the lands of faid Enoth,-'Jufhtia and Richard Titcomb,
                                        within the bounds of faid Weftern Parifh, any thing in faid Ac\: to
                                        the contrary notwithll:anding.                             .
                                                      [This Act pafied 'June 6, 1793.]




                                                                                                C H A P..




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